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                                                                   2019 Mar-04 PM 03:25
                                                                   U.S. DISTRICT COURT
                                                                       N.D. OF ALABAMA




      Exhibit A-1
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                                                                      Page 1

 1                 IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ALABAMA
 2                            WESTERN DIVISION
 3      KIMBERLY and JOHN STAPLES,
 4                Plaintiffs,
 5      vs.                             No. 7:18-CV-00160-LSC
 6      H. WALKER ENTERPRISES, LLC; RENAISSANCE MAN FOOD SERVICES,
        LLC; and SIMMONS PREPARED FOODS, INC.,
 7
                    Defendants.
 8
 9      _________________________
10                     DEPOSITION OF DAVID JACKSON
                    TAKEN ON BEHALF OF THE PLAINTIFFS
11             ON JANUARY 14, 2019, BEGINNING AT 8:51 A.M.
                       IN SILOAM SPRINGS, ARKANSAS
12                   REPORTED BY KERRI PIANALTO, CCR
13                             APPEARANCES:
14      On behalf of the PLAINTIFFS
15                Mr. Keri Donald Simms
                  WEBSTER HENRY LAW FIRM, P.C.
16                Two Perimeter Park South, Suite 445 East
                  Birmingham, Alabama 35243
17                205-380-3480
                  ksimms@websterhenry.com
18
19      On behalf of the DEFENDANT SIMMONS PREPARED FOODS, INC.
20                Mr. Talley R. Parker
                  JACKSON LEWIS, LLP
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23
24
25

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                                                                  Page 2                                                                Page 4
 1 On behalf of the DEFENDANTS H. WALKER ENTERPRISES, LLC AND               1              EXHIBITS (Continued)
     RENAISSANCE MAN FOOD SERVICES, LLC
                                                                            2   Exhibit Description                     Page
 2
                                                                            3   Exhibit 18 10/25/17 E-mail                 135
          Mr. Michael J. King
 3        GREENBERG TRAURIG, LLP                                            4   Exhibit 19 January 2017 P&L                  138
          3333 Piedmont Road, NE, Suite 2500                                5   Exhibit 20 10/31/17 E-mail                 154
 4        Atlanta, Georgia 30305                                            6   Exhibit 21 11/27/17 E-mail                 157
          678-553-2410
                                                                            7   Exhibit 22 11/27/17 E-mail                 158
 5        kingm@gtlaw.com
                                                                            8   Exhibit 23 10/31/17 E-mail                 158
 6
     Also present: Nelson Jackson, Herschel Walker, Julie                   9   Exhibit 24 Waffle Advertisement               165
 7 Blanchard, Kimberly Staples and John Staples                            10   Exhibit 25 12/21/17 Memorandum                  183
 8                                                                         11
 9
                                                                           12                   STIPULATIONS
10
                                                                           13         It is stipulated that the deposition of DAVID
11
12                                                                         14   JACKSON may be taken pursuant to agreement and in
13                                                                         15   accordance with the Federal Rules of Civil Procedure on
14                                                                         16   January 14, 2019, before Kerri Pianalto, CCR.
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20                                                                         21
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                                                                           23
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24                                                                         24
25                                                                         25
                                                                  Page 3                                                                Page 5
 1                          INDEX                                           1   WHEREUPON,
 2                                 Page                                     2                   DAVID JACKSON,
 3    Direct Examination by Mr. Simms                             5         3   after having been first duly sworn, deposes and says in
 4                                                                          4   reply to the questions propounded as follows, to-wit:
 5                  EXHIBITS                                                5          MR. PARKER: Keri, before we begin, I just want
 6    Number Description                    Page                            6   to note on the record we're doing the deposition pursuant
 7    Exhibit 1 Consent Resolutions of the Board of 9                       7   to the federal rules. I do want to interpose objections
 8             Managers of Walker Foods, LLC                                8   where necessary and then for the court reporter I do want
 9    Exhibit 2 6/12/08 Offer Letter           13                           9   the witness to have an opportunity to read and sign the
10    Exhibit 3 2/20/09 Offer Letter           14                          10   transcript.
11    Exhibit 4 3/06/09 Offer Letter           18                          11          MR. KING: Before we get started, if I could
12    Exhibit 5 3/09/09 Fax                 19                             12   just mention that it is somewhat difficult to hear down at
13    Exhibit 6 Memorandum of Understanding           23                   13   this end, if everybody could speak up.
14    Exhibit 7 Performance Management             38                      14          THE WITNESS: Okay.
15    Exhibit 8 Personnel Action Form            44                        15                   DIRECT EXAMINATION
16    Exhibit 9 Notice to Last Employer          56                        16   BY MR. SIMMS:
17    Exhibit 10 12/19/16 E-mail              70                           17       Q Yeah, I was going to suggest that as well. It
18    Exhibit 11 Phone Records                98                           18   seems like the -- I don't want to be yelling at you, but I
19    Exhibit 12 Phone Records               100                           19   may have to.
20    Exhibit 13 4/3/17 E-mail              101                            20       A I'll try not to yell back.
21    Exhibit 14 Phone Records               103                           21       Q That's fine if you do. We'll get through this.
22    Exhibit 15 4/3/17 E-mail              107                            22          Have you sworn him in yet? You have? Good.
23    Exhibit 16 10/23/17 E-mail             115                           23          Can you state your full name for the record,
24    Exhibit 17 10/24/17 E-mail             123                           24   please?
25                                                                         25       A David Glenn Jackson, Jr.

                                                                                                                           2 (Pages 2 - 5)
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                                                        Page 6                                                               Page 8
 1       Q What's your date of birth, Mr. Jackson?              1          A Yes, sir.
 2       A August 7, 1968.                                      2          Q Okay. And did you come back to poultry or
 3       Q Have you ever given a deposition on behalf of        3      Simmons Prepared Foods in December of 2016?
 4   Simmons before?                                            4          A I started transitioning to prepared foods in
 5       A Yes.                                                 5      late September. I replaced a gentleman who retired in
 6       Q How many times?                                      6      December.
 7       A Once.                                                7          Q That was Gary Murphy?
 8       Q What type of case was that?                          8          A Yes.
 9       A It was a cardboard price fixing case.                9          Q What was Mr. Murphy's position in poultry? Was
10       Q Okay. And just so I can be up to speed, does        10      he president and COO?
11   Simmons have a parent company and then some companies that11          A In my earlier stint before I left for pet food,
12   are subsidiaries of the parent?                           12      I was president and COO of prepared foods, Gary was
13       A Yes.                                                13      president and COO of, I think technically it's Simmons
14       Q Okay. Can you kind of break that down for me?       14      Poultry Farms and so we had -- we had the poultry division
15       A There is Simmons Foods, Inc., that would be the     15      split in half, he had grow out and slaughter international
16   parent company, and then under Simmons Foods there are    16      sales, I had further processing, domestic sales and supply
17   multiple entities. Simmons Prepared Foods would be the    17      chain, so there were two presidents of poultry. We had
18   poultry entity that processes and produced, packaged and  18      the company split in half. When I left for pet food, Gary
19   sold the poultry goods to Renaissance Man Food Service,   19      assumed responsibility for all the poultry and I assumed
20   then there are other multiple entities that do other      20      responsibility for pet food, both as president and COO.
21   things.                                                   21          Q And then when you came back to poultry, was the
22       Q You're currently employed by Simmons Prepared       22      consolidation still in place?
23   Foods; is that correct?                                   23          A Still in place, so I moved back and over all of
24       A I have -- I was during this time. I have moved      24      poultry.
25   to a role under Simmons Foods currently.                  25          Q What involvement did you have in recruiting Mr.
                                                        Page 7                                                               Page 9
 1      Q Okay. All right. So let's go back. I think --            1   Staples to come to work at poultry?
 2   and we're going to go through all this, but I think we're     2       A I was -- I was responsible for that part of
 3   going to be able to show that Mr. Staples went to work for    3   poultry that would have -- that interacted with
 4   Simmons Prepared Foods in March of 2009?                      4   Renaissance Man. I had had -- had a conversation with
 5      A That sounds correct.                                     5   John, and John came to us through Herschel as someone that
 6      Q Up until sometime in December of 2017, correct?          6   he had confidence in to assume responsibilities for that
 7      A That sounds correct.                                     7   entity.
 8      Q All right. And it's my understanding that you            8       Q What entity?
 9   may have been employed by Simmons Prepared Foods back in      9       A Renaissance Man Food Service and at the time
10   2009 during the time that Mr. Staples came on board and at   10   Walker Foods.
11   some point you may have left that particular entity and      11       Q Let me show you what's been marked as Simmons'
12   went to another Simmons entity. And if I could, I want       12   documents.
13   you to give me your history so I don't have to ask you a     13           Do you happen to have a stapler? I don't know
14   bunch of unnecessary questions is what I'm trying to         14   if that's going to make it through the day. Well, look at
15   avoid.                                                       15   that. I couldn't do that again in a million years.
16      A All right. I started at Simmons in 1991. I              16           All right. Have you seen Exhibit 1 before?
17   spent approximately 20 years in the poultry side in          17           (WHEREUPON, Exhibit 1 was marked for
18   prepared foods, left poultry in -- I'm trying to remember    18   identification.)
19   when it was, 2012, and then returned to poultry in 2016.     19       A Yes, I have.
20   When I left poultry, I went to our pet food division.        20       Q What is that?
21      Q You're using the word poultry to mean Simmons           21       A That was the resolution from -- the board
22   Prepared Foods, Inc.?                                        22   resolution from Walker Foods, LLC recognizing the
23      A Yes, sir.                                               23   transition from Mike Rogers to John Staples.
24      Q All right. So did you say from about 2012 to            24       Q And at the third page of it, it's supposed to be
25   2016 you were in the pet foods division?                     25   -- it looks like it's dated for some time in April 2009,

                                                                                                                 3 (Pages 6 - 9)
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                                                          Page 10                                                           Page 12
 1   but it does not have a date inserted, does it?                  1   the 3,000 pages that have been produced in this case you
 2       A It does not.                                              2   decided to bring today.
 3       Q Do you know when it was executed in April of              3          MR. SIMMS: It's a lot of work to bring -- I
 4   2009?                                                           4   thought I made double copies, but we'll see. I thought I
 5       A I do not.                                                 5   made doubles. One copy.
 6       Q Did you sign off on it?                                   6          MR. PARKER: Huh?
 7       A I did.                                                    7          MR. SIMMS: One copy.
 8       Q And who is Mike Jones?                                    8          MR. PARKER: So when you get -- if you're going
 9       A Mike Jones was the CFO of Simmons Foods at the            9   to use one, give me a copy.
10   time.                                                          10          MR. SIMMS: I'll give you a copy and you all can
11       Q The parent company?                                      11   look at it before I ask questions.
12       A Yes.                                                     12          MR. PARKER: Yeah.
13       Q Was that document prepared by Mr. Walker's               13          MR. SIMMS: How about that?
14   attorneys in Atlanta?                                          14          MR. PARKER: That works.
15       A I do not know who prepared that document.                15      Q (BY MR. SIMMS) Have you reviewed H. Walker
16       Q May I see it back, please? If you could go to            16   Enterprises or Renaissance Man responses to
17   paragraph, I think it's the third one from the bottom of       17   interrogatories in this case?
18   the second page that deals with some issues concerning         18      A Yes, I have.
19   restructuring; is that correct?                                19      Q Do you recall that it's their position they had
20       A Yes.                                                     20   no involvement in the hiring of Mr. Staples originally by
21       Q What was being restructured?                             21   poultry in March of 2009?
22       A We were asking John to come into Renaissance Man         22          MR. KING: I object to the characterization of
23   Food Service/Walker Foods and reestablish the business         23   the discovery responses, that's not what they say.
24   entity or the business operations. We had terminated the       24      A I do not recall that position.
25   previous leader of that group, Mike Rogers, and were           25      Q (BY MR. SIMMS) You have seen Exhibit 2 before?
                                                          Page 11                                                           Page 13
 1   asking John to bring in his expertise, knowledge and get        1          (WHEREUPON, Exhibit 2 was marked for
 2   the business back on the right track and he had some -- he      2   identification.)
 3   had -- we were waiting to get his feedback of how we            3      A I have.
 4   should be structured.                                           4      Q Does that document reflect an offer of
 5       Q And one of the restructures it references here            5   employment with poultry to John Staples?
 6   is sales force and compensation structures; is that             6      A It does.
 7   correct?                                                        7      Q And what's the date of it?
 8       A That's correct.                                           8      A June 12, 2008.
 9          MR. PARKER: Keri, do you have copies of the              9      Q Was that offer accepted?
10   exhibits you had planned to use today?                         10      A I don't recall if I saw a signed copy of this.
11          MR. SIMMS: Pardon?                                      11   I don't recall if I've seen a signed copy of this specific
12          MR. PARKER: Do you have copies --                       12   wording of this offer. An offer was accepted.
13          MR. SIMMS: Yeah.                                        13      Q Did you have a role in the preparation of
14          MR. PARKER: -- of the exhibits you plan to use          14   Exhibit 2?
15   today?                                                         15      A I recall an e-mail where I had approved this
16          MR. SIMMS: Tons of them if you want to go               16   offer to be extended.
17   through that.                                                  17      Q And who was doing the extending, was that
18          MR. PARKER: Yeah, I suppose. I suspect Mike's           18   Mr. Miller?
19   going to want a copy too. Thank you.                           19      A Chip Miller.
20          MR. SIMMS: There's one.                                 20      Q And what was his position with poultry at the
21          MR. PARKER: Okay. Do you only have one copy?            21   time?
22          MR. SIMMS: Apparently.                                  22      A Vice president of sales.
23          MR. PARKER: Mike?                                       23      Q You can keep that one out.
24          MR. SIMMS: I mean, they're your documents.              24          MR. PARKER: Do you have a copy of that one,
25          MR. PARKER: I know, but I don't know what of            25   Mike, just for the record -- or Keri rather?

                                                                                                              4 (Pages 10 - 13)
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                                                         Page 14                                                            Page 16
 1      Q (BY MR. SIMMS) I've got another copy somewhere.           1      A He requested that he work for Simmons Foods so
 2   Let me find it.                                                2   that he could obtain or keep the benefits that were
 3          While I am looking for another copy, did                3   offered through Simmons Foods that were not available
 4   Mr. Walker have a role or involvement in the content of        4   through Walker Foods or Renaissance Man.
 5   that offer?                                                    5      Q Did Mr. Staples also discuss his concerns about
 6      A I know we agreed on the compensation for the              6   being employed by Walker Foods or Walker Enterprises or
 7   role because it was a -- it was compensation that was          7   Renaissance Man?
 8   going to be borne by Walker Foods, Renaissance Man,            8      A He was concerned about the lack of benefits and
 9   however we had it structured. The balance of the offer         9   the entity at the time was very small and so he wanted to
10   was standard for Simmons Foods.                               10   be employed by a larger organization to help get that
11          MR. PARKER: Thank you.                                 11   entity up and running.
12      Q (BY MR. SIMMS) You are welcome.                          12      Q Did he express any concerns that he had about
13          Do you know why that offer was not accepted by         13   his dealings with H. Walker Enterprises or Renaissance Man
14   Mr. Staples?                                                  14   Foods while employed by either Smithfield or Tyson?
15      A I don't recall whether the offer was or was not          15      A Not concerns. He shared that he had dealt with
16   accepted by Mr. Staples.                                      16   those entities, but he was coming in as the manager of
17      Q Do you recall when another offer was made to Mr.         17   that, of that enterprise. So, no, he did not express to
18   Staples after that one?                                       18   me concerns of them being a going concern or that he did
19      A It would have had to have been prior to                  19   not want to work for them.
20   April 2009, but immediately prior to that.                    20      Q And you have talked to Mr. Miller and did
21      Q Let me show you Exhibit 3.                               21   Mr. Miller indicate he had a recollection of Mr. Staples
22          (WHEREUPON, Exhibit 3 was marked for                   22   expressing concerns about being employed by those
23   identification.)                                              23   entities?
24          MR. PARKER: For the record, Exhibit 3 is an            24      A Mr. Miller recalled that John wanted to be
25   offer letter to Mr. Staples not on letterhead dated           25   employed by Simmons to obtain benefits, health insurance,
                                                         Page 15                                                            Page 17
 1   February 20th, 2009.                                           1   401(k), other benefits that we offered as an entity,
 2       A Okay.                                                    2   Simmons offered as an entity that was not available under
 3       Q (BY MR. SIMMS) Is that the second offer made to          3   Walker Foods and Renaissance Man.
 4   Mr. Staples?                                                   4       Q Did the Walker Foods, LLC entity even enter into
 5       A It is.                                                   5   discussions with Mr. Staples?
 6       Q Any differences between that offer and the first         6       A At the time, yes, because Walker Foods, LLC was
 7   offer?                                                         7   a vehicle that we were selling -- that poultry was being
 8       A The employment date, compensation is $20,000 a           8   sold through that Mr. Staples would manage.
 9   year greater, a one time car allowance, relocation expense     9       Q But he never did manage through that entity, did
10   is in addition. Okay.                                         10   he?
11       Q Why was the -- those items added the second go          11       A As we made the transition to bring John on, I
12   around?                                                       12   think John's recommendation was to close Walker Foods
13       A They were John's request in the negotiation of          13   because we had too many entities and too little business
14   employment.                                                   14   and it was confusing the customer base, as I recall.
15       Q Who on behalf of poultry was in communications          15       Q Do you know when Walker Foods, LLC was closed?
16   with Mr. Staples about these offers?                          16       A I don't recall the date that it -- that the
17       A I believe Chip Miller was communicating directly        17   entity was dissolved, but in the transition when John came
18   with John.                                                    18   on we stopped using Walker Foods as a sales vehicle. So
19       Q Has Mr. Miller indicated any discussions between        19   it could have existed for a while as an empty corporation
20   him and Mr. Staples during that period of time concerning     20   -- or an empty LLC.
21   Mr. Staples' concerns about being employed by H. Walker       21       Q What was the next sales vehicle besides Walker
22   Foods or Renaissance Man Foods or H. Walker Enterprises?      22   Foods if it was stopped being used?
23       A We have discussed Chip's recollection and I was         23       A Renaissance Man Food Service.
24   in discussion with John as well during that time.             24       Q Exhibit 4 is Simmons document 80. You have seen
25       Q Was that subject discussed?                             25   that document before?

                                                                                                              5 (Pages 14 - 17)
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                                                            Page 18                                                           Page 20
 1          (WHEREUPON, Exhibit 4 was marked for                       1   profit sharing bonus to Mr. Staples' bonus being based on
 2   identification.)                                                  2   five percent of Walker's net income up to 50 percent of
 3      A Yes.                                                         3   Mr. Staples salary when he moved to Walker Foods?
 4      Q What involvement did you have in preparing this              4      A Mr. Staples was not -- in the role he would
 5   particular document?                                              5   have, he would not have any direct responsibilities for
 6      A I approved the final offer.                                  6   Simmons. We were hiring him and then contracting him to
 7      Q And was this being put together by Mr. Miller,               7   Walker Foods/Renaissance Man and so the bonus would
 8   Mr. Chip Miller?                                                  8   transition to bonus based on the work that he was
 9      A Yes.                                                         9   responsible for and that Walker Foods was the vehicle we
10      Q Is his full name Donald L. Miller, Jr.?                     10   contemplated at the offer time.
11      A Yes.                                                        11      Q From March 6, 2009 until the end of
12      Q If I refer to him as Chip Miller, you'll know               12   December 2017, was Mr. Staples -- did he ever get paid a
13   who I'm talking about?                                           13   bonus pursuant to this promise contained in this
14      A Yes.                                                        14   communication?
15      Q In comparing this March 6, 2009 offer to the                15      A I have seen some documents where there were
16   other two offers, there are differences, correct?                16   other arrangements between Mr. Staples and Mr. Walker and
17      A Yes.                                                        17   Mr. Eisenman where John's compensation was taken care of,
18      Q And what's the difference between the March 6,              18   bonus compensation was taken care of through Renaissance
19   '09 offer and was it February, February the 20th, '09?           19   Man and that was negotiated outside of the arrangement
20      A Yes.                                                        20   with Simmons.
21      Q What's the differences?                                     21      Q Mr. Staples did not go -- did not move to Walker
22      A The start date, the bonus is now a sign on bonus            22   Foods, he did not manage Walker Foods, LLC, did he?
23   and not a car allowance, the bonus is -- it contemplates a       23      A He did not.
24   five percent bonus of Walker -- Walker's net income and          24      Q And according to the resolution, the issue of
25   Simmons agreed to pay for relocation.                            25   compensation was going to be addressed further down the
                                                            Page 19                                                           Page 21
 1      Q The bonus structure that was being offered in                1   road after March 6, 2009, correct?
 2   the two prior offers pertain to the poultry, Simmons              2      A It was to be resolved in April or after April,
 3   Poultry, was it a profit sharing plan?                            3   yes.
 4      A Yes.                                                         4      Q So this contract of employment was modified
 5      Q And then that changed concerning the March 6,                5   after it was accepted, correct?
 6   2009 offer, correct?                                              6           MR. PARKER: Objection, question calls for a
 7      A That's correct.                                              7   legal conclusion.
 8      Q And the March 6, 2009 offer, was it accepted by              8      A I'm not a lawyer, so I don't know the
 9   Mr. Staples?                                                      9   definition.
10      A It is signed by Mr. Staples.                                10      Q (BY MR. SIMMS) Well, did the bonus provision of
11      Q And do you know if he faxed it back in or how               11   paragraph three of the March 6, 2009 agreement ever take
12   poultry received it?                                             12   place?
13      A There is a fax number on the top of this, but I             13      A No, it did not.
14   do not know how it was sent back to poultry.                     14      Q It was changed?
15      Q All right. Look at 79. We'll make that, I                   15      A It was changed.
16   guess, Exhibit 5.                                                16      Q Okay. So this agreement was modified?
17          (WHEREUPON, Exhibit 5 was marked for                      17      A Okay.
18   identification.)                                                 18      Q Do you agree with that?
19      A Okay.                                                       19      A I would agree in layman's terms --
20      Q Was the position that Mr. Staples was being                 20      Q All right.
21   offered by poultry in all three of the offers director of        21      A -- that there's no other legal definition of
22   distribution sales food service?                                 22   modified.
23      A That is the position within Simmons, yes.                   23      Q It was changed, the bonus never came to be
24      Q All right. Why was there a change about the                 24   applied as set out in the agreement, correct?
25   bonus from participation in the Simmons or the poultry           25      A That is correct.

                                                                                                                6 (Pages 18 - 21)
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                                                       Page 22                                                             Page 24
 1      Q All right. When was it that -- let me just make          1   identification.)
 2   sure because I want to get to the chase. The parent           2       A Okay. Okay.
 3   company was not involved in agreements with Walker Foods,     3       Q All right. Looking at page 244, which is the
 4   LLC or H. Walker Enterprises, LLC or Renaissance Man, it      4   number down at the bottom?
 5   was always the poultry entity?                                5       A Yes.
 6      A Simmons Prepared Foods.                                  6       Q If you come over to the left-hand side right
 7      Q Is that correct?                                         7   above the confidential word, there are some numbers there
 8      A That's correct.                                          8   and then there's a V and a four?
 9      Q All right. So I'm going to try to just talk              9       A Yes.
10   about poultry. Me and you will know what we're talking       10       Q Do you know if that's the law firm that prepared
11   about, correct, if I use -- if I say poultry?                11   its way of managing documents by using those letters or
12      A Yes, poultry works.                                     12   numerals?
13      Q You know I'm talking about Simmons Prepared             13       A I have seen that on documents coming from
14   Foods, Inc.?                                                 14   Mr. Eisenman. I'm not aware of the coding of how that
15      A Yes.                                                    15   applies.
16      Q Okay. When did poultry enter into a                     16       Q The V4, do you know if that means version four
17   relationship with some entity other than H. Walker Foods     17   or do you know one way or the other?
18   after March 6, 2009?                                         18       A I can make assumptions, but I don't know for a
19      A We had an ongoing relationship with Renaissance         19   fact.
20   Man Food Service and for an extended period of time after    20       Q Is this document -- this document was never
21   John transitioned, we worked through the constructs of a     21   actually executed, was it? When I use the word executed,
22   new agreement between Simmons Prepared Foods and             22   I mean signed by either poultry or H. Walker Enterprises
23   Renaissance Man, H. Walker Foods.                            23   or Renaissance Man or Walker Foods, LLC?
24      Q You have reviewed the documents that poultry            24       A It was never executed by both parties.
25   produced in this lawsuit, correct?                           25       Q All right. Why not?
                                                       Page 23                                                             Page 25
 1      A Many of them.                                            1       A I think we had gone back and forth, Herschel and
 2      Q Okay. And you have seen the agreement?                   2   myself had gone back and forth on negotiating this and as
 3          MR. PARKER: What agreement?                            3   I recall, I had sent a signed copy to Ron, Ron Eisenman
 4      Q (BY MR. SIMMS) The agreement he's talking                4   and Herschel. I had not received a signed copy back. As
 5   about, the new agreement, correct?                            5   the person responsible from a Simmons' perspective, it was
 6      A I've reviewed --                                         6   not a major importance to me because we were operating
 7      Q I am going to show it to you.                            7   under the constructs of this agreement and the business
 8      A I've reviewed versions of the agreement that was         8   operated fine without a signed agreement and we had mutual
 9   contemplated between Simmons and H. Walker Foods.             9   dependency on each other to do the things that we needed
10      Q How many versions were there?                           10   to do, sell through the channels that H. Walker -- or that
11      A It was -- we sent versions back and forth over a        11   Renaissance Man was selling and so there really wasn't a
12   year period of time.                                         12   need for a signed agreement.
13      Q Were those documents always drafted by                  13       Q And to your knowledge or poultry's knowledge,
14   Mr. Walker's attorneys in Atlanta?                           14   was that true up until the end of 2017?
15      A If it were -- if there were a change on Simmons         15       A Yes.
16   Prepared Foods' behalf, I would or our Simmons attorney      16       Q Because you started demanding a written
17   would make those changes and I would send those to           17   agreement, didn't you?
18   Mr. Walker and Mr. Eisenman. And I'm not certain who         18       A I asked for an update to the agreement and that
19   would make those changes or how they would come back, but    19   we should get a signed agreement, yes.
20   I would get an e-mail from Mr. Eisenman copying Mr. Walker   20       Q What changed? And what I mean by it is you
21   on a return.                                                 21   operated these years without a written agreement and then
22      Q Exhibit 6 is quite a few pages. It goes Simmons         22   towards the end of 2017 you wanted a written agreement.
23   244 through 257. Take a moment and review over that and      23       A What changed was feedback from our sales
24   then I'm going to ask you some questions about it.           24   representative, Matt Free, and feedback from Mr. Staples
25          (WHEREUPON, Exhibit 6 was marked for                  25   that there was a belief that without a signed agreement

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 1   that anything could be changed at will. And up until            1      Q (BY MR. SIMMS) Six. Did poultry have knowledge
 2   those incidences, I was operating under the belief and the      2   that H. Walker, LLC owned 100 percent of Renaissance Man
 3   action that even though it wasn't signed, that was how we       3   Food Services?
 4   were behaving and so that is how we would govern the            4      A Yes.
 5   business entity.                                                5      Q And did poultry have knowledge that H. Walker
 6       Q Looking at 244, the first page, it appears to me          6   Enterprises was the parent company of Renaissance Man Food
 7   in the preamble there, it says that the agreement will be       7   Services?
 8   effective as of and it's got a blank 2010?                      8      A Yes.
 9       A Correct.                                                  9      Q All right. On page 245, which is page two,
10       Q And it indicates that it's going to be an                10   there appears to be -- well, let me back up. At the time
11   agreement between Walker Enterprises, LLC and Simmons          11   that Mr. Staples was going to -- was Mr. Staples going to
12   Prepared Foods, which is poultry, correct?                     12   manage the Renaissance Man Food Services?
13       A Correct.                                                 13      A Yes.
14       Q And I want to say that Simmons or poultry's              14      Q Okay. He may have managed part of Walker Foods,
15   position in answers to interrogatories is it never had a       15   LLC for a period of time, but then sometime in 2010 up
16   relationship with H. Walker Enterprises, LLC. Do you           16   until 2017 he managed Renaissance Man Food Services?
17   recall that?                                                   17      A He was the general manager of Renaissance Man
18       A I do recall -- well, I don't recall that                 18   Food Service.
19   specific answer in the interrogatory. Yes.                     19      Q Okay. Still employed as director of sales for
20       Q This agreement was with H. Walker Enterprises,           20   food service by Simmons or poultry, correct?
21   wasn't it?                                                     21      A That is correct.
22       A It was never executed.                                   22      Q Okay. With respect to Mr. Staples managing the
23       Q But it was -- the terms of it, the provisions of         23   relationship between poultry and Renaissance Man Food
24   it were through the course of conduct carried out or put       24   Services or H. Walker Enterprises, what document was he
25   into place; is that correct?                                   25   provided that explained the relationship for him to
                                                          Page 27                                                            Page 29
 1       A It was, yes.                                              1   manage?
 2       Q Now, how did poultry -- well, let me back up.             2      A Mr. Staples managed the day-to-day activity of
 3          Will you agree with me that Mr. Staples never            3   Renaissance Man Food Service, the sales activity, the
 4   worked for Walker Foods, LLC?                                   4   interaction with Renaissance Man Food Service's customer
 5       A I don't have the financial records of the very            5   base, the expenses, the brokerage agreements, all of the
 6   beginning of Mr. Staples' employment. I'm not sure which        6   activity of that as a standalone entity, that was his own
 7   entity reimbursed Simmons Foods for his expenses, so I          7   function.
 8   don't know that I can agree with you.                           8      Q If a conflict developed between poultry and H.
 9       Q Do you know if he ever managed a relationship             9   Walker or Renaissance Man Food Services, was there a
10   between poultry and Walker Foods, LLC?                         10   document that Mr. Staples could consult to assist him in
11       A Walker Foods, LLC was in existence at the time           11   resolving the conflict?
12   of the transition. We had some Walker Foods packaging and      12      A What kind of conflict would you be talking
13   products in market and I recall it being Mr. Staples'          13   about?
14   recommendation to consolidate that under Renaissance Man       14      Q Well, the agreement goes in pretty good detail
15   Food Service so there would have been -- so one name to        15   about the relationship, right?
16   the customer base, so there would have been a time period      16      A About the structure, yes.
17   where Mr. Staples did manage products sold by Walker           17      Q Okay. And on page two, the agreement addresses
18   Foods. It could have been very short.                          18   the structure beginning in paragraph B, correct?
19       Q Do you know if it had ended by the beginning of          19      A Correct.
20   2010?                                                          20      Q All right. And it looks like to me that certain
21       A I do not recall the exact date that we stopped           21   food products that were being sold that were not within
22   selling product through Walker Foods.                          22   the relationship were handled one way and then food
23       Q As of the time of this document, 244, I'll just          23   products that were produced within the relationship were
24   refer to it as -- what exhibit --                              24   handled another way. Do you agree with me?
25          MR. PARKER: You marked it as Exhibit 6.                 25          MR. KING: I'm going to make a blanket objection

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 1   since I'm not being provided copies of the documents, I        1       Q Did H. Walker Enterprises or Renaissance Man
 2   have no way of knowing what you're talking about. So I'm       2   have ownership interest in poultry's, for the lack of a
 3   going to ask that you give me a standing objection to the      3   word, Simmons' production facilities?
 4   characterizations you're making of the agreements unless       4       A It did not.
 5   you provide me copies.                                         5       Q Are those owned by poultry or are they owned by
 6          MR. SIMMS: Did you not bring your copies that           6   the parent, the actual facilities?
 7   you received in discovery with you today?                      7       A The assets are under Simmons Prepared Foods.
 8          MR. KING: No, I did not.                                8       Q Okay. On page 247 which is page four, the
 9          MR. SIMMS: Okay. You certainly had the                  9   agreement deals with -- now, let me make sure I understand
10   opportunity to do so, though, correct?                        10   this. Poultry was not only going to produce the prepared
11          MR. KING: If you can take that position, I             11   food products that was sold to Renaissance Man, which
12   consider this totally unprofessional.                         12   Renaissance Man then sold to its customers, I guess?
13          MR. SIMMS: Well, I don't have to --                    13       A Uh-huh.
14          MR. KING: So I'm asking for --                         14       Q Poultry was also going to perform some
15          MR. SIMMS: I don't have to prepare you for the         15   administrative functions; is that correct?
16   deposition.                                                   16       A That is correct.
17          MR. KING: I'm asking for a standing objection          17       Q All right. And that's set out in the agreement,
18   and I hope you'll give it to me, otherwise I'll make an       18   correct?
19   objection on every question.                                  19       A That is correct.
20          MR. SIMMS: Okay.                                       20       Q And are all the administrative functions set out
21          MR. KING: And I would prefer not to do that.           21   in this paragraph two on page 247?
22          MR. SIMMS: It's a pretty simple question.              22          MR. PARKER: Are you talking about paragraph two
23          MR. KING: No, you haven't given me the answer          23   under section E beginning on 247 --
24   to whether I've got a standing objection.                     24          MR. SIMMS: Yes.
25          MR. SIMMS: I don't -- you can have a standing          25          MR. PARKER: -- and continuing on to 248?
                                                         Page 31                                                            Page 33
 1   objection.                                                     1          MR. SIMMS: Correct. Yes.
 2           MR. KING: Thank you.                                   2      A There are administrative functions that are
 3       Q (BY MR. SIMMS) The structure of the                      3   described in paragraph two, E2, and it begins at "such
 4   relationship contemplated what would be done with respect      4   as", so I'm not sure of your definition of all, but it
 5   to food products sold within the relationship and those        5   does list multiple activities.
 6   sold outside, correct?                                         6      Q (BY MR. SIMMS) All right. One is accounting?
 7       A It is my recollection in reading the --                  7      A That's correct.
 8   rereading the agreement again, the request was to exclude      8      Q Truck hiring, does that mean hiring
 9   business arrangements that Mr. Walker and Mr. Eisenman had     9   transportation to tote the product from points that it
10   arrived at prior to Simmons interacting direct with           10   needs to be toted to or from?
11   Renaissance Man Food Service. So they asked to carve          11      A Distribution from our warehouse to the finished
12   those out and leave those separate from the arrangement       12   customer.
13   and they specified those on page 246.                         13      Q What was the Sysco incentive payment management?
14       Q Does poultry consider the relationship that             14      A It would have been part of a volume agreement
15   began with Renaissance Man sometime in late 2009 or 2010      15   between Renaissance Man and Sysco that required tracking
16   and H. Walker Enterprises here, is this a joint venture or    16   of volume and price.
17   is this a partnership?                                        17      Q Broker payment management?
18       A I don't know that I can define the -- well, I'm         18      A That would be paying our brokers based on the
19   not a lawyer, so I don't know the legal definition of the     19   brokerage arrangements that were set by the general
20   difference between the two.                                   20   manager of Renaissance Man Food Service.
21       Q Did poultry consider that it had some ownership         21      Q And when you say broker, is this referring to a
22   interest in Renaissance Man Food Services?                    22   food broker?
23       A I think we ultimately agreed that poultry would         23      A Yes.
24   not have an ownership interest in Renaissance Man Food        24      Q So basically, Simmons was performing these
25   Service.                                                      25   administrative functions because Renaissance Man -- did

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 1   Renaissance Man even have the capability to perform the        1       Q And we're talking about what, nine years?
 2   administrative functions?                                      2       A Yes.
 3      A Prior to us assuming this, yes, they did.                 3       Q Eight years, nine. And Mr. Staples was the
 4      Q Where was that being performed?                           4   manager of that relationship that entire time, correct?
 5      A That was in -- I'm trying to remember where               5       A He was the manager of Renaissance Man Food
 6   Herschel's -- Herschel's sister was doing it in --             6   Service, the general manager of Renaissance Man Food
 7      Q Savannah, Georgia?                                        7   Service. The leader of poultry, whether it was myself and
 8      A Savannah, that's correct.                                 8   Gary Murphy and then back to myself, we would -- it was
 9      Q With respect to the sales personnel's submission          9   our responsibility to manage the relationship from a
10   of expense requests in paragraph one on the same page,        10   Renaissance Man Food Service -- if there was an entity
11   247, under E it says it will be reviewed and approved by      11   level issue, we would deal with the CEO of Renaissance Man
12   Mr. Staples but also Simmons; is that correct?                12   Food Service, which is Herschel Walker.
13      A That's correct.                                          13       Q With respect to the resolution concerning the H.
14      Q And when you use the word Simmons there, we're           14   Walker Foods, LLC entity, was it contemplated by poultry
15   referring to poultry, correct?                                15   that when Mr. Staples began managing whatever the new
16      A That's correct.                                          16   relationship was going to be, which I think we have now
17      Q And there would be employees in the accounting           17   established is according to this Exhibit 6, correct?
18   department at poultry that would also look at these           18       A Yes.
19   requests, correct?                                            19       Q All right. Was it contemplated by poultry at
20      A That's correct.                                          20   that time that Mr. Staples would create profit and loss
21      Q Did this agreement contemplate that H. Walker            21   statements related to the relationship?
22   Enterprises would submit certain expenses to poultry for      22       A There was when he stepped in and we would
23   payment?                                                      23   continue to have balance sheet and income statements for
24      A I do not recall that specifically being in the           24   the business arrangement that Mr. Staples was responsible
25   agreement.                                                    25   for managing that business relation -- that business
                                                         Page 35                                                           Page 37
 1       Q Is that something that you addressed towards the         1   function. I'm trying to clarify the difference between
 2   end of 2017? We're going to get to it later today, but do      2   the relationship and the business function because there
 3   you have a recollection of addressing that?                    3   were ongoing communications between myself or Mr. Murphy
 4       A I recall questions about what were qualified or          4   and Mr. Walker. Mr. Walker is viewed as the CEO of
 5   business-related expenses and what were not.                   5   Renaissance Man Food Service. Mr. Staples was the general
 6       Q And, in fact, you quoted to an agreement in some         6   manager who managed the day-to-day business activity of
 7   of your communications and I know we're going to go over       7   Renaissance Man Food Service.
 8   it later today, but is this what you were quoting to?          8       Q Did Mr. Staples owe an obligation or
 9       A Yes.                                                     9   responsibility to report to poultry matters related to the
10       Q Okay. So in your mind, in poultry's mind, the           10   operation of the relationship?
11   parameters of the relationship between poultry and H.         11       A Mr. Staples, he interacted with Simmons based on
12   Walker Enterprises and/or Renaissance Man Food Services       12   products that were produced and as a general manager he
13   was as what's set out in Exhibit 6?                           13   interacted with me as a board member of Renaissance Man
14       A Yes. There were some modifications as we moved          14   Food Service, but he had no specific obligation to
15   along, but when we -- when I felt like we strayed too far     15   circumvent his immediate supervisor and CEO, Mr. Walker.
16   from this original agreement, we tried to pull back to        16       Q Did Mr. Staples, did he report directly to
17   this agreement to reground ourselves to the constructs of     17   Mr. Chip Miller?
18   this agreement and then reset.                                18       A He -- Mr. Staples reported to Mr. Miller in our
19       Q So the agreement or the change in relationship          19   -- in Simmons' organizational structure, but functionally
20   would have either happened towards the end of 2009 or the     20   Mr. Staples' responsibility, job action, everything he did
21   beginning of 2010 and was still in place through the end      21   was as a general manager of Renaissance Man Food Service.
22   of 2017, correct?                                             22          MR. PARKER: Keri, we've been going about an
23       A That's correct.                                         23   hour.
24       Q Subject to modification over time?                      24          MR. SIMMS: Yeah. We can take a break now.
25       A That's correct.                                         25          (Short break from 9:56 a.m. to 10:04 a.m.)

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 1       Q (BY MR. SIMMS) Mr. Jackson, what is Exhibit 7?            1      Q All right. Going on down in document seven, it
 2          (WHEREUPON, Exhibit 7 was marked for                     2   appears that there are some -- under paragraph -- or
 3   identification.)                                                3   section two, there are some targets. Do you see that?
 4       A Exhibit 7 is a form that Simmons Foods used in            4      A Yes.
 5   2009 to outline key performance metrics that were needed        5      Q Did you have involvement in setting these
 6   by employees of the company.                                    6   targets with Mr. Miller and then Mr. Miller had
 7       Q Is this a parent form or is this a poultry form?          7   involvement in setting those with Mr. Staples or how did
 8       A This was used in several entities in Simmons              8   that work?
 9   Foods.                                                          9      A The process was for the employee, so Mr. Staples
10       Q This one appears to be dated July the 16th,              10   would set his targets and then cover those with
11   2009; is that correct?                                         11   Mr. Miller.
12       A That is what it's dated.                                 12      Q All right. And it appears the use of these
13       Q And it reflects that Mr. Staples' immediate              13   numbers here, the million and the six million, is that
14   manager -- and if I say something that's not correct, you      14   referring to pounds?
15   correct me, but it appears that Chip Miller is -- is Chip      15      A Number three target is net $1 million the first
16   Miller the one that prepared this document and provided it     16   year and number five is six million pounds the first year.
17   to Mr. Staples or how would that have occurred?                17      Q So the number in three is a pure dollar number
18       A The process was to have the employee put                 18   and then five deals with the poundage of products sold; is
19   together their five to seven things they wanted to achieve     19   that correct?
20   that year and then they would go over that with their          20      A That is correct.
21   manager.                                                       21      Q At then item three, the first topic there is
22       Q And I know that Mr. Staples had not become part          22   quarterly sales meetings in Siloam Springs, correct?
23   of the -- an employee of poultry until March of 2009. Is       23      A That is correct.
24   this procedure that's set out in this document, is it done     24      Q Was there an issue related to Mike Rogers and
25   annually and maybe his was just done because he had only       25   the operation of the Walker Foods, LLC entity in not
                                                          Page 39                                                              Page 41
 1   started to work in March or can you explain to me how that      1   having adequate sales meetings?
 2   would have taken place?                                         2       A I do not recall an issue of not having adequate
 3       A To my recollection, it was a new procedure that           3   sales meetings.
 4   we were rolling out in 2009 and it was asked to be done         4       Q Item two is monthly P&L statements reflecting
 5   with everyone.                                                  5   all sales and then it's got the word needed. Was there an
 6       Q Including Mr. Staples?                                    6   issue with the Mike Rogers run Walker Foods, LLC of not
 7       A It was asked to be done with everyone, so                 7   having proper P&L statements on a monthly basis?
 8   Mr. Miller must have done it with Mr. Staples.                  8       A There was some disorganization in the Walker
 9       Q If you will follow along with me, the first               9   Foods information.
10   paragraph there uses the word transition. Is that the          10       Q And the reason I ask that was to me the word
11   transition you were talking about earlier or is this more      11   needed indicates that there's been something lacking.
12   just specific related to the items that are referenced in      12       A That is correct.
13   the transition?                                                13       Q Would poultry agree with what I just said?
14       A These are items inside of the -- these are item          14       A I would agree that it was not as we had -- as we
15   activity that -- items that were sold by Renaissance Man       15   aspired it to be.
16   Food Service to Sysco and Mr. Staples had began a project      16       Q All right. Where are Mr. Staples' evaluations
17   of transitioning those from a Famous 34 brand to a Sysco       17   for the years 2010 through 2017?
18   Classic brand.                                                 18       A They did not occur.
19       Q Did poultry have an understanding as to who              19       Q Why not?
20   owned the rights to the Famous 34 brand?                       20          MR. PARKER: I just want to object to the extent
21       A Let me refer to this agreement.                          21   you're trying to characterize Exhibit 7, a document wholly
22       Q In fact, you probably ought to leave that                22   created by Mr. Staples, as a performance evaluation.
23   agreement on the table throughout the day.                     23       Q (BY MR. SIMMS) Well, let me back up. Was it
24       A I will. I seem to recall that Mr. Walker                 24   poultry's rule to have annual evaluations of employees
25   retained ownership of Famous 34.                               25   such as Mr. Staples?

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 1       A It was not.                                              1   where they -- Sysco then sells to -- typically sells to
 2       Q Why not?                                                 2   small chain or non-chain accounts like this restaurant.
 3       A That was -- this performance management five to          3   That is a different sales activity than what Simmons Foods
 4   seven was started in 2009, but it was an effort that did       4   is -- Simmons Prepared Foods is structured for and so
 5   not take hold throughout the company. Individual managers      5   Renaissance Man Food Service and Walker Foods really
 6   continued it in places, others did not, but ultimately the     6   focused on selling that sales channel which is a set of
 7   performance of Mr. Staples, so there would be a -- this        7   customers that Simmons Foods on its own did not sell to.
 8   performance management structure would have required a         8       Q In essence, poultry acquired a customer that it
 9   follow-up in -- throughout 2009 where our -- whereas, an       9   could sell its prepared or finished products to?
10   employee proceeding along their targets and goals and Mr.     10       A Renaissance Man Food Service is a customer of
11   Staples really needed to do that with Mr. Walker, not with    11   Simmons Prepared Foods.
12   Mr. Miller. And these five to seven must dos are              12       Q Have you been able to review Exhibit 8?
13   activities that are all within Renaissance Man Food           13          (WHEREUPON, Exhibit 8 was marked for
14   Service. They are not Simmons activities, they're             14   identification.)
15   Renaissance Man Food Service activities.                      15       A I have.
16       Q The relationship between poultry and H. Walker          16       Q What is this document?
17   Enterprises and/or Renaissance Man Food Services, from        17       A It is a personal action form used by Simmons
18   poultry's standpoint, how did poultry evaluate                18   Foods and their entities to make a change to many areas of
19   Mr. Staples' performance in managing that relationship?       19   someone's employment agreement or employment status.
20       A Poultry did not evaluate Mr. Staples'                   20       Q This concerned change to Mr. Staples' employment
21   performance in managing the relationship because his          21   status with Simmons or poultry, correct?
22   function -- Mr. Staples' function was to manage the           22       A It does.
23   business activities of Renaissance Man Food Service.          23       Q Who filled this out?
24       Q Was he like a special employee?                         24       A Ms. Linda Ross, I believe.
25       A I'm not sure of your definition of special.             25       Q Did she date it December 29, 2017?
                                                         Page 43                                                             Page 45
 1      Q Did poultry have other joint ventures or                  1      A She did.
 2   partnerships similar to the one with H. Walker Enterprises     2      Q And she indicates that the reason for Mr.
 3   and/or Renaissance Man Food Services that an employee of       3   Staples' termination from poultry is job performance, did
 4   poultry managed like Mr. Staples was doing?                    4   she not?
 5      A Simmons Prepared Foods had multiple employees             5      A She did.
 6   that were employed by Simmons and loaned to Renaissance        6      Q Had there been any progressive discipline
 7   Man Food Service and that was the only entity that that        7   concerning Mr. Staples up to December 29, 2017 that's
 8   occurred in.                                                   8   documented by poultry related to his job performance?
 9      Q H. Walker Enterprises or Renaissance Man Food             9      A There was not, no.
10   Services pursuant to the agreement that is Exhibit            10      Q Is this a mistake?
11   Number what?                                                  11      A It is not.
12          MR. PARKER: Six.                                       12      Q Why not?
13      A Six. And other -- there were other employees             13      A I'm not sure I understand your question.
14   that were added to or removed from Renaissance Man Food       14      Q Well, didn't poultry tell the State of Arkansas
15   Service that were other entities that were paid through       15   unemployment department that Mr. Staples was terminated
16   Simmons Foods, but Simmons Foods was merely a vehicle to      16   because the business or the company was moving in a
17   provide benefits and payroll to Renaissance Man Food          17   different direction?
18   Service.                                                      18          MR. PARKER: I'm going to object to the
19      Q (BY MR. SIMMS) What was the purpose in poultry           19   characterization to the company's response. It's my
20   entering into this relationship with H. Walker Enterprises    20   understanding the company did not contest or respond to
21   or Renaissance Man Food Services, what was the incentive      21   Mr. Staples' claim for unemployment benefits.
22   for poultry?                                                  22      Q (BY MR. SIMMS) Why don't you tell me what is
23      A There is a selling channel in the food business          23   poultry's position as to why Mr. Staples was terminated?
24   called distributive sales where you sell to the               24      A Mr. Staples was terminated because he was no
25   distributive side of Sysco as this agreement contemplated     25   longer needed by -- he had lost the trust of Mr. Walker,

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 1   the CEO of Renaissance Man Food Service, to perform his        1   majority owner of -- as the sole owner of the entity, I
 2   sole job function which was to act as general manager of       2   saw no reason to object to him bringing her along.
 3   Renaissance Man Food Service. When he lost that position       3       Q Going back to the, I think you called it the
 4   and that responsibility, he also lost his role that was        4   five to seven evaluation document?
 5   being funded by Simmons Foods -- or paid through Simmons       5       A Yes.
 6   Foods but funded by Renaissance Man Food Service.              6          MR. PARKER: For the record, it's Exhibit 7.
 7       Q Did poultry agree with the assessment that was           7          MR. KING: Since you made -- identified it, what
 8   made to it by Mr. Walker concerning the so-called loss of      8   was the Simmons number on Exhibit 8?
 9   trust concerning Mr. Staples?                                  9          THE WITNESS: Eight is 32.
10       A Yes.                                                    10          MR. KING: Thank you.
11       Q And when was that done?                                 11       Q (BY MR. SIMMS) We discussed earlier the need to
12       A At a board meeting in mid-December in Atlanta, a        12   prepare P&Ls monthly related to the relationship, correct?
13   Renaissance Man Food Service board meeting.                   13       A Related to the business entity of Renaissance
14       Q And Ms. Blanchard was present?                          14   Man Food Service, yes.
15       A Yes, Ms. Blanchard was present.                         15       Q And from poultry's standpoint, why was it
16       Q And when you got there, what capacity did you           16   important to have monthly P&L statements?
17   understand Ms. Blanchard was attending that board meeting     17       A Because to manage a business you have to know
18   in?                                                           18   what your income and what your expenses are and what your
19       A I never asked what capacity she attended the            19   revenue is and what the difference is.
20   board meeting in.                                             20       Q And if you do it on a monthly basis with respect
21       Q Did poultry know on that occasion that                  21   to expenses, if the P&L for one month shows an expense
22   Ms. Blanchard was an employee of H. Walker Enterprises?       22   compared to the next month, you can make comparisons,
23       A I had been -- I had been told by Mr. Staples            23   correct?
24   that Ms. Blanchard had business cards with H. Walker          24       A I would agree with that, yes.
25   Enterprises on them, yes.                                     25       Q And a person in a management position sees the
                                                         Page 47                                                            Page 49
 1      Q Was poultry aware that Mrs. Blanchard was a               1   changes, could then begin inquiring why there was a
 2   co-owner of the food broker for poultry or the Renaissance     2   decrease or increase, you agree?
 3   Man with Mrs. Staples?                                         3       A I agree.
 4      A I was aware that there was a brokerage firm that          4       Q And at some point in December of 2017 or late
 5   was created that Mrs. Staples and Ms. Blanchard were           5   November of 2017, did Mr. Walker instruct you to not allow
 6   equity owners in.                                              6   Mr. Staples to have access to P&Ls anymore concerning this
 7      Q Was poultry aware at that meeting in Atlanta              7   relationship?
 8   that Mr. Eisenman was an attorney of Mrs. Staples?             8       A Mr. Walker requested that information -- that
 9          MR. KING: Objection.                                    9   Mr. Staples be removed from information or reports that
10      A Poultry, nor I, was privy to attorney-client             10   were being sent, yes.
11   relationships outside of the ones that we directly            11       Q And was that request by Mr. Walker prior to the,
12   interacted with.                                              12   you called it the board meeting on December the 12th,
13      Q (BY MR. SIMMS) Did poultry through you register          13   2017?
14   any objection to Mrs. Blanchard participating in the board    14       A Yes, sir.
15   meeting on 12/12/17?                                          15       Q And what was yours or poultry's response to that
16      A No.                                                      16   request by Mr. Walker?
17      Q Why not?                                                 17       A My response was I strongly advocated that as a
18      A Why would I?                                             18   board member that we not withhold that information from
19      Q Well, if she's acting as an employee of H.               19   Mr. Staples, that either he is the general manager and he
20   Walker Enterprises or a representative of the food broker,    20   has all the information he needs to have to continue to be
21   did you see a conflict in discussing the relationship?        21   the general manager or we need to deal with things
22      A From poultry's perspective and my perspective,           22   otherwise.
23   she was and is Herschel's significant other, girlfriend,      23       Q Did Mr. Walker indicate to you at any time,
24   fiancé and, therefore, was in Herschel's judgment, it was     24   inclusive of the board meeting on December the 12th, 2017,
25   appropriate for her to be there alongside him and as the      25   as to why, what his motive was in requesting that Mr.

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 1   Staples not be provided access to the P&L statements           1   was to sell product to Renaissance Man Food Service.
 2   anymore?                                                       2       Q But poultry also expected to participate in net
 3       A I did not inquire from Mr. Walker why. I had             3   profit from the relationship, correct?
 4   heard Mr. Staples tell stories and events from his             4       A Simmons Prepared Foods did share in the profit
 5   perception of his side of the relationship between he and      5   at the end of the year or through the year of Renaissance
 6   Mr. Walker, so I was aware of Mr. Staples' version of          6   Man Food Service of which John was the general manager.
 7   events.                                                        7       Q And if food products were sold through a
 8       Q What was Mr. Staples' version of events?                 8   carveout and the expenses were processed through the
 9       A Mr. Staples presented to me that he -- he                9   relationship, would that not adversely affect Simmons'
10   believed that Ms. Blanchard -- there was a greater            10   participation in net profits?
11   conspiracy that food was going to be sold outside of          11       A It would impact the profit sharing of Simmons
12   Renaissance Man Food Service and it would be sold directly    12   Prepared Foods.
13   through H. Walker Enterprises and by doing so the             13       Q And as a business, poultry would have expected
14   relationship that Simmons Foods had in the business that      14   Mr. Staples, if that was occurring, to bring that to the
15   John was managing would -- could be evaporated or closed      15   attention of poultry, correct?
16   up because the food sales would move to another entity.       16       A As a business with Simmons Prepared Foods acting
17       Q And if Mr. Staples was policing expenses related        17   as a contractor for the accounting, Simmons Foods would
18   to that event, that could be reflected in a change in the     18   have seen that activity independent of Mr. Staples.
19   P&L statements, correct?                                      19       Q And, in fact, did Carmen Seal see that in this
20       A What event are you talking about?                       20   case?
21       Q If H. Walker Enterprises intended to sell food          21       A Yes, Ms. Seal did see that.
22   products and not share the revenue from those sales with      22       Q And do you know if she called Mr. Staples about
23   poultry but expensed the cost of doing that to poultry,       23   it?
24   that could be reflected in the P&L statement, correct?        24       A She saw something that was different and so she
25          MR. PARKER: Are you asking if it would affect          25   called Mr. Staples as the general manager asking about an
                                                         Page 51                                                            Page 53
 1   the overall profitability of the venture?                      1   expense that was not normal.
 2       Q (BY MR. SIMMS) No, the P&L statement. The                2      Q What was the expense related to?
 3   question is about the P&L statement.                           3      A Promotional material, I believe, in regards to
 4       A I want to be -- I need to clarify, no expenses           4   some waffles that were being sold.
 5   were made to poultry. All the expenses were held within        5      Q I read somewhere where you were asked about Mr.
 6   Renaissance Man Food Service. That is a separate business      6   Staples' application for unemployment compensation in
 7   entity, it has its own P&L, it has its own balance sheet       7   Arkansas?
 8   and all of that is managed independent of Simmons Foods.       8      A Yes.
 9   That is a completely different organization. Simmons           9      Q Do you recall that?
10   merely acted as the accountant or as the business office      10      A I do recall that.
11   function no different than were you to hire an uninvolved     11      Q And you indicated to -- who -- was that Ms. Ross
12   third party to perform those business functions.              12   that made that communication to you or who was it?
13       Q Going back to late 2009 or early 2010, the              13      A It was someone within our HR department, human
14   memorandum of understanding agreement, did poultry have an    14   resource department. I do not recall which -- which
15   understanding as to what H. Walker Enterprises, LLC's         15   person received the filing.
16   source of revenue were?                                       16      Q And did you instruct those persons not to
17       A Other than the carveouts that were contemplated         17   contest the request by Mr. Staples?
18   in here, poultry did not have a full scope of                 18      A After conferring with another individual within
19   understanding of the --                                       19   our HR department, yes, I did -- I did instruct them to
20       Q And with respect to the carveouts, was poultry          20   not spend the additional resources to contest.
21   going to expense the cost of selling food items through       21      Q Have you seen the document or documented
22   the carveouts under this relationship?                        22   response by poultry to the Arkansas Department of
23       A Again, poultry didn't do anything other than            23   Unemployment Compensation?
24   sell product to H. Walker -- Renaissance Man Food Service.    24      A I do not recall seeing that document.
25   Poultry -- Simmons Foods' sole function as Simmons Foods      25      Q The March 6, 2009 employment letter, Mr. Staples

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 1   faxed that back to poultry in Arkansas; is that correct?      1      A I don't know how you define big.
 2           MR. PARKER: I think the witness already               2      Q All right. Here's where I'm going. Is it
 3   testified he didn't know if the letter was faxed back or      3   poultry's position to not have signed documents?
 4   not.                                                          4      A The desire is to have a signed document, but
 5       A The fax sheet, the cover fax sheet indicates            5   they don't always get signed, no, sir.
 6   that, yes, it was sent to Veronica and Linda Ross in          6      Q And that's a course of dealing by poultry,
 7   Arkansas.                                                     7   correct?
 8       Q (BY MR. SIMMS) And poultry accepted that signed         8      A That would be a course of dealing by -- that's
 9   letter and made the acceptance in Arkansas; is that           9   just been my experience, yes.
10   correct?                                                     10      Q Inclusive of the agreement with H. Walker
11       A Poultry received the fax in Arkansas. I'm not          11   Enterprises and Renaissance Man?
12   sure to the legal designation of where it was accepted.      12      A The signed -- the agreement did not get signed
13       Q And then poultry went about making a resolution        13   with H. Walker Enterprises and Renaissance Man.
14   to terminate Mr. Rogers and employ Mr. Staples, correct?     14          MR. SIMMS: Hey, are we going to take a break
15       A Walker Foods make the resolution codifying the         15   for lunch? Can we get something to eat here if we do?
16   termination of Mr. Rogers. The actual termination of         16   I'm just asking.
17   Mr. Rogers had happened prior to that.                       17          MR. PARKER: I don't think here, but there's
18       Q But it was contemplated by poultry that                18   other restaurants nearby. They're closed today.
19   Mr. Staples after he had sent in his contract letter on      19      Q (BY MR. SIMMS) I'm going to need to eat.
20   March 6, 2009, he would be employed in the state of          20          What is Exhibit 9?
21   Arkansas?                                                    21          (WHEREUPON, Exhibit 9 was marked for
22           MR. PARKER: Object to the characterization of        22   identification.)
23   Mr. Staples' offer letter as a contract. You can answer.     23          MR. KING: What number is that?
24       A It was Simmons Foods' understanding that Mr.           24          MR. PARKER: Nine.
25   Staples would be an employee in Arkansas.                    25          MR. KING: And the Simmons number is?
                                                        Page 55                                                              Page 57
 1      Q (BY MR. SIMMS) And he was allowed to work from           1           MR. PARKER: 40. The question he's asked is
 2   home until the transition back to moving back to Arkansas,    2   what is that document?
 3   correct?                                                      3       A It appears to be a document from the Arkansas
 4      A I don't recall, but I would -- he began before           4   unemployment office.
 5   he moved, so he would have to -- logically, he would have     5       Q (BY MR. SIMMS) And was this a document that
 6   to work from home for a bit.                                  6   poultry or it's got Simmons Prepared Foods, Inc. up there,
 7      Q That was okay by poultry?                                7   is this a document that poultry received from the Arkansas
 8      A That was -- again, Simmons Foods did not manage          8   Department of Unemployment?
 9   the direct day to day activities of Mr. Staples so that       9       A It appears to be, yes.
10   was okay from Mr. Walker so that was okay -- that was        10       Q And would this have been a document that poultry
11   okay.                                                        11   prepared and sent back to that department?
12      Q Poultry considered the March 6, 2009 letter to          12       A Yes.
13   be an offer of employment to Mr. Staples, did it not?        13       Q And it indicates the date that Mr. Simmons was
14      A Yes, it was an offer of employment.                     14   -- when Mr. Staples was last employed was December 28,
15      Q And when Mr. Staples sent it back in, that was          15   2017, correct?
16   his acceptance of it, correct?                               16       A That's correct.
17      A That's my understanding how that works, yes.            17       Q And it indicates that he was a full-time
18      Q And then he was employed by Simmons beginning in        18   employee?
19   March of 2009 until the end of December of 2017, correct?    19       A It does.
20      A That is correct.                                        20       Q And it indicates that he's not separating, he's
21      Q Did Mr. Staples fill out an application for             21   been discharged, correct?
22   employment with Simmons?                                     22       A That is correct.
23      A The normal process would be for him to fill one         23       Q And the reason for separation or discharge says
24   out. I don't recall seeing one.                              24   general; is that correct?
25      Q Poultry, that's a big corporation, isn't it?            25       A That is correct.

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 1      Q Why not job performance?                                  1          MR. KING: Object to the characterization of
 2      A I am not aware of who within Simmons Prepared             2   employment of a consultant.
 3   Foods filled this out, so I can't answer that, why they        3       A I do not believe that I was aware that there was
 4   chose general.                                                 4   a consulting arrangement with Mr. Staples and DSM.
 5      Q Did poultry ever learn that Mr. Staples had not           5       Q (BY MR. SIMMS) Was Mrs. Staples' ownership
 6   accepted either plan A or plan B that was discussed during     6   interest in DSM3 or the broker at the time, was the effect
 7   the board meeting of December the 12th, 2017?                  7   the termination of Mr. Staples would have on her ownership
 8      A Yes, I was informed of that.                              8   interest in that entity discussed at that board meeting?
 9      Q When did poultry learn that?                              9       A I'm trying to recall. I don't recall the
10      A It would have been mid -- early to mid January,          10   ownership -- let me think through. The ownership was --
11   within the first two weeks of January.                        11   the ownership structure was discussed at the board
12      Q And what was the source of poultry learning              12   meeting. I don't recall the effect of that ownership
13   that?                                                         13   structure. I know part of the -- I do recall that part of
14      A Mr. Walker.                                              14   the separation agreement offer would be to come to an
15      Q Tell me specifically what Mr. Walker said.               15   arrangement with Mr. Staples on how that would go on from
16      A Mr. Walker said he had offered a severance               16   an ongoing standpoint.
17   agreement, discussed it with Mr. Staples. Mr. Staples had     17       Q During the board meeting on the 12th of
18   asked -- negotiated and agreed upon a separation              18   December, 2017, was Mrs. Staples' employment by DSM3, the
19   compensation. Mr. Walker had proceeded to have it             19   broker, discussed and what effect the termination of Mr.
20   documented and then Mr. Staples was -- had gone silent and    20   Staples would have on her employment status with that
21   refused to communicate with Mr. Walker, and then              21   entity?
22   Mr. Walker had given Mr. Staples additional time and then     22       A I was not aware that Mrs. Staples was an
23   finally had set a deadline that if he hadn't heard back       23   employee of DSM. I knew she was an equity owner,
24   from him that he would withdraw that offer of severance.      24   owner/operator, but Simmons was unaware of her employment
25      Q What date did poultry cut off Mr. Staples'               25   status, so to speak.
                                                         Page 59                                                           Page 61
 1   access to poultry's e-mail system?                             1       Q Well, wasn't poultry aware of her employment
 2       A Our policy would be the date of separation.              2   status by interacting with her related to the function it
 3       Q And according to this document here that we just         3   was performing as the administrative functions of
 4   looked at, the date of separation was the 28th of              4   processing the brokerage?
 5   December, 2017?                                                5       A Well, we were aware that she was an
 6       A That is correct.                                         6   owner/operator. I was unaware of how she -- her
 7       Q Is that the date that his access, being Mr.              7   employment status because I knew that she owned -- she had
 8   Staples, was cut off e-mail-wise?                              8   equity ownership in it and she was active in the
 9       A That would be our normal policy and that is my           9   day-to-day business activity, but I don't know -- didn't
10   belief, yes.                                                  10   know whether that was as an owner or what that arrangement
11       Q That's your recollection?                               11   was.
12       A That is my belief and recollection, yes, sir.           12       Q And there was no discussion in the board meeting
13       Q So would you agree with me that poultry cut off         13   about the effect terminating Mr. Staples would have on
14   Mr. Staples' access to poultry's e-mail system before Mr.     14   Mrs. Staples' equity interest in the brokerage; is that
15   Staples had agreed to either plan A or plan B that was        15   what you're telling me?
16   discussed at the board meeting on December the 12th, 2017?    16       A There was discussion about the brokerage -- I'm
17       A I would disagree because at that point of time          17   trying to recall correctly. There was discussion about
18   it is my recollection that Mr. Walker had informed me that    18   the brokerage entity and there was discussion about what
19   he and Mr. Staples had come to an agreement and that they     19   ongoing broker that we would use post that separation, we
20   were getting it papered to be finalized.                      20   being Renaissance Man Food Service.
21       Q When you were at the board meeting on the 12th          21       Q Was Blair Staples' employment by poultry
22   of December, 2017, and we're going to get into the            22   discussed in the December 12, 2017 meeting and what effect
23   specifics later today, but was it discussed what legal        23   the termination of Mr. Staples may have on Blair Staples'
24   effect the termination of Mr. Staples would have on his       24   employment by poultry?
25   employment by DSM3 or the broker as a consultant?             25       A The entirety of DSM's business activities was

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 1   not discussed in the board meeting to my recollection.        1       A There is a -- I read the transcript of that
 2   Blair Staples was hired at John Staples' request by           2   agreement. I do not recall the exact length. I do recall
 3   Simmons Foods and lent to DSM and then DSM funded Blair       3   in the meeting that we would -- the plan was to retain
 4   Staples' expenses very identical to how John Staples was      4   John as a consultant for a year.
 5   employed, but as a supplier to Renaissance Man and as a       5       Q Do you know if the actual agreement that was
 6   board member of Renaissance Man Food Service, I was not       6   drafted by Mr. Eisenman changed that to a period other
 7   privy to the business functions of DSM, their sources of      7   than a year?
 8   revenue and their ability to cover expenses.                  8       A I do not recall whether that changed or not.
 9      Q Had Simmons taken progressive discipline towards         9       Q Is it your understanding that there was a plan A
10   Blair Staples prior to the end of December 2017 for any      10   and a plan B discussed concerning the termination of Mr.
11   reason?                                                      11   Staples and the effect that that would have on his
12      A Simmons Foods did not directly manage Blair             12   consulting with DSM3, Mrs. Staples' equity and employment
13   Staples other than be a vehicle for her -- to provide her    13   status with DSM3 and then Blair Staples' employment with
14   benefits.                                                    14   Simmons during the December 12, 2017 board meeting?
15      Q Had not disciplined her in any way?                     15       A In the board meeting what was discussed was the
16      A Simmons was not in a position to discipline her.        16   decision was made to terminate Mr. Staples' employment and
17   She was managed by her -- by DSM, whoever the managers       17   subsequent to that the decision was made to give notice to
18   were of DSM.                                                 18   DSM that they would give the required notice period, that
19      Q Same question with respect to Mrs. Staples, had         19   they would no longer be used as the broker for Renaissance
20   poultry expressed to anyone inclusive of Mr. Walker or H.    20   Man Food Service and that that was the extent of other
21   Walker Enterprises or Renaissance Man Food Services any      21   impact. Because again, I had no -- I was not privy to the
22   displeasure or discipline that needed to be taken with       22   revenue sources or expenses of DSM, that entity was
23   respect to Ms. Kim Staples?                                  23   outside of anything that Simmons Foods was privy to.
24      A Simmons Prepared Foods had no interaction with          24       Q I guess my question really dealt with why is
25   Ms. Kim Staples. Ms. Kim Staples worked solely within the    25   there a plan A and a plan B?
                                                        Page 63                                                           Page 65
 1   relationship of Renaissance Man Food Service and DSM.         1      A Plan A was to -- which is our desired way for it
 2      Q During the board meeting on December the 12th,           2   to progress. The plan A was to offer Mr. Staples a
 3   was it discussed that as part of Mr. Staples' termination     3   severance, negotiate something that was workable for both
 4   that a release from liability for Simmons and/or H. Walker    4   parties and then separate voluntarily where both could --
 5   Enterprises and/or Renaissance Man Food Services would        5   we could sign releases and Mr. Staples could pursue other
 6   need to be obtained from Ms. Kim Staples with respect to      6   employment, you know, by -- or pursue his career outside
 7   her equity ownership in DSM3 and/or her employment status     7   of Renaissance Man Food Service. Plan B was if he refused
 8   with DSM3?                                                    8   to do that, then it was how it -- what would the -- what
 9      A I do not recall any release of liability from            9   action would need to be taken by Renaissance Man Food
10   Mrs. Kim Staples to Simmons Foods or Simmons Prepared        10   Service to complete that separation.
11   Foods because there was no relationship between Mrs. Kim     11      Q So plan A was contingent on Mr. Staples'
12   Staples and Simmons Foods and Simmons Prepared Foods.        12   cooperation and plan B was not?
13      Q Same question with respect to obtaining a               13      A Plan A was finding a -- negotiating an agreeable
14   release from Ms. Blair Staples, was that discussed?          14   separation, plan B was a termination without a separation
15      A I do not recall any release being discussed with        15   agreement.
16   Ms. Blair Staples.                                           16      Q And again, was the difference between plan A and
17      Q What about with respect to Mr. Staples?                 17   plan B contingent on Mr. Staples's cooperation with plan
18      A As the general manager, so as a senior level            18   A?
19   manager within an entity, there was discussion that it is    19      A It would be his successful negotiation with
20   desirable to fund a separation agreement and with that       20   Mr. Walker.
21   have a noncompete, non-disparagement and a liability         21      Q Was it dependent or contingent on him
22   release for such separation payment.                         22   cooperating with the terms of plan A?
23      Q Do you know if -- what was discussed with Mr.           23      A The terms of plan A were left open to be
24   Staples on December the 27th by Mr. Eisenman and/or          24   negotiated between Mr. Staples and Mr. Walker. So I don't
25   Mr. Walker, what the length of the noncompete would be?      25   agree with the word cooperation because they were -- the

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 1   terms were not hard fast. They were, in general, from          1       Q You would agree with me that part of the plan A
 2   leaving the board meeting, they were left in the hands of      2   to seek Mr. Staples' cooperation tied in what to do with
 3   Mr. Walker to negotiate with Mr. Staples.                      3   respect to Mrs. Kim Staples and what to do with respect to
 4       Q You received a memorandum prepared by                    4   Mrs. Blair Staples, correct?
 5   Mr. Eisenman that set out what was discussed concerning        5       A I'm trying to recall. The transcript that was
 6   plan A and plan B, correct?                                    6   discussed, I don't recall whether that was in
 7       A I did, yes.                                              7   Mr. Eisenman's proposal or not, but from Simmons Foods and
 8       Q And you received that in your capacity and               8   from my perspective as a board member of Renaissance Man,
 9   president or COO of poultry, correct?                          9   the focus was Mr. John Staples.
10       A I did as a board member of Renaissance Man Food         10       Q Poultry did not even have the transcript of the
11   Service.                                                      11   December 27th meeting with Mr. Staples until this lawsuit
12       Q And as also your capacity as an employee of             12   -- until after this lawsuit was filed, correct?
13   poultry?                                                      13       A That's correct.
14       A I was -- I served on that board as a -- because         14       Q The knowledge of poultry is what you had from
15   of my capacity in poultry.                                    15   the December 12th meeting and then what you got in the
16       Q And you received that on when, December the 21st        16   proposal that was prepared by Mr. Eisenman?
17   of 2017?                                                      17       A That's correct.
18       A That sounds about right.                                18       Q Okay. So my question doesn't deal with what you
19       Q And you knew from reading it that the                   19   read in the transcript.
20   cooperation was the contingent part between plan A and        20       A Okay.
21   plan B, correct?                                              21       Q I want to know what the knowledge of poultry was
22       A The agreement by Mr. Staples that he had arrived        22   from the December 12th meeting and/or receiving the
23   at some arrangement that he could accept, yes, is the         23   communication where Mr. Eisenman has memorialized plan A
24   difference.                                                   24   and plan B, okay?
25       Q But on December 21, 2017, Mr. Staples hadn't            25       A Okay.
                                                         Page 67                                                           Page 69
 1   even been made aware that he was being terminated yet, had     1       Q You would agree with me that plan A dealt with
 2   he?                                                            2   the cooperation by Mr. Staples and it tied in the equity
 3       A He had not.                                              3   -- the equity ownership and the employment status of
 4       Q And Mr. Eisenman uses the words in that                  4   Mrs. Kim Staples with the broker, DSM3, correct?
 5   agreement, you looked at it, cooperation, correct?             5       A Do you have a copy of that?
 6       A I don't recall the specific word that he used.           6       Q We can go over it later.
 7       Q If Mr. Staples was an at-will employee of                7       A Okay.
 8   poultry, why was his cooperation needed for anything?          8       Q You don't have a specific recollection without
 9       A The asked at the board meeting was to separate           9   looking at the document?
10   without contention so that we can come to an arrangement      10       A I do not.
11   and move forward without that separation resulting in         11       Q So as you sit here today, in order to recall
12   litigation such as the reason we are here as they             12   exactly what took place during the board meeting on
13   sometimes do when you have individuals who are                13   December the 12th, 2017, you'll have to read
14   contentious. And that -- so what I advocated for as a         14   Mr. Eisenman's proposal?
15   manager over many individuals that it would be in all of      15           MR. KING: Objection, mischaracterizes
16   our best interest to find an arrangement that Mr. Staples     16   testimony. You've already been through what he remembers
17   could feel good about, good enough about that he would        17   of the meeting. Now you're trying to characterize what he
18   sign a release.                                               18   remembers of the memo.
19       Q And not only avoid litigation related to Mr.            19       A I would agree with that objection. I am -- you
20   Staples' termination of his employment relationship, but      20   were asking -- I am hearing you ask me what specifically
21   litigation related to the interest of Mrs. Staples as an      21   is in that memo and the exact wording of that memo and I
22   equity owner of the broker and her employment with the        22   do not recall the exact wording of that memorandum from
23   broker, correct?                                              23   Mr. Eisenman.
24       A My focus, sole focus, was on Mr. Staples'               24           MR. SIMMS: It's probably a good time to try to
25   arrangement with Renaissance Man Food Service.                25   take a lunch break. I'm going to be gone maybe 45 minutes

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                                                         Page 70                                                              Page 72
 1   and get back and keep rolling.                                 1       Q Well, if you look at page 137 at the top where
 2          THE WITNESS: Okay.                                      2   it says Simmons RMFS administrative fee, under it says
 3          (Short break from 11:05 a.m. to 12:00 p.m.)             3   four messages. It looks like between pages 137 and 139
 4      Q (BY MR. SIMMS) Mr. Jackson, are you ready to              4   there are four messages.
 5   keep going?                                                    5       A That's correct.
 6      A I am. I would like to clarify one thing after             6       Q Okay. The first e-mail is dated Monday,
 7   getting some more information. On the -- let me find the       7   December 19, 2016, correct?
 8   exhibit. Yeah, on Exhibit 9, after studying this some          8       A Correct.
 9   more of the top section that is filled out, it is filled       9       Q Had you or Mr. Todd Simmons spoken with
10   out by the person filing the unemployment claim, the          10   Mr. Herschel Walker before receiving this e-mail about the
11   bottom section is filled out by the company.                  11   content of this e-mail?
12      Q I gotcha.                                                12       A I do not recall a prior conversation, no.
13      A So the top section would have been filled out by         13       Q It looks like to me it starts off, "Hello,
14   Mr. Staples. Since Simmons did not object to the claim,       14   David." It's almost like it's a first communication
15   there was no response from the employer.                      15   instead of a follow-up to some prior communication.
16      Q So there is no document showing poultry's                16       A There were continuing communications through the
17   response to the unemployment claim made by Mr. Staples?       17   relationship through the -- in operation of the
18      A There was no -- there was no response other than         18   Renaissance Man group.
19   a decision not to object to it.                               19       Q And here's where I'm going.
20      Q All right.                                               20       A All right.
21      A Thank you.                                               21       Q I've seen a press release that poultry released
22      Q I will show you Exhibit 10. It's Simmons 137.            22   or Simmons, the parent, released that indicated you had
23          (WHEREUPON, Exhibit 10 was marked for                  23   become the president and chief operating officer for
24   identification.)                                              24   poultry again effective as of December the 16th, 2016.
25          MR. PARKER: Do you have the other portions of          25   Disagree that you took back over working for poultry as
                                                         Page 71                                                              Page 73
 1   this e-mail thread?                                            1   the president and COO around that period of time?
 2          MR. SIMMS: Yes, sir, we do, somewhere. Is it            2      A Sounds about right.
 3   138 and 139, does that complete it?                            3      Q And then three days later you get this e-mail
 4          MR. PARKER: I'd have to see the pages to know.          4   from Mr. Walker?
 5   I believe that's right and I do just want to also note for     5      A Okay.
 6   the record that the e-mails in this thread, the way they       6      Q Do you have a recollection of you or Mr. Todd
 7   print out for whatever reason are not necessarily in           7   Simmons having discussed the poultry Renaissance Man
 8   chronological order. For example, the e-mail that begins       8   administrative fee at any time in recent memory prior to
 9   the chain which you would believe to be the original           9   receiving this December 19th communication?
10   message is actually the most recent message. I'm going to     10      A I do not.
11   show those to Mr. King before showing them to the witness.    11      Q And, in fact, you had been away from poultry for
12          MR. KING: So the exhibit is now all three              12   how many years before you came back up in mid
13   pages, right?                                                 13   December 2016?
14          MR. PARKER: Correct. Do you want to staple it          14      A Almost five years.
15   too, Keri?                                                    15      Q All right. And this communication from
16          MR. SIMMS: Yeah.                                       16   Mr. Walker says that he wanted to connect with you
17          THE WITNESS: Thank you.                                17   regarding the outstanding administrative fee of 90,000 to
18          MR. PARKER: Did you see what I meant about how         18   $95,000. Is that what it says?
19   the e-mail is?                                                19      A It does.
20          THE WITNESS: Yes. Okay.                                20      Q Tell me what your understanding is to
21       Q (BY MR. SIMMS) Does the e-mail start on page            21   outstanding administrative fee? What's he talking about
22   137?                                                          22   there?
23       A It is odd, isn't it? Yes.                               23      A In the original agreement of the back office --
24       Q Okay.                                                   24   the cost for the back office, the accounting, the
25       A I believe so.                                           25   administration of the truck hire, all of that activity,

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 1   that does consume time and resources. We agreed, Herschel     1       A We calculated that fee annually and so this was
 2   and I had agreed that Simmons would provide that free of      2   coming towards the end of the year and it would be the
 3   charge as part of the ownership for the volume of product     3   appropriate time that you would look at the scope of that
 4   that Simmons sold Renaissance Man Food Service, and for       4   fee.
 5   the product that Simmons did not sell Renaissance Man Food    5       Q Was this related to non-produced product or was
 6   Service, there would be a penny and a half per pound fee      6   it related to produced product by poultry?
 7   that would be applied to that from Simmons to Renaissance     7       A That fee is for the non-Simmons produced
 8   Man Food Service to cover the administrative cost for         8   product.
 9   handling those products that we did not produce or sell,      9       Q All right. And it appears that Mr. Walker's
10   that Simmons did not produce or sell.                        10   saying that for 2014 and 2015, Simmons or poultry had
11       Q And would it be fair to say that from whenever         11   received $795,000 of revenue on non-Simmons products?
12   in 2009 or 2010 the Renaissance Man/H. Walker                12       A That is what the e-mail says.
13   Enterprises/poultry relationship developed up until this     13       Q Now, had the outstanding fee also been discussed
14   December 19, 2016 e-mail, Renaissance Man or H. Walker       14   between you and Mr. Staples? Is that the John that
15   Enterprises had no logistic services, didn't have any        15   Mr. Walker is referring to?
16   production facilities, so with respect to product that was   16       A The John is Mr. Staples, the $795,000 of
17   sold by it that was not produced by Simmons, Simmons was     17   revenue, by the way, was incorrect.
18   providing those type distribution support; would that be     18       Q Okay. What was correct about that?
19   fair to say?                                                 19       A It was incorrect.
20       A Renaissance Man Food Service did have a                20       Q So the total was 795 or what is incorrect, is it
21   third-party cold storage freezer account so they could put   21   the number that's incorrect or just that complete
22   and did buy product from other suppliers and place into      22   statement?
23   their account and they used that third-party freezer as      23       A The -- well, both are incorrect. The agreement
24   their distribution point.                                    24   is for a penny and a half, 1.5 cents per pound. This
25       Q Was that the freezer store here in Arkansas?           25   statement said it was for 1.5 -- or .015 percent, so the
                                                        Page 75                                                             Page 77
 1       A To my knowledge, yes.                                   1   way to calculate the administrative fee is incorrect in
 2       Q And there's an inventory agreement between              2   that statement and Simmons did not receive $795,000 of
 3   poultry, and we can look at it, H. Walker Enterprises or      3   revenue. The administrative fee ran somewhere in that 80
 4   Renaissance Man related to the Simmons product?               4   to $90,000 a year towards the end of 2016 and '17 and it
 5       A Yes.                                                    5   grew from -- when we started and put the agreement
 6       Q But not the third-party product?                        6   together, it was in the three to $5,000 a year, so that
 7       A The third-party product was under the direction         7   amount grew considerably over the length of time that
 8   of the general manager, Mr. Staples. It was where he          8   Renaissance Man Food Service existed.
 9   arranged to buy that product and place it in Renaissance      9       Q I gotcha. Was there a similar fee charged with
10   Man Food Service's account and held the inventories in       10   respect to the poultry H. Walker Foods, LLC relationship?
11   Renaissance Man Food Service's working capital.              11       A There was no poultry H. Walker Foods, LLC --
12       Q I gotcha. And would there be times when                12       Q The Mike Rogers relationship?
13   transport from the frozen inventory that may contain         13       A The Mike Rogers relationship was between Walker
14   Simmons product might have some non-Simmons produced         14   Foods and Renaissance Man Food Service and to my
15   product that arrives on it?                                  15   knowledge, I don't recall -- well, at that point, Simmons
16       A Absolutely.                                            16   Foods was not doing the back office. The back office was
17       Q And if there's a cost associated with that, that       17   being performed in Savannah by staff for H. Walker Foods.
18   would fall under this penny and a half?                      18       Q When Mr. Staples came on board and during the
19       A It would not.                                          19   transition in 2009, was there an incident that came up of
20       Q Okay. How would that be captured?                      20   a -- concerning a credit of about $300,000 for a double
21       A That would be billed as freight in the invoice         21   credit situation concerning a relationship with H. Walker
22   from Renaissance Man to the -- to the customer.              22   Enterprises, H. Walker Foods, LLC or Renaissance Man with
23       Q All right. So had there been a fee generated           23   poultry?
24   that was outstanding that's being discussed in this          24       A I don't recall an incident and I have asked
25   e-mail?                                                      25   Todd. He did not recall an incident that happened in that

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 1   time frame.                                                   1   the question calls for a legal conclusion.
 2       Q Who is Vickie Goodman?                                  2      A I would say the partnership is in parentheses
 3       A Vickie is our -- she leads our customer service         3   because it's not a legal definition, it's a layman's term
 4   representatives, manages our customer service                 4   and it -- any time two individuals work together and
 5   representatives.                                              5   operate a business, in layman's terms I would say you're
 6       Q Would she have worked on something like that            6   partners. I believe Mr. Walker would say you're partners.
 7   from an accounting standpoint with Mr. Staples when he        7      Q (BY MR. SIMMS) It goes on to say that
 8   first came on board?                                          8   Renaissance Man had had tremendous growth resulting in
 9       A She would have -- she manages order entry and           9   significant profits for both parties. Would poultry agree
10   collections of invoices for products sold.                   10   with that statement?
11       Q But as far as you can recall or poultry recalls,       11      A Yes.
12   there was no incident during a board meeting where           12      Q And what would poultry's position be with
13   Mr. Walker or one of his entities was asked about this       13   respect to Mr. Staples, did he assist in that tremendous
14   double credit that had been provided?                        14   growth and those significant profits for both parties
15       A I don't recall that and neither did Todd. If it        15   during that time period?
16   did occur, again, I don't -- I don't recall, it wasn't a     16      A Yes. He was general manager over Renaissance
17   memorable issue.                                             17   Man Food Service and it did see a significant shift from a
18       Q The outstanding administrative fee issue is            18   loss in P&L when he started to a significant profit on the
19   coming up again here in this e-mail, correct?                19   P&L.
20       A It is.                                                 20      Q And then on down this page 137, is that your
21       Q And do you know why it's being brought up with         21   response on the same day at 3:44 p.m.?
22   you now getting back in work for poultry?                    22      A It is.
23       A It is -- it's a fee that in different points in        23      Q You say looking back you could tell there's
24   time through the relationship that was brought into          24   growth, good growth in Renaissance Man, correct?
25   question that Simmons was perceived as double dipping or     25      A That is correct.
                                                        Page 79                                                                   Page 81
 1   that we -- that Simmons was, by Herschel, and I think it      1     Q And you say that is great progress towards what
 2   was because we didn't have clarity of discussion of what      2 had been originally contemplated. What had been
 3   did that fee cover. The perception was that John or           3 originally contemplated?
 4   Renaissance Man Food Service and Herschel and his             4     A The original plan was to grow Renaissance Man
 5   activities were selling product not produced by Simmons,      5 Food Service into a standalone functioning business and to
 6   but Simmons was collecting a fee on that and there was        6 grow it well beyond where it was when we made the
 7   question of why that was. And then Simmons would share in     7 transition from Walker Foods to Renaissance Man. At that
 8   35 percent of the profit from the sale of that product and    8 point it was a small entity that it took Simmons funds to
 9   there was question of why Simmons would get both.             9 make it cash flow.
10       Q Is that what you took Mr. Walker to be                 10     Q And Mr. Staples was the person who managed that;
11   indicating as double dipping?                                11 is that correct?
12       A That is.                                               12     A Mr. Staples was the general manager over that
13       Q Getting a fee for providing administrative             13 time, yes.
14   functions and then also sharing in the profit?               14     Q And according to the documents we've seen,
15       A That is correct.                                       15 Mr. Miller gave instructions to Mr. Staples about what
16       Q What was poultry's position with respect to the        16 poultry would like to see that relationship become,
17   allegation of double dipping?                                17 correct, in the five, seven document?
18       A I took it as there was a -- again, there was a         18     A In the five to seven, Mr. Miller worked with Mr.
19   misunderstanding of what those monies covered and I took     19 Staples to help him lay out objectives that he set out for
20   it as my responsibility to help clarify why the charges      20 himself to achieve as general manager of Renaissance Man
21   were in place the way they were.                             21 Food Service.
22       Q Mr. Walker says in here too since the start of         22     Q And you say that the agreement was is that
23   your partnership. Again, was this a venture or was this a    23 Renaissance Man would pay Simmons for product not produced
24   partnership?                                                 24 by Simmons at the rate that you set out, correct?
25          MR. PARKER: I'm going to object to the extent         25     A At a penny and a half per pound, yes, sir.

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 1        Q And are you referring back to causes or                 1   conspiracy to do that, but I do know that that was
 2   agreements set forth in the memorandum of understanding        2   Mr. Staples' perception that that was what was occurring.
 3   that was never signed and we have marked as, I want to say     3       Q And this goes back to the end of 2016, correct?
 4   it's Exhibit 6?                                                4       A No, I misspoke. That was in 2017.
 5          MR. PARKER: Six.                                        5       Q Well, we're talking about 2016 right now.
 6        A Yes. I cut a snippet of that agreement and put          6       A I know, I know, my mistake.
 7   it in my response so that --                                   7       Q Okay. Well, tell me what you discussed with Mr.
 8        Q (BY MR. SIMMS) Right.                                   8   Staples in 2016 about changes to the operating agreement.
 9        A -- there would be -- again, this memorandum             9   If he's the general manager, I'm assuming that you would
10   provided us a place to go back to when we started             10   want the general manager to know what changes needed to be
11   questioning what we were doing.                               11   addressed?
12        Q And on the second page which is 138, that's the        12       A I don't recall the exact changes that John and I
13   snippet that you took out of section two under the E          13   discussed because we -- we did not make any changes in
14   administrative section that we talked about earlier today?    14   2016.
15        A That is correct.                                       15       Q Well, the next sentence you use here says, "The
16        Q You also set forth the distribution of profits         16   feedback I'm hearing is there are perceptions on both
17   section, correct?                                             17   sides, Simmons and Renaissance Man, that there are
18        A Yes, I did.                                            18   conflicts in how we are going about business." Did I read
19        Q And you recommended a meeting to discuss changes       19   that sentence correctly?
20   to the operating agreement, right?                            20       A You did.
21        A I did.                                                 21       Q What feedback, what feedback and who was the
22        Q Modify, change it, revise it, correct?                 22   source of the feedback?
23        A Change any -- what I recommended was if there          23       A Mr. Herschel Walker in the original e-mail where
24   were questions about and perceptions that the operating       24   he suggests that Simmons is double dipping and that it did
25   agreement was not fair to both parties, that we should sit    25   not -- that it seemed unfair to Renaissance Man is the
                                                         Page 83                                                           Page 85
 1   down and discuss it, come up to an arrangement that we         1   feedback I was referring to.
 2   both agreed worked fair.                                       2       Q Were you getting any feedback from anyone other
 3      Q And when you're talking about operating                   3   than Mr. Walker at the time?
 4   agreement, are you referring to Exhibit 6?                     4       A John may have conveyed the double dipping
 5      A I am.                                                     5   concern as well. I don't specifically recall, but usually
 6      Q Okay.                                                     6   John, because John interacted with Herschel a lot and John
 7      A And the modified version of Exhibit 6 as we had           7   may have conveyed that as well as the general manager of
 8   evolved.                                                       8   Renaissance Man that there was concern of Simmons trying
 9      Q Did you have discussions with Mr. Staples at the          9   to double dip.
10   time about changes, modifications or revisions to the         10       Q Was there -- and I don't guess you would have
11   operating agreement that needed to be addressed going         11   been involved because you were still at the pet company,
12   forward after this date?                                      12   but was there a meeting in 2015 where anyone at poultry
13      A The conversations I had with Mr. Staples was             13   communicated to Renaissance Man or H. Walker Enterprises
14   more around addressing the implications that Mr. Staples      14   that they had been approached by Sysco to bid direct?
15   had conveyed to me that Herschel had desired to -- had a      15       A I will have to confer --
16   desire to work Renaissance Man out of the -- out of --        16          MR. PARKER: Just answer if you know.
17   John expressed that he perceived there was a desire from      17       A Yeah, I do not know directly, no.
18   Herschel to move the volume to H. Walker Enterprises and      18       Q (BY MR. SIMMS) Is it possible that what you said
19   out of Renaissance Man, diminish the volume of Renaissance    19   earlier did, in fact, you learn of in 2016 that
20   Man Food Service.                                             20   Mr. Staples indicated that H. Walker Enterprises was
21      Q Do you know what was motivating that change as           21   trying to grow its business and reduce Renaissance Man?
22   expressed to you by Mr. Staples?                              22       A No, the first I heard of that was in 2017.
23      A I know Mr. Staples' perception. I -- after the           23       Q And you were wanting a meeting, correct?
24   board meeting and then discussions after the board meeting    24       A Yes.
25   with Mr. Walker, I do not believe there was any grand         25       Q Did a meeting take place?

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 1       A I don't recall if we had a board meeting at the           1   all the support for product that Simmons did not produce
 2   end of '16 or beginning of '17. I would have to refer to        2   as well as being a partner in the entire entity to share
 3   my -- refer to my calendar.                                     3   in some of the profits.
 4       Q And it looks like to me Mr. Walker's response on          4       Q Did you and Mr. Simmons discuss any incident
 5   the 20th, the next day in the morning, and it appears that      5   regarding an outstanding administrative fee or credits
 6   that is the first time he copies his lawyer, Mr. Eisenman,      6   that go back to the time period prior to 2009 involving H.
 7   in this chain of e-mails. Does that appear to be correct?       7   Walker Foods?
 8       A He did add Mr. Eisenman on the 20th, yes.                 8       A I don't recall that.
 9       Q And he says he was not aware of the conflict              9       Q Did any discussions -- in any discussions with
10   that you mentioned.                                            10   you and Mr. Simmons was there reference to any other
11       A Okay.                                                    11   outstanding administrative fees other than the 90 to
12       Q And he would like to get together.                       12   95,000 one that was referenced by Mr. Walker in the
13          MR. PARKER: Is there a question?                        13   beginning e-mail?
14       Q (BY MR. SIMMS) Was there a meeting after that?           14       A I know this administrative fee has come up on
15       A I will have to refer to my calendar. I do not            15   multiple occasions over the time of the contract. I know
16   recall whether we got together in person or not.               16   there was a period of time where we, through a change in
17       Q All right. Down at the bottom it looks like you          17   staffing, Simmons Foods did not compile the administrative
18   and Mr. Todd Simmons communicate internally with one           18   fee one year and we had to do a catch up of two years fees
19   another about this communication. Would that be a fair         19   in one year and there was conversation around that.
20   reading of the fourth e-mail in this chain?                    20       Q Was Mr. Walker agreeable to paying that?
21       A That would be.                                           21       A Not in the beginning, but once we explained we
22       Q And it looks like Mr. Simmons is responding to           22   agreed that it was owed and paid.
23   you?                                                           23       Q All right. Was there a meeting about this topic
24       A He is.                                                   24   at the end of 2016 or the beginning of 2017?
25       Q And it says, "Oh, man, when can we talk double           25       A I do not recall whether we had a physical
                                                          Page 87                                                            Page 89
 1   dipping? Grrr. And creditworthiness and back office             1   meeting or not about that time.
 2   support, et cetera, et cetera." Did I read that                 2      Q Was there a board meeting in the end of 2016 or
 3   correctly?                                                      3   the beginning of 2017?
 4       A You did.                                                  4      A I do not recall having one. Since I -- I only
 5       Q Can you expand on this and tell me what                   5   recall having one board meeting when I came back from
 6   Mr. Simmons is referring to?                                    6   poultry to -- from pet food to poultry, so I don't believe
 7          MR. PARKER: Only if you know. You don't have             7   that there was a board meeting at that time.
 8   to speculate.                                                   8      Q It sounds like to me the next board meeting was
 9       A He was referring to the original e-mail that was          9   when you discussed termination of Mr. Staples on
10   sent on December 19th at 10:28 a.m. about the question of      10   December the 12th, 2017. If I'm wrong, tell me when the
11   double dipping and whether those fees should be paid to        11   meeting was.
12   Simmons Foods from Renaissance Man.                            12      A Well, I think that was -- that is correct. I
13       Q (BY MR. SIMMS) Did you have separate                     13   think that is the only board meeting that I had during
14   communication with Mr. Simmons about this other than what      14   that time.
15   he says in his e-mail response here?                           15      Q Was this issue over this outstanding
16       A He is my immediate supervisor and friend and we          16   administrative fee up in the air at the time you all met
17   did as part of ongoing business of Simmons Foods, I did        17   on December the 12th, 2017?
18   keep him apprised as to what was going on with Renaissance     18      A It was not.
19   Man.                                                           19      Q When had it been resolved?
20       Q What did you all discuss?                                20      A It would have been resolved over -- it would
21       A I told him that I would take care of it, that it         21   have been resolved by year end because we would have made
22   seemed to me that there was, again, a lack of                  22   a payment of that administrative fee at year end.
23   communication of what that fee covered and why and that I      23      Q Simmons would've paid itself from Renaissance
24   would make sure that we were clear on why it was               24   Man's funds?
25   reasonable and not double dipping to have a fee to process     25      A Renaissance Man would have paid Simmons as part

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 1   of the activity of managing the books of Renaissance Man         1   what were the expectations that poultry had that Mr.
 2   and paying the invoices too.                                     2   Staples was to protect poultry's interest as set out in
 3       Q So it was the position of poultry that there was           3   Exhibit 6 and as you bring up again in Exhibit 10?
 4   no double dipping?                                               4           MR. PARKER: I'm going to object to the
 5       A It is the position of poultry that both -- they            5   continued mischaracterization of Mr. Staples' role as the
 6   are separate and distinct charges for services or for            6   general manager in relationship to testimony from the
 7   ownership share -- or profit sharing per our agreement.          7   witness has been Mr. Staples' role was general manager of
 8       Q And going forward into 2017, it would have been            8   Renaissance Man Food Services only.
 9   poultry's position that it was entitled to 35 percent of         9       A And I would concur. Mr. Staples' responsibility
10   non-produced food items sold through Renaissance Man that       10   was the general manager of the business unit Renaissance
11   it handled the support for and it was entitled to charge        11   Man Food Service. As president and chief operating
12   this administrative fee related to that; is that correct?       12   officer of Simmons Prepared Foods, it was my
13       A That is correct.                                          13   responsibility for the relationship, with Simmons' side of
14       Q Do you know if at any time in the early part of           14   the relationship with Mr. Walker, who was CEO of
15   2017 H. Walker Enterprises and/or Renaissance Man began         15   Renaissance Man Food Service and owner on that side. So
16   efforts to circumvent application of the two provisions         16   the relationship was between the two of us. Mr. Staples'
17   that you have cited from the operating agreement, or            17   job function was to manage the business operation of
18   Exhibit 6, as contained in this Exhibit Number 10?              18   Renaissance Man Food Service.
19       A Can you ask that question again?                          19       Q (BY MR. SIMMS) In poultry's mind, it had a
20       Q Are you aware of any instances where H. Walker            20   35 percent equity ownership in Renaissance Man Food
21   Enterprises or Renaissance Man undertook efforts to avoid       21   Services?
22   these provisions that you cite or set forth in Exhibit 10       22       A That is incorrect.
23   from the operating agreement that's Exhibit 6?                  23           MR. PARKER: Objection, that's not what he
24       A As of what point in time?                                 24   testified to.
25       Q Are you aware of Mr. Eisenman instructing Mr.             25       Q (BY MR. SIMMS) It was entitled to 35 percent of
                                                           Page 91                                                             Page 93
 1   Staples that with respect to certain items that these            1   the profits from the sale of Simmons produced products and
 2   provisions were to be avoided?                                   2   the sale of non-produced products unless it was carved out
 3      A I have seen an e-mail chain that came out in                3   under the agreement; is that correct?
 4   discovery, but until that point in time, no, I was not           4       A It is poultry's understanding -- poultry's
 5   aware of it.                                                     5   belief and operating under that we -- that poultry
 6      Q What's poultry's feelings about that?                       6   received a 35 percent profit share at the end of the year
 7      A That ultimately it takes a sales structure and a            7   for the net income of Renaissance Man Food Service except
 8   back office structure to sell and ship and collect for           8   for anything that was in existence before Simmons stepped
 9   product sold and that it would be difficult to run that          9   into it that was in that carveout and all that was
10   through H. Walker Enterprises as I understand how it            10   excluded from Renaissance Man Food Service early in the
11   exists today. So after reading that, I still kind of            11   time. So the income statement that created a profit and
12   dismiss that it was a real issue.                               12   loss, we use that to judge what -- how much profit or loss
13      Q And if that was being brought to the attention             13   there was for the entity and we share that after expenses
14   of Mr. Staples, did poultry have expectations that he           14   65-35.
15   would report that to poultry and, in particular, his            15       Q Did poultry expect Mr. Staples to communicate
16   immediate supervisor, Mr. Miller?                               16   with it any efforts by H. Walker Enterprises or
17      A As a general manager who's judged on                       17   Renaissance Man Food Services to circumvent the provisions
18   performance, Renaissance Man Food Service if it were            18   of the agreement that you set out in Exhibit 10?
19   taking product -- taking revenue and income out of              19       A I had no expectation of Mr. Staples and poultry
20   Renaissance Man Food Service and putting it somewhere           20   had no expectation of Mr. Staples to manage this
21   else, I would expect Mr. Staples to be concerned about          21   agreement. The expectation was for Mr. Staples to manage
22   that for his own performance, but he had no individual --       22   the business unit Renaissance Man Food Service.
23   no obligation to come to Simmons and say this is -- that        23       Q If in his management he was being asked to do
24   he had concerns over it.                                        24   things that were detrimental to poultry, did poultry
25      Q Well, as general manager of the relationship,              25   expect him to report that to poultry?

                                                                                                               24 (Pages 90 - 93)
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                                                          Page 94                                                             Page 96
 1       A No, we did not.                                           1   Renaissance Man Food Service income statement was
 2       Q Who was looking out for the best interest of              2   appropriate for Simmons Foods whether it included -- and
 3   poultry day to day?                                             3   our position was it should include all activity on behalf
 4       A Poultry had two parts in this relationship; one,          4   of Renaissance Man Food Service.
 5   we were suppliers and Chip Miller and his team set pricing      5       Q When was the next time you became aware of any
 6   for product sold to Renaissance Man Food Service and            6   conflict that dealt with H. Walker Enterprises or
 7   poultry priced it at a -- at a price that they were --          7   Renaissance Man Food Services perhaps bypassing the
 8   that they found acceptable and market competitive and then      8   provisions that you set forth in Exhibit 10?
 9   I, as a board member, or Gary Murphy, as a board member,        9       A After -- after December 20, 2016?
10   representing poultry's business looked at the other            10       Q Yes, sir.
11   activities around Renaissance Man Food Service.                11       A I believe it was when the question about the
12       Q Including the sharing of profit of non-produced          12   payment for waffles -- waffle packaging and promotional
13   poultry products and application of the administrative         13   activity.
14   fee?                                                           14       Q That would be in the fall of 2017?
15       A Yes, that is correct.                                    15       A '17, that's correct.
16       Q And when you say on page two getting feedback            16       Q Do you recall having a cell phone call with Mr.
17   about conflicts and how we're going about the business,        17   Staples on October the 18th, 2017?
18   you're not referring to anything that you're learning from     18       A I don't remember the exact date, but I did talk
19   Mr. Staples?                                                   19   to John on the phone.
20           MR. PARKER: I'm going to object to                     20       Q What -- did you call him or did he call you?
21   mischaracterizes his testimony. He already answered this       21       A If I had called him, it was returning a call.
22   question. He said it's possible that Mr. Staples might         22       Q Do you know how long you all talked that day?
23   have been providing him feedback along the way.                23       A I do not.
24       A I don't recall a specific conversation with Mr.          24       Q What did you all talk about?
25   Staples, but it is highly likely that he conveyed a            25       A I don't remember that specific conversation.
                                                          Page 95                                                             Page 97
 1   similar message to Mr. Walker that there was a perception       1      Q Do you recall that Mr. Staples expressed some
 2   of double dipping and that poultry was being unfair and         2   concerns to you about the activities of H. Walker
 3   that is in my mind a conflict and that is a conflict that       3   Enterprises and/or Renaissance Man Food Services?
 4   needed to be resolved because our business functioned on        4      A I do recall that John conveyed concern on
 5   trust and when you believe you're being treated unfair,         5   multiple occasions about activities of H. Walker Foods and
 6   that's a violation of trust and we needed to resolve that.      6   Renaissance Man Food Service.
 7       Q (BY MR. SIMMS) That was important enough for              7      Q When you say H. Walker Foods, are you referring
 8   you to put it in this e-mail, correct?                          8   to H. Walker Enterprises?
 9       A Yes, sir.                                                 9      A Enterprises, excuse me, H. Walker Enterprises.
10       Q And you were suggesting that you want to have a          10      Q All right. And I'm not trying to be difficult,
11   face-to-face meeting, but you don't have one?                  11   but I think we need to keep it separate because we now
12          MR. PARKER: Objection, mischaracterizes his             12   know there's an H. Walker Foods, LLC.
13   testimony. He said he's not sure whether they had a            13          MR. PARKER: For the record, it's Walker Foods,
14   meeting. He said he had to look at his calendars to            14   LLC.
15   confirm whether he had one.                                    15      Q (BY MR. SIMMS) Walker Foods, I'm sorry.
16       A As I think through the time when I came back to          16      A Walker Foods went away, so that -- that died
17   poultry through the end of '17, I had one meeting with         17   right after -- for all intents and purposes, it died right
18   Mr. Walker in Atlanta. So we did not have a face-to-face       18   after Mike Rogers was separated and John was hired.
19   meeting to resolve this. I recall a phone call with            19      Q All right. What concerns was Mr. Staples
20   Mr. Walker to talk through it after sending this and we        20   expressing? Can you be specific about the concern, the
21   agreed that it was resolved.                                   21   nature of the concern?
22       Q (BY MR. SIMMS) What was resolved?                        22      A He expressed concern of Ms. Blanchard becoming
23       A The clarity of why there was an administrative           23   involved in the sale of product of waffles and that -- and
24   fee and why the 35 percent ownership -- profit sharing,        24   that she had some business cards printed that showed her
25   not ownership, but profit sharing of the entire                25   representing H. Walker Enterprises, not Renaissance Man

                                                                                                              25 (Pages 94 - 97)
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 1   Food Service and he believed that that was the first of        1       Q Let me show you Exhibit 12 which is Staples
 2   many things to come where sales would start occurring          2   4175.
 3   through H. Walker Enterprises and not Renaissance Man Food     3           (WHEREUPON, Exhibit 12 was marked for
 4   Service. Okay.                                                 4   identification.)
 5      Q Is there -- I may be able to look at it. That's           5           MR. PARKER: Mike, it's more phone records from
 6   Simmons -- excuse me, Staples document 4176. At the            6   October 9, 2017 to October 13, 2017.
 7   bottom it looks like it's called number 217. It's on a         7       Q (BY MR. SIMMS) Are you familiar with Ms. Carmen
 8   Wednesday, October the 18th, 2017. It's a (479)427-0620        8   Seal's phone number?
 9   number. Is that your number?                                   9       A I am not.
10      A That is my cell phone, yes.                              10       Q Not being familiar with her phone number, you
11      Q All right.                                               11   couldn't tell me if that record indicates a phone call
12          MR. PARKER: For the record, we're looking at           12   either to her or from her with Mr. Staples or not; is that
13   Exhibit 11.                                                   13   correct?
14          (WHEREUPON, Exhibit 11 was marked for                  14       A That is correct.
15   identification.)                                              15       Q Okay. Does poultry have any evidence to suggest
16      Q (BY MR. SIMMS) I'm sorry. That is Exhibit 11.            16   that Ms. Seal did not speak by phone with Mr. Staples
17          Do you recall having any cell phone                    17   during that time period that would be reflected on
18   conversations with Mr. Staples before October 18, 2017        18   Exhibit 12?
19   where the topic was concerns related to activities of H.      19       A To the contrary, Ms. Seal conveyed to me that
20   Walker Enterprises and/or Renaissance Man?                    20   she did speak with Mr. Staples.
21      A I don't recall any specific cell phone                   21       Q Did. Did she initiate the phone call or did he?
22   conversation, no.                                             22       A She conveyed to me that she initiated a phone
23      Q Did you have any more conversations with him by          23   call inquiring about an expense.
24   phone after October 18, 2017?                                 24       Q If poultry didn't expect Mr. Staples to look out
25      A I seem to recall a phone call in my office on my         25   for its best interest, why would Ms. Seal be contacting
                                                         Page 99                                                            Page 101
 1   landline after the cell phone conversation.                    1   Mr. Staples?
 2       Q What is your recollection is the nature of that          2       A Because Ms. Seal saw an invoice for product that
 3   call or the substance of it?                                   3   she did not see any other expenses around, so it was
 4       A Reiteration of the concerns of the waffle sale           4   normal for Renaissance Man to buy product from someone
 5   and the payment of $7,200 or the dollar amount of the          5   else and then sell it and there would be expenses
 6   packaging and promotional material.                            6   associated with it. She saw promotional material and
 7       Q Had you had any communications around                    7   needed to attach that expense to a finished good that was
 8   October the 18th, 2017 with Ms. Carmen Seal related to any     8   being sold and she could not find a finished good that was
 9   request from Ms. Carol Walker in the Savannah office for       9   -- that would attach to that promotional material so she
10   payment of film or display racks or other items related to    10   called Mr. Staples as the general manager to ask what
11   the sale of retail waffles?                                   11   finished goods that product needed to be attached to.
12       A I had. Mr. Miller had brought it to my                  12       Q And what did Mrs. Seal say to you that Mr.
13   attention and Mr. Miller and I both had spoken with           13   Staples said to her?
14   Ms. Seal.                                                     14       A That that was not a Renaissance Man Food Service
15       Q When was that that Mr. Miller brought it to your        15   expense, that that was a H. Walker Enterprise expense and
16   attention?                                                    16   that it did not need to be paid.
17       A It would have been somewhere right in there. It         17       Q To poultry's knowledge, did Mrs. Seal carry that
18   was -- I learned from Mr. Miller and Ms. Seal first and       18   out and not pay that expense?
19   then from Mr. Staples.                                        19       A Ms. Seal then brought it to Chip Miller's
20       Q Do you see on there any phone calls between Mr.         20   attention who brought it to mine and we discussed it
21   Staples and Mrs. Seal and/or Mr. Miller?                      21   together and we agreed that we would not process the
22       A I am not certain of whose phone number the 215          22   payment until we reached clarity of what it was.
23   Siloam Springs number is. I believe it's Ms. Seal. I          23       Q Let me show you Exhibit 13. It's Simmons 153.
24   will have to look and see who 356 is. Would you like me       24           (WHEREUPON, Exhibit 13 was marked for
25   to refer to my phone or do you have that information?         25   identification.)

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 1           MR. PARKER: Do you have the other pages of             1          MR. PARKER: No, it's 2356.
 2   this?                                                          2      Q (BY MR. SIMMS) Oh, excuse me. It's what now?
 3           MR. SIMMS: Well, we can get them. I'm not              3          MR. PARKER: It's 2356.
 4   going to ask him about any of that. There's only one           4      Q (BY MR. SIMMS) Is it -- do you recognize
 5   thing I really wanted to ask him about.                        5   (479)215-2356 as being his number?
 6           MR. PARKER: Well, depending on what you ask --         6      A I do not. I have a button on my phone.
 7           MR. SIMMS: We can all agree whatever the chain         7      Q I gotcha. All right. Have you spoken to
 8   is.                                                            8   Mr. Miller about a phone call he had for 19 minutes with
 9           MR. PARKER: Yeah, I know, but depending on what        9   Mr. Staples on October the 5th, 2017?
10   you ask him, I may have --                                    10      A I've spoken to Mr. Miller about his
11           MR. SIMMS: Okay.                                      11   conversations with Mr. Staples, but he did not describe
12           MR. PARKER: -- him hold his answer if I think         12   that specific phone call.
13   --                                                            13      Q Have you discussed with Mr. Miller an incident
14           MR. SIMMS: That's fine. Let's see if we can           14   concerning Jennifer Dawson in and around October, the
15   cut through it and if we can't, we'll come back and go at     15   early part of October 2017?
16   it that way.                                                  16      A I know Jennifer Dawson. I do not recall an
17       A Okay.                                                   17   incident around Jennifer Dawson.
18       Q (BY MR. SIMMS) If you look at the -- and I know         18      Q Were you aware that in October of 2017
19   this is Mr. Walker responding to the question concerning      19   Ms. Dawson was a Renaissance Man employee working in
20   the expense for some airfare related to, I think, a sales     20   Arkansas?
21   meeting, but what I really wanted to ask you about is in      21      A Yes.
22   Mr. Walker's response here, the second paragraph. He          22      Q And is she an employee of Simmons or poultry
23   starts out by saying that he wanted to say that you hit on    23   today?
24   other things in your e-mail which confused him. It says       24      A She is.
25   they're different from his understanding of the current       25      Q When did she make the transition?
                                                        Page 103                                                          Page 105
 1   relationship between Simmons and Renaissance Man. Over         1      A I will have to look at the hire date. I do not
 2   nine years Renaissance Man has grown tremendously and          2   recall.
 3   could not have done this without the help of Simmons.          3      Q Have you or anyone else at poultry discussed
 4   Said he would love to see this to continue to grow in the      4   with Mr. Chip Miller around the early parts of
 5   food service arena. Says he spoke to Todd earlier this         5   October 2017 that Mr. Walker had indicated that if
 6   year and they talked about getting together to go over the     6   Ms. Dawson talked down to Carol Walker again it would not
 7   relationship if you guys can get some dates that would         7   end well for Ms. Dawson?
 8   work, you and Todd in the next couple of months. And my        8      A I'm not aware of that.
 9   question really is, did you or Todd schedule a                 9      Q Do you know if anyone at poultry is aware of
10   face-to-face meeting after April 3, 2017?                     10   that?
11       A We did not until the December meeting.                  11      A I have not had conversations with anyone at
12       Q Okay.                                                   12   poultry around that.
13          MR. PARKER: Keri, we've been going again about         13      Q If Mr. Staples' testimony is is that he
14   another hour. Can we just take five?                          14   discussed that issue with Mr. Miller around October the
15          MR. SIMMS: Sure, that's fine.                          15   5th, 2017, does poultry have any evidence that would
16          (Short break from 1:00 p.m. to 1:10 p.m.)              16   dispute that?
17          MR. SIMMS: Let me show you Exhibit 14. This is         17      A I do not.
18   going to be another of Mr. Staples' cell phone record. Do     18      Q Have you spoken to Mr. Miller about any
19   you recognize any phone calls concerning Mr. Chip Miller      19   conversations between him and Mr. Staples regarding the
20   in that record?                                               20   waffle expenses in and around the early part of
21          (WHEREUPON, Exhibit 14 was marked for                  21   October 2017?
22   identification.)                                              22      A I have.
23       A I do not, but I don't call Chip at his office.          23      Q What did Mr. Miller say to you about that topic?
24       Q May I see it? Do you know if Mr. Miller's               24      A He said Mr. Staples had conveyed that, again,
25   number at his work office is (479)215-22 --                   25   there were waffle expenses, promotional expenses, other

                                                                                                         27 (Pages 102 - 105)
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 1   expenses that were around a product that was not sold or       1   that, no.
 2   to be sold by Renaissance Man Food Service and should not      2       Q Okay. You all finished looking at the exhibit?
 3   be expensed under Renaissance Man Food Service.                3          MR. PARKER: For the record, Exhibit 15 is an
 4        Q Who is -- is it Dion Bennett?                           4   incomplete e-mail thread I'm going to hand the witness in
 5        A It's Dion Bennett, yes.                                 5   addition to the one page that's been marked as Exhibit 15.
 6        Q What's Mr. Bennett's role with poultry?                 6          MR. SIMMS: 153?
 7        A Ms. Bennett.                                            7          MR. PARKER: I'm going to hand him 153 which was
 8        Q Excuse me, Miss. I apologize.                           8   previously marked as Exhibit 13 which still does not
 9        A Ms. Bennett does order entry for Simmons.               9   complete the exhibit but will allow the witness to have
10        Q Do you know if she had communications with Mr.         10   more context what's being discussed. I'm showing you both
11   Staples about these waffles that came to light in the         11   of these, but he's going to focus your attention on the
12   early part of October 2017?                                   12   second page which is Exhibit 15.
13        A I have not spoken to Dion about her conversation       13          THE WITNESS: Okay.
14   with Mr. Staples about waffles.                               14       Q (BY MR. SIMMS) It's going to be the second
15        Q Is Vickie Goodman the supervisor of Ms. Bennett?       15   paragraph under the section number one from the operating
16        A She is.                                                16   agreement or Exhibit 6.
17        Q Do you recognize any phone calls on Exhibit 14         17       A Okay.
18   between Ms. Vickie Goodman and Mr. Staples?                   18       Q It looks like to me in this exhibit or this
19        A I do not know Ms. Vickie's phone number. Again,        19   e-mail you drafted you now are citing another provision
20   it's a small office. I will walk to her office.               20   from the memorandum of understanding or Exhibit 6,
21        Q Assume for me that Ms. Goodman's number is             21   correct?
22   (479)215-2296. There appear to be three phone calls with      22       A Let me make sure that's Exhibit 6. Yes, E1 of
23   Mr. Staples in the early part of October 2017 as reflected    23   Exhibit 6.
24   in the exhibit, assuming that's her number. Do you agree      24       Q Then I really want to ask you about the second
25   with that?                                                    25   paragraph here.
                                                        Page 107                                                           Page 109
 1      A I will take your information that that is her             1       A Okay.
 2   number.                                                        2       Q It says, "I've been out of the business for a
 3      Q Has poultry spoken with Ms. Vickie about her              3   while," that's what we discussed about when you went to
 4   conversations with Mr. Staples regarding the waffles?          4   pet, you went to the pet division, then you come back to
 5      A I've not spoken to Vickie directly about her              5   poultry, correct?
 6   conversations around the waffles.                              6       A That's correct.
 7      Q All right. Exhibit 15, and the same thing,                7       Q "There seems to have been several shifts in our
 8   there could be a string related to that, but I'm only          8   business practices." That's what I want to ask you about.
 9   going to ask him about one particular section. And while       9   What -- can you expand on what several shifts in the
10   we're looking at that, when poultry hired Ms. Dawson, did     10   business practices you're referring to?
11   they inquire as to why she was leaving Renaissance Man?       11       A There were shifts in expense reimbursement. It
12          (WHEREUPON, Exhibit 15 was marked for                  12   had got -- we had tried to -- when I was involved in the
13   identification.)                                              13   business prior, we had followed the Simmons policy on it
14      A It was conveyed to me that she left because she          14   with -- where there had to be exceptions approved and it
15   wanted a job with benefits and she wanted a job with a        15   seemed to be looser on what was being submitted and
16   larger company that she had upward mobility and she went      16   approved to be paid. There were shifts that I was
17   on a completely different career path. She services           17   learning about broker representation where there were
18   chickens for us, so she is outside and interacts with         18   related parties, multiple related parties in the brokerage
19   growers and she felt like that was a better career path       19   and how that was getting handled and I can't remember what
20   for her.                                                      20   else there was. I think there was something else. It was
21      Q Did it come up that she had been threatened by           21   -- but it was really around those, those two were concerns
22   Mr. Walker concerning an e-mail she had sent to Ms. Carol     22   of mine at the time. And shifts in, you know, how people
23   Walker trying explain what aged accounts receivable meant     23   were treating folks within Simmons from Renaissance Man
24   versus aged inventory?                                        24   Food Service and whether that was acceptable or not.
25      A I was not made aware of any -- any concern like          25       Q And that kind of goes back to the e-mails that

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 1   led into this?                                                 1   my recollection and we are not equity partners, we're
 2       A Yes.                                                     2   profit sharing partners.
 3       Q Okay. Now, with respect to the broker shift              3       Q And so that statement there you realized was
 4   that you just mentioned, does poultry understand that          4   incorrect after you reviewed the memorandum of
 5   Julie Blanchard owned 50 percent of DSM3?                      5   understanding?
 6       A I had a thirdhand understanding of that but not          6       A Yes, sir.
 7   firsthand.                                                     7       Q I don't necessarily care to mark this as an
 8       Q Did poultry understand that she got the first, I         8   exhibit, but I'll show it to you. It's 155 and 156 and it
 9   think it was $125,000 money made by the broker before any      9   deals with me asking the questions about having a meeting
10   went to Ms. Staples as an owner?                              10   and I think you told me that there was no meeting until
11       A I have no knowledge of any expenses or external         11   December the 12th, 2017?
12   revenue other than what Ren Man paid the brokerage firm.      12           MR. PARKER: You're not marking this as an
13       Q Back to the memorandum of understanding,                13   exhibit?
14   Exhibit 6?                                                    14           MR. SIMMS: No.
15       A Uh-huh.                                                 15       A Unless Herschel came to town, I do not have any
16       Q Did Mr. Herschel Walker get paid the first              16   recollection of going to Atlanta, Dallas or -- Atlanta or
17   $200,000 of monies before there was the distribution of       17   Dallas --
18   profit calculation between poultry and H. Walker              18       Q (BY MR. SIMMS) I take it --
19   Enterprises and/or Renaissance Man Food Services?             19       A -- but I can't recall.
20       A Both the back office fee and Mr. Walker's fee           20       Q I'm sorry, I didn't mean to interrupt. I take
21   were paid prior to any distribution and the distribution      21   it that Ms. Kimmy is Mr. Todd Simmons' administrative
22   of the profit was net of those expenses.                      22   assistant?
23       Q And what was Mr. Walker -- what function was he         23       A Yes, she is.
24   performing related to his 200,000?                            24       Q She was working to try to schedule some meeting
25       A He was Mr. Staples' direct supervisor, he was           25   times it appears from this document, but that never took
                                                        Page 111                                                           Page 113
 1   CEO of the company, he was active, at least when I was         1   place as far as you recall?
 2   involved prior and still coming back, he was active in         2      A They may have. I do not recall that meeting
 3   sales of product. He went to food shows early on and           3   taking place.
 4   spent a tremendous amount of time helping build the brand,     4      Q All right. Would it be fair to say that after
 5   the business brand, went on multiple customer calls. He        5   you came back on board in mid December 2016, you began
 6   was a very active member of the management team.               6   communicating with Mr. Walker in writing that we have gone
 7      Q Poultry would not know what Julie Blanchard was           7   through? Whatever issues you wanted to address, they were
 8   doing with respect to her $125,000, correct?                   8   not as significant at that point in time to force a
 9      A Poultry had no interaction with DSM.                      9   meeting until December 12, 2017?
10      Q Going on, this paragraph here you say, "As an            10      A It would be fair, yes, that would be -- that
11   equity partner" --                                            11   would be accurate.
12          MR. PARKER: Are you referring to the paragraph         12      Q And would the concerns that Mr. Staples began
13   that begins, "I've been out of the business" on               13   bringing to the attention of poultry in October of 2017
14   Exhibit 15?                                                   14   expedite the need for a meeting between poultry with H.
15      Q (BY MR. SIMMS) Yes, right. It looks like it's            15   Walker Enterprises and/or Renaissance Man?
16   the third sentence. "As an equity partner," do you see        16      A The behavior and the description of the
17   that?                                                         17   interaction between Mr. Staples and Mr. Walker from Mr.
18      A That was a misstatement.                                 18   Staples was the impetus for the meeting in December of
19      Q Okay. What's the misstatement about that?                19   2017.
20      A We did not own any equity in Renaissance Man             20      Q All right.
21   Food Service. We shared profit, we did not own equity.        21      A Not necessarily the subject matter, but the way
22      Q How could you make that mistake?                         22   he described their relationship sourly.
23      A I was writing this from recollection and I'd             23      Q Let's talk about the October, I want to say it
24   been out of the business five years and after I went back     24   was October 23rd or 24th, you schedule a meeting or
25   and reviewed the memorandum of understanding I clarified      25   conference call and you did it through your computer

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 1   system, correct, the meeting?                                     1       A Okay.
 2       A Correct.                                                    2       Q All right. This starts off, this document --
 3       Q What necessitated you doing that?                           3   have you had a chance to look at it?
 4       A There was a request from Mr. Staples for                    4       A I have.
 5   follow-up on the waffle issue, if I recall correctly, and         5       Q All right. It's an invitation and it says,
 6   other general business issues between poultry and                 6   "Call in to discuss Ren Man concerns." It appears -- did
 7   Renaissance Man Food Service.                                     7   you create this or did Mr. Chip Miller initiate the
 8       Q I know there's a document that deals with that              8   invitation?
 9   and I'm going to find it, but what is your recollection as        9       A My name is in parentheses, so I would have
10   to who all was invited to that meeting or conference call?       10   created it.
11       A I will have to review that document.                       11       Q All right. And it looks like you invited
12       Q All right. That's fine.                                    12   certain persons to participate in that call, correct?
13       A I know there was one phone call with Chip and              13       A I take this back, Chip Miller -- under the --
14   myself and another one included Matt.                            14   Chip Miller is the organizer, so the parentheses was it
15       Q While I'm looking, did you initiate that meeting           15   was printed from my e-mail, so Chip created it.
16   or did Matt Free initiate that meeting?                          16       Q And he created it on October 23, 2017 at 5 p.m.
17       A Matt Free requested that a meeting occur after             17   in the afternoon?
18   conversations with Mr. Staples.                                  18       A That's what it appears, yes.
19       Q What is -- what was Mr. Free's position with the           19       Q It looks like he's using Google or calendar to
20   company at the time?                                             20   --
21       A He is a -- what you call a salesperson, but he's           21       A He is.
22   a national sales account -- or director of national              22       Q -- create that, correct?
23   accounts manager. He's a salesperson for us.                     23       A Yes.
24       Q Does he report to Chris -- I mean Chip Miller?             24       Q Okay. And the people who are invited are you,
25       A He does.                                                   25   Mr. Miller, David Rose, John Staples and Matt Free; is
                                                           Page 115                                                            Page 117
 1      Q Okay. Had either Mr. Free or Mr. Miller or Mr.               1   that correct?
 2   Staples brought to your attention prior to the                    2      A That's correct.
 3   October 23rd or 24th, we're going to find it in a minute,         3      Q And then it also indicates that Mr. Miller is
 4   conference call an incident involving HM Host?                    4   the organizer?
 5      A I remember vague discussions around HM Host, but             5      A Yes.
 6   I do not -- I don't recall the specifics.                         6      Q Okay. Who is David Rose?
 7      Q Was HM Host a customer of Simmons?                           7      A He's our vice president of marketing.
 8      A I don't recall.                                              8      Q And why was he being included in this conference
 9      Q Does poultry have knowledge that there was a                 9   call?
10   meeting, a sales meeting being attended by Mr. Free when         10      A Because Chip and David both are routinely
11   an employee of H. Walker Enterprises by the name of George       11   engaged with sales issues of product being sold from
12   Fiorelli showed up at the meeting?                               12   Simmons to a customer.
13      A I do recall that being conveyed.                            13      Q And is Matt Free being included for what reason?
14      Q Do you know how Mr. Fiorelli was being paid as              14      A Matt was the salesperson from Simmons that was
15   an employee of H. Walker Enterprises?                            15   given the responsibility to represent Simmons to
16      A I do not.                                                   16   Renaissance Man and work with Mr. Staples.
17      Q Did Mr. Free or Mr. Staples or Mr. Miller convey            17      Q All right. Up here at the top, the word
18   to you what happened when Mr. Fiorelli showed up at that         18   concerns is plural and my question to you is what were the
19   meeting with HM Host?                                            19   concerns to be discussed?
20      A They conveyed there was some confusion that was             20      A I do not recall the exact concerns of this
21   added to the meeting, but I don't recall any specifics           21   meeting.
22   beyond that.                                                     22      Q Do you recall if Mr. Matt Free expressed concern
23      Q All right. 123, Exhibit 16.                                 23   related to the George Fiorelli incident with HM Host?
24          (WHEREUPON, Exhibit 16 was marked for                     24      A I do recall Matt conveying a sales call where
25   identification.)                                                 25   there was confusion. That's really the extent of it that

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 1   I recall.                                                     1   this is being expressed to poultry?
 2       Q Was the issue of telemarketers being hired and          2       A Yes, that there was activity and it was creating
 3   working for H. Walker Enterprises brought up as a concern     3   confusion.
 4   for this conference call?                                     4       Q And it's not only being brought to the attention
 5       A I do now -- since you brought it up, I do recall        5   of poultry by Mr. Staples, it's being brought by Mr. Matt
 6   Mr. Staples conveying concerns that in his mind               6   Free, correct?
 7   individuals who were not qualified to conduct                 7       A Mr. Matt Free was conveying that it was creating
 8   telemarketing were being employed to do so.                   8   confusion among the customer base not dissimilar to the
 9       Q And was there a concern brought up concerning           9   Walker Foods/Renaissance Man that we had early on with
10   Mr. Herschel Walker's niece working as an employee of H.     10   Mr. Rogers that we ended up consolidating so that we had
11   Walker Enterprises and calling on customers?                 11   clarity.
12       A I don't specifically recall that.                      12       Q Had, prior to October 24, 2017, had Mr. Jeff
13       Q Was there a concern brought up that H. Walker          13   Pearce with Sysco made complaint to either Mr. Staples or
14   Enterprises was trying to expand its revenue base or         14   Mr. Free or to Mr. Blaine Walker or Renaissance Man
15   revenue stream and decrease the revenue platform or          15   concerning being contacted by someone saying they were
16   revenue streams for Renaissance Man?                         16   acting on behalf of H. Walker Enterprises, LLC?
17       A Mr. Staples expressed that concern and I believe       17       A Mr. Staples did share an e-mail from Mr. Pearce
18   it was in this phone call, yes. As I previously testified    18   asking or questioning what was that contact about and
19   to, he did express concern that he thought there was a       19   Mr. Staples had a response of that that was why this type
20   broader plan to move volume from H. Walker -- I mean, from   20   of thing shouldn't happen.
21   Renaissance Man Food Service into H. Walker Enterprises.     21       Q What other concerns were there to be discussed
22       Q Did Mr. Staples raise a concern that was               22   other than what we have talked about so far?
23   discussed during this conference call that he had been       23       A That -- that is all that I recall.
24   being pressured by Mr. Eisenman and Mr. Walker to expand     24       Q What about the waffles?
25   H. Walker Enterprises?                                       25       A I'll have to look at the -- go back and review
                                                       Page 119                                                                  Page 121
 1       A I don't recall Mr. Staples ever conveying that          1 my notes of the timing of when the waffle came out. This
 2   he was active in trying to expand H. Walker Enterprises.      2 was post the waffle -- the waffle -- John brought up the
 3       Q Or that he had been instructed or directed by           3 waffle deal every time I spoke with him after Carmen had
 4   Mr. Eisenman or Mr. Walker to find other revenue sources      4 brought it to our attention.
 5   for H. Walker Enterprises?                                    5     Q It didn't come up again during this discussion?
 6       A I have no recollection of Mr. Staples ever              6     A No, John did bring it up every time I spoke with
 7   conveying that.                                               7 him. He told the story every time.
 8       Q All right. Would the involvement of George -- I         8     Q All right. I gotcha. Having heard about George
 9   can't even pronounce his hame, Fiorelli, the presence of      9 -- I can't pronounce his name, Fiorelli, the
10   telemarketers and the niece and now the involvement of       10 telemarketers, the niece, did poultry do an investigation
11   Julie Blanchard be consistent with the expansion of H.       11 to see if the Savannah office had submitted a request for
12   Walker Enterprises?                                          12 monies that might have related to funding of the salaries
13       A I don't -- frankly, I don't know because I             13 or compensation of these individuals to poultry?
14   didn't know as Simmons Prepared Foods, I had no knowledge    14     A Well, one, poultry would not be funding it.
15   of the scope or size of H. Walker Enterprises or the         15 They would be a Renaissance Man Food Service expense which
16   activity of it prior to that meeting or post that meeting.   16 is not a poultry expense, it's a Renaissance Man expense.
17       Q Had -- is this the first time in October of 2017       17 And I am unaware of any investigation. If John, as the
18   that Matt Free and/or Mr. Staples began raising concerns     18 general manager, felt like he was being burdened with
19   involving people acting or seeking to act on behalf of H.    19 expenses that were not commensurate with his sales
20   Walker Enterprises starting to interact with the customers   20 activity, then he could have asked us as a back office to
21   of the relationship between poultry and H. Walker            21 detail that, but I don't -- I don't know of any
22   Enterprises and/or Renaissance Man Food Services?            22 investigation, no.
23       A To my recollection, this is the first time that        23     Q All right. Since January the 1st of 2018, has
24   Mr. Staples brought that to our attention.                   24 poultry conducted an investigation to see if H. Walker
25       Q So there's obviously some activity going on and        25 Enterprises and/or Renaissance Man has submitted any

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                                                         Page 122                                                           Page 124
 1   requests for payments or reimbursement of monies related        1   correct?
 2   to the hiring of employees of H. Walker Enterprises?            2      A That is correct.
 3       A I'm not aware of any detailed investigation nor           3      Q And Mr. Free identifies himself as being
 4   am I aware of any expenses.                                     4   director of new business development?
 5       Q All right. So can you recall everything that              5      A Okay.
 6   was discussed during the conference call on October 24,         6      Q Is that his position?
 7   2017?                                                           7      A We retitled some people in that transition
 8       A I do not have notes of every detail that was              8   period when I was out of poultry, so if that's what he's
 9   discussed, but to the best of my recollection, we've            9   got on his e-mail, that is his title.
10   covered it.                                                    10      Q All right. And it looks like he e-mails
11       Q From what you had learned either in speaking             11   Mr. Staples and Mr. Blaine Walker and gives them an
12   with Mr. Staples, we've established you and he had some        12   updated pricing for bone-in wings and when that may take
13   phone calls, you spoke to Ms. Carmen Seal, you spoke to        13   effect; is that correct?
14   Mr. Chip Miller, you may or may not have spoken with           14      A That's correct.
15   Ms. Dion Bennett and/or Ms. Vickie Goodman, but you            15      Q Who is Davaughn Jackson?
16   certainly had spoken with Mr. Free and Mr. Staples and         16      A He works in marketing under Tracie, who works
17   Mr. Miller as of October 24, 2017, correct?                    17   under David Rose, and he is assigned to the Renaissance
18       A Correct.                                                 18   Man Food Service account supporting Matt Free.
19       Q Did you then take those concerns and place those         19      Q And Tracie?
20   in a communication to Mr. Walker?                              20      A Tracie is Davaughn's manager.
21       A From this meeting and in this meeting, I                 21      Q Is she related to the in-house lawyer for
22   conveyed to Mr. Staples that I would reach out to              22   poultry or Simmons Foods?
23   Mr. Walker and try to gain some clarity of what activity       23      A That is his wife.
24   should be occurring, where they should be occurring and        24      Q Okay. Your family members work for the company?
25   how we should go about doing it, and I had made a list of      25      A My son interns.
                                                         Page 123                                                           Page 125
 1   things that we would try to resolve, which then I wrote an      1       Q Okay.
 2   e-mail to Mr. Walker requesting a meeting and focusing on       2       A At 18, yes.
 3   those issues.                                                   3       Q All right. It looks like when Mr. Free sends
 4       Q Before we get into that, let me show you                  4   the e-mail at the top and it's only to Mr. Miller,
 5   documents Simmons 124 and 125 which will be Exhibit 17.         5   Mr. Rose and you, it doesn't include Mr. Staples or
 6   Have you had an opportunity to review the document?             6   Mr. Blaine Walker, correct?
 7          (WHEREUPON, Exhibit 17 was marked for                    7       A Correct.
 8   identification.)                                                8       Q It comes on the evening after the October 24,
 9       A I have.                                                   9   2017 phone conference regarding concerns regarding
10       Q It looks like at the bottom, it looks like this          10   Renaissance Man, correct?
11   is two e-mails. The first one appears to be from Mr. Matt      11       A Correct.
12   Free. Down at the bottom of page 124, it starts there.         12       Q And he starts it of by saying, "Well," and to me
13   Parts of it looks like are over on 125. It looks like          13   I read the word well is like look what just happened that
14   that e-mail is dated October 23rd at 5:46 in the afternoon     14   we've been discussing things about today. Do you
15   and it's addressed to Mr. Staples, to Blaine Walker at         15   interpret that the same way?
16   Renaissance Man, Davaughn Jackson and Tracie McEachern?        16       A Not necessarily if you know Matt.
17       A McEachern.                                               17       Q All right. He says, "Well, I just received a
18       Q McEachern, I'm sorry. My eyesight's not too              18   call from Herschel in reference to this newly updated
19   good. That is an r-n, okay. And then the top one               19   pricing." Is that what he says?
20   is Mr. Free forwarding some stuff on again to Mr. Miller,      20       A It is.
21   David Rose and Mr. Jackson and you, correct?                   21       Q So would you take that to mean that someone had
22       A Correct.                                                 22   forwarded his, being Mr. Free's communication from the day
23       Q All right. The e-mail that Mr. Free sends on             23   before, to Mr. Walker?
24   the 23rd, that's the day prior to the scheduling of the        24       A Yes.
25   concern regarding Renaissance Man of October 24, 2017,         25       Q Or has discussed that with him?

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 1       A I took it that as well.                                    1   e-mail to Mr. Walker the day after the conference call?
 2       Q All right. And then he says, "He kindly                    2       A Because Mr. Staples had expressed concern about
 3   informed." Why does he quantify how he was informed --           3   the ongoing business activities of Renaissance Man and how
 4          MR. PARKER: Objection, calls for speculation.             4   it was structured between Simmons and Renaissance Man,
 5       Q (BY MR. SIMMS) -- by "kindly"?                             5   which was what he was managing, the Renaissance Man Food
 6       A If you knew Matt, that is how he talks.                    6   Service, and I had committed to follow up with Mr. Walker
 7       Q Okay.                                                      7   and reach clarity of those issues that were causing
 8       A So it's not out of the norm.                               8   contention between -- potential contention between Simmons
 9       Q He says, "He," referring to Mr. Walker, "kindly            9   and Renaissance Man, as well as trying to address the
10   informed him that we have an arrangement contract in place      10   souring relationship between Mr. Staples and Mr. Walker
11   where we," RMFS, maybe that should have been Simmons,           11   which was equally concerning for the business from an
12   "share in the profits and if we're," Simmons, "is going to      12   ongoing perspective.
13   raise this pricing, then we," maybe he's quoting what           13       Q Did Mr. Staples share with you in the early part
14   Mr. Walker is saying, "Renaissance Man will need to stop        14   of October up to October 24, 2017 that he had participated
15   sharing the profits with Simmons." So Mr. Free is               15   and had been requested by Ms. Blanchard and/or Mr. Walker
16   informing you, Mr. Miller and Mr. Rose that Mr. Walker          16   to make a presentation to Jett Food convenience stores in
17   indicates that if you all increase these costs, he's going      17   the state of Georgia regarding waffles?
18   to do away with the profit sharing agreement on that            18       A He did convey the waffle -- the potential sale
19   memorandum of understanding which is Exhibit Number 6,          19   to Jett Foods.
20   correct?                                                        20       Q Did he share with you or anyone to your
21       A That is what it says.                                     21   knowledge at poultry that after meeting with David Ursary
22       Q That's a threat, isn't it?                                22   of Jett Foods in the state of Georgia that outside of
23       A I took it as Mr. Walker expressing concern about          23   Mr. Walker and/or Ms. Blanchard expressed displeasure with
24   the price increase and frustration about how it was             24   Mr. Staples regarding what he had presented to Jett Foods?
25   conveyed and what was conveyed to him.                          25       A Can you rephrase or clarify what you asked?
                                                          Page 127                                                          Page 129
 1       Q You didn't take it as a threat?                            1      Q That -- I'm trying to think of another way I can
 2       A I didn't take it as a threat.                              2   ask it. Did Mr. Staples convey or communicate to you or
 3       Q Okay. So now, was this pricing discussed during            3   to Mr. Miller that you learned about or anyone else at
 4   the conference on the 24th or is this something new              4   poultry that after making the presentation to the
 5   regarding concern related to Renaissance Man and/or H.           5   representative, Mr. Ursary for Jett Foods, that outside in
 6   Walker Enterprises?                                              6   his yard Mr. Walker and Ms. Blanchard had, for lack of a
 7       A I don't recall whether it specifically came up.            7   better word, chastised Mr. Staples related to that
 8   If it did, it would have been Matt would have mentioned it       8   presentation?
 9   that he had passed along the price increase.                     9      A I don't recall that specific conversation, but
10       Q Right.                                                    10   there was a -- like I said, there were a multitude of
11       A That was during a period of time where we,                11   stories that Mr. Staples conveyed around waffles and they
12   Simmons Foods, was reviewing pricing for all customers,         12   repeated themselves and so I can't tell you whether I
13   benchmarking them to external sources and adjusting             13   heard every word that he said.
14   pricing to all customers to make sure we were market            14      Q Did Mr. Staples or from any source you learn
15   competitive.                                                    15   from anyone else at poultry express that it had become
16       Q I'm getting there, but you did send an e-mail to          16   apparent with respect to the Jett Foods waffles that
17   Mr. Walker on October the, was it the 25th, the next day        17   Mr. Walker realized that Mr. Staples would no longer allow
18   after the conference call on the 24th?                          18   H. Walker Enterprises or Renaissance Man to expense things
19       A That seems about right. Yes, I did send a                 19   to poultry and not share with them the profit of the
20   follow-up as I discussed in that call.                          20   product?
21       Q Did you make separate notes related to that               21      A Again, there was no expense to poultry, so as
22   call?                                                           22   you worded the question, there was never an expense to
23       A If I did on a notepad, it has long been                   23   poultry. The expenses all went to Renaissance Man Food
24   disposed.                                                       24   Service.
25       Q All right. What was your purpose in sending the           25      Q But there was an attempt, were there not, sir,

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 1   by H. Walker Enterprises and/or Renaissance Man to expense       1       A Poultry didn't know the percentage of revenue --
 2   the promotional items related to the Jett Food waffles to        2       Q That Renaissance Man contributed as a subsidiary
 3   poultry?                                                         3   owned 100 percent by H. Walker Enterprises to the revenue
 4      A No, sir, there was never an attempt to submit it            4   of H. Walker Enterprises?
 5   to poultry.                                                      5       A Yeah, I have no knowledge of what -- I have
 6      Q Didn't Carol Walker submit to Carmen Seal a                 6   knowledge of Renaissance Man Food Service. I have no
 7   request for monies and the backup included the Jet Food          7   knowledge of the size or scope of H. Walker Enterprises or
 8   displays and promotional items?                                  8   any other activities of H. Walker Enterprises.
 9      A She did, she submitted that to Carmen to pay on             9       Q And if in 2015 it was communicated by poultry to
10   behalf of Renaissance Man Food Service.                         10   Mr. Walker that poultry in the future may bid direct with
11      Q And it was stopped?                                        11   Sysco, that would put an end to Renaissance Man, correct?
12      A But it was never submitted to poultry.                     12       A That is incorrect. There are -- Renaissance Man
13      Q But if it had been paid, that's less profit that           13   existed prior to the relationship with Simmons. It
14   would have gone to poultry to share in?                         14   existed under Tyson Foods and Tyson Foods sold direct and
15      A It was $7,200, and had that been paid,                     15   Mr. Staples managed for Tyson Foods and Tyson sold direct
16   35 percent of the $7,200 would have -- the profit sharing       16   to Sysco and there were sales under Renaissance Man to
17   would have been reduced by 35 percent of $7,200.                17   Sysco so it would not necessarily put an end to
18      Q But it was also consistent with concerns that              18   Renaissance Man Food Service.
19   Mr. Staples was making related to what he was seeing, a         19       Q Does poultry know what was motivating Mr. Walker
20   change in H. Walker Enterprises increasing its volume and       20   to increase the volume in H. Walker Enterprises, decrease
21   decreasing its volume with Renaissance Man, correct?            21   the volume in Renaissance Man?
22      A That was the perception that Mr. Staples                   22          MR. KING: Objection.
23   conveyed in our discussions.                                    23          MR. PARKER: You're assuming facts not in
24      Q And that's also occurring consistent with George           24   evidence.
25   Fiorelli appearing in an event on behalf of H. Walker           25          MR. KING: Thank you.
                                                          Page 131                                                           Page 133
 1   Enterprises, correct?                                            1      A I have yet to see any evidence that there was
 2      A It was never strung together like that, but,                2   any decrease in volume in Renaissance Man Food Service.
 3   okay, in my presence.                                            3   All that has been presented to me was an increase of sales
 4      Q It was around the end of 2017 it was happening,             4   of waffles which is in addition to activity that existed
 5   right?                                                           5   within Renaissance Man Food Service that was happening
 6      A It was.                                                     6   under H. Walker Enterprises which is new business and a
 7      Q The niece of Mr. Walker is calling on Sysco as a            7   new product line in a different entity.
 8   representative of H. Walker Enterprises, correct?                8      Q (BY MR. SIMMS) You read the transcript of the
 9      A Yes, so you conveyed. I don't recall the niece              9   meeting of December 27th with Mr. Staples and you are
10   discussions.                                                    10   aware that Mr. Walker had offered Robert Thurber's son an
11      Q The telemarketers?                                         11   ownership interest in Renaissance Man if Mr. Thurber could
12      A Yes.                                                       12   get minority business through Tyson, correct?
13      Q That happened in 2017, correct?                            13      A I did read that, yes.
14      A Correct.                                                   14      Q Would that be an expansion?
15      Q And at some point in time, Ms. Blanchard gets              15      A That would have been an expansion and a
16   involved and is acting on behalf of H. Walker Enterprises,      16   significant change to our memorandum of understanding.
17   correct?                                                        17      Q What about with respect to selling to US Foods,
18      A Correct.                                                   18   would that have been in violation of the memorandum of
19      Q And that's all in 2017?                                    19   understanding?
20      A It is. But I don't know the extent of H. Walker            20      A It depends on the product that was sold.
21   Enterprises and what other business activities that             21      Q What if it was a Sysco brand, a Famous 34
22   Mr. Walker has.                                                 22   product?
23      Q And poultry didn't know what percentage                    23      A Of poultry, pork?
24   Renaissance Man made of the revenue for H. Walker               24      Q Waffle?
25   Enterprises either; is that correct?                            25      A Waffle?

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 1       Q Anything under Famous 34?                                1   at. It might be a good time to do that.
 2       A This venture was really focused on selling               2          (Short break from 2:09 p.m. to 2:21 p.m.)
 3   poultry and other proteins and then there was a side           3       Q (BY MR. SIMMS) All right. Mr. Jackson, Exhibit
 4   business of biscuits that really didn't amount to much,        4   -- did we make an exhibit number already?
 5   but this entity was really set up around the proteins. If      5       A 18.
 6   Mr. Walker and Mr. Staples wanted to expand the offering       6       Q All right. This appears to start off with your
 7   of this business and leverage the infrastructure that's        7   October 25th, 2017 e-mail to Mr. Walker and to his
 8   already in place, then great. If they chose to create          8   attorney, Mr. Eisenman, correct?
 9   another business to handle those other activities, that        9       A That is correct.
10   was his right.                                                10       Q All right. You wrote this the day after the
11       Q US Foods is a competitor of Sysco?                      11   October 24, 2017 conference call meeting, correct?
12       A It is.                                                  12       A That is correct.
13       Q To poultry's knowledge, did Sysco consider the          13       Q And it starts out, it deals with Renaissance Man
14   Famous 34 brand to be unique or exclusive to Sysco?           14   board meeting and it's from you, it's to Mr. Herschel
15       A I don't -- I'm not aware that they viewed it as         15   Walker, his attorney, you copy Simmons' attorney, correct?
16   exclusive, especially after we transitioned that product      16       A That is correct.
17   to Sysco Classic.                                             17       Q All right. You talk about being back in poultry
18       Q All right. 157.                                         18   and then really I want to ask you mostly about the second
19          MR. PARKER: I just want to note this appears to        19   paragraph. It says, "There are concerning comments,
20   be an incomplete e-mail chain, that there are messages not    20   though I'm hearing secondhand about the desire to continue
21   included with it.                                             21   our arrangement (or if there truly is an arrangement)."
22          MR. SIMMS: Do you know what document those are         22   Who are the comments coming from that you say you've
23   on?                                                           23   learned secondhand?
24          MR. PARKER: I do not.                                  24       A It was from the e-mail and the conversations
25          MR. SIMMS: It looks like here, I guess it goes         25   with Matt Free on October 24th referring to that he had
                                                        Page 135                                                           Page 137
 1   through 161. Do you want to add those to it?                   1   received a phone call from Herschel, that Herschel felt
 2          MR. PARKER: I think it's still not complete,            2   like he could change the profit sharing based on a price
 3   though.                                                        3   increase and that would have been a material change in our
 4          MR. SIMMS: What do you think is after that?             4   agreement and if I recall in the verbal conversation with
 5          MR. PARKER: It shows at the bottom of this              5   Matt, he also conveyed that there was a comment made about
 6   there's a message from Herschel to David Jackson on            6   the agreement not being signed so it was not in force so
 7   November 29th, but then we don't have the text of that         7   it could be changed at will.
 8   message.                                                       8       Q Then you have another paragraph here, "In
 9          MR. SIMMS: That's 161 and here's 162, tell me           9   addition, there are invoices being submitted from other
10   if it matches up with it.                                     10   entities (H.W. Foods), expenses to RMFS to pay for items
11          MR. PARKER: Okay. It must just be as produced          11   RMFS does not support." What do you mean by that?
12   that the entire chain isn't complete then.                    12       A That was the -- the promotional material and
13          MR. SIMMS: I mean, I looked at it before I             13   other things for the waffles, the $7,200 that's been in --
14   handed it to you because this didn't look like it went        14   that we have discussed repeatedly.
15   with it. You tell me.                                         15       Q Any other invoices being submitted?
16          MR. PARKER: Let me see your stapler. Remember          16       A None that I'm aware of.
17   these go in reverse order.                                    17       Q When you say invoices being submitted, are you
18          THE WITNESS: And it will put the signature             18   referring to Carol Walker in the Savannah office
19   sometimes at the bottom of everything.                        19   submitting some type of request to Carmen Seal with
20          MR. PARKER: For the record, Exhibit 18 now             20   poultry?
21   consists of Simmons 157 through 161.                          21       A Yes, an invoice was submitted to Carmen to pay
22          (WHEREUPON, Exhibit 18 was marked for                  22   on behalf of Renaissance Man Food Service.
23   identification.)                                              23       Q And when you use the words H.W. Foods, are you
24          MR. SIMMS: I'm going to run to the men's room          24   meaning to refer to H. Walker Enterprises, LLC?
25   since that's quite a few documents maybe for you to look      25       A That's correct.

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 1      Q Okay. It says, "These are both very concerning            1      Q All right. Would this document be reflective in
 2   to hear, raise questions about how the business is being       2   an exemplar of the P&L that Mr. Staples began creating as
 3   operated." Okay. Do you know if after Mr. Walker               3   part of the five, seven document we looked at earlier
 4   received your e-mail, if he inquired of Mr. Staples about      4   today when he began managing the relationship between
 5   who was sharing information with poultry regarding the         5   poultry and H. Walker Enterprises or Renaissance Man?
 6   submission of invoices?                                        6          MR. PARKER: I'm just going to again object to
 7      A I did get a text from John asking about the --            7   the misclarification of the witness' testimony. He's
 8   saying that Herschel had texted him asking about the           8   clarified a couple of times now that Mr. Staples did not
 9   meeting. I don't recall the invoice -- there was a             9   manage the relationship between Simmons Prepared Foods and
10   question about the invoice, but it was submitted to Carmen    10   Renaissance. His testimony has been consistent that Mr.
11   to pay so we would have known it by the mere fact that we     11   Staples' position was to serve as the general manager of
12   questioned it when it was submitted, we did know it.          12   Renaissance. He's testified that he, himself, as the
13      Q Let me show you what I'm going to mark as                13   board member from Simmons Prepared Foods and as the
14   Exhibit 19. This has not been produced yet, but it's          14   president of Simmons Prepared Foods managed that
15   being produced today. It's a P&L for January of 2017.         15   relationship. Subject to that objection, you can answer.
16          (WHEREUPON, Exhibit 19 was marked for                  16      A This document and other documents like that were
17   identification.)                                              17   generated by the accounting staff at Simmons Prepared
18      A Okay.                                                    18   Foods for Renaissance Man Food Service staff and
19      Q It is six pages long.                                    19   leadership to help them understand what -- how the
20          MR. PARKER: This is a P&L for Ren Man?                 20   business was functioning.
21      Q (BY MR. SIMMS) Yes. We asked for them in                 21      Q (BY MR. SIMMS) And is the document broken into
22   discovery, but we didn't get them.                            22   three parts, one is a total and then it's broken down by
23          Do you recognize -- do you recognize that              23   Simmons produced product and then non-Simmons produced
24   exhibit as an exemplar P&L for Renaissance Man related to     24   product?
25   the poultry Renaissance Man/H. Walker Enterprise              25      A That is correct.
                                                        Page 139                                                                   Page 141
 1   relationship as memorialized in Exhibit 6?                     1     Q And if there had been expenses expensed related
 2       A This is a -- this appears to be -- I'm assuming          2 to non-product that were correctly accounted for and went
 3   it came from Simmons, correct?                                 3 into a report, a manager could look at the document and if
 4          MR. PARKER: This comes from them.                       4 there's a change in expenses might inquire as to what the
 5       Q (BY MR. SIMMS) We produced it today.                     5 change was associated with?
 6       A You produced it today. It is consistent with --          6     A The intention of the report is to help show
 7   so I don't -- I don't know the numbers, but it is              7 changes and then to flag that a general manager or other,
 8   consistent format with the reporting that would be             8 whoever is designated, should dig into the detail to
 9   generated by the Oracle system that Simmons used to manage     9 understand why there was a change in expense versus
10   the Renaissance Man Food Service financial information.       10 revenue.
11       Q And was that system, is that something that             11     Q All right. We'll come back to that document in
12   Blair Staples and Jennifer Dawson would come in and input     12 a moment. Let's keep going through Exhibit --
13   data into from time to time?                                  13        MR. PARKER: 18.
14       A I am unfamiliar with what they did.                     14     Q (BY MR. SIMMS) Is it 18?
15       Q All right. Does that system require the entry           15     A 18.
16   of data?                                                      16     Q All right. You say from your perspective, are
17       A It does from an accounting perspective. It was          17 you really meaning poultry's perspective? You're speaking
18   my understanding that Simmons staff did most of that.         18 on behalf of Simmons' Prepared Foods, correct?
19       Q What about from a sales standpoint?                     19     A Correct.
20       A Those were -- that sales data is generated when         20     Q Simmons, and you really mean poultry; you don't
21   the product is shipped and invoiced and that was done by      21 mean Simmons, the parent, do you?
22   Simmons personnel.                                            22     A And I need to clarify. Nelson helped me recall
23       Q Do you know if that was done by Jennifer Dawson         23 we don't have a parent company, we have individual
24   or Blair Staples?                                             24 companies. We operate as a parent leadership, but
25       A I do not know.                                          25 technically Simmons Foods, Simmons Prepared Foods, Simmons

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 1   Pet Foods, they're all --                                      1   behaviors for both parties so Simmons can continue to
 2       Q Standalone --                                            2   build and execute our business plan for producing and
 3       A -- they're not --                                        3   selling chicken in the food service distributive and
 4       Q -- corporations?                                         4   retail segments." Is that what you said?
 5       A Standalone corporations, right.                          5       A It is.
 6       Q You don't have consolidated tax documents?               6       Q You say, "I'm certain both parties have
 7       A They're somewhat related. Can I defer to                 7   adjustments they would like to see in an updated
 8   Nelson?                                                        8   agreement." Did I read that correctly?
 9          MR. PARKER: He's not testifying.                        9       A You did.
10       Q (BY MR. SIMMS) You can tell -- you can tell me          10       Q Then you say, "Please let me know if you would
11   later.                                                        11   like to propose adjustments to the agreement or would like
12       A Anyway, they're --                                      12   for us to do so." Now, when you say adjustments to the
13       Q For my purposes, when you're using certain              13   agreement, are you referring to Exhibit 6?
14   words, I want to make sure who you're referring to.           14       A Modifications to Exhibit 6.
15       A The only activity between Renaissance Man and a         15       Q Okay. Then you say, "Ron," so now you're
16   Simmons entity was with Simmons Prepared Foods.               16   specifically addressing Mr. Eisenman who you know is the
17       Q Okay.                                                   17   attorney for Mr. Walker and, again, is it your belief or
18       A I can clarify that.                                     18   poultry's belief that Mr. Eisenman prepared Exhibit 6?
19       Q I gotcha. You say Simmons and Herschel entered          19       A He and I had negotiated back and forth on --
20   into an agreement, then you say in parentheses, which was     20   with Mr. Walker being copied, but we had spent 12, 18
21   signed by you but not by Herschel and that Simmons has        21   months going back and forth on that.
22   acted in accordance to that agreement for several years.      22       Q All right. You say, "Please forward me the
23   Would it be that Simmons has acted in accordance with that    23   foundation agreement you would like for us to begin with."
24   agreement since sometime in late 2009, early 2010 up until    24   Are you seeking a new, different agreement or are you
25   the time you write this e-mail on October 25, 2017?           25   referring back to perhaps that one?
                                                        Page 143                                                            Page 145
 1          MR. KING: Objection. He's answered that                 1      A There were multiple versions of this memorandum
 2   question in a different fashion, but go ahead.                 2   of understanding and because we had gone back and forth
 3      A That is we have operated under the general                3   and so I was asking for Mr. Eisenman to forward me the
 4   assumptions of this agreement subject to slight                4   agreement that he wanted me to start with so that we both
 5   modifications over time and used this as a reference           5   could modify from the same agreement.
 6   document to pull back to how we set up the business when       6      Q Then you say -- then you provide dates you're
 7   there were questions on either side.                           7   available to meet; is that correct?
 8      Q (BY MR. SIMMS) Then you say that agreement,               8      A That is correct.
 9   you're referring to Exhibit 6, correct?                        9      Q And then you inform Mr. Eisenman and Mr. Walker
10      A I am referring to Exhibit 6.                             10   that you are copying Andrew, who's the internal corporate
11      Q States that both Herschel -- and when you refer          11   counsel for Simmons, and you tell them what he manages,
12   to Herschel, are you referring to Renaissance Man or to H.    12   correct?
13   Walker Enterprises?                                           13      A That's correct.
14      A In my mind, it is Herschel Walker and however he         14      Q All right.
15   -- whatever structure he's got it set up.                     15      A I normally would not copy Andrew on
16      Q All right. And Simmons are equity partners in            16   communications, so I wanted to explain why.
17   Renaissance Man Food Services. There you go again, using      17      Q I gotcha. Your intentions were to have a new
18   that word equity partners.                                    18   contract signed and executed in place for 2018?
19      A And that was a mistake.                                  19      A It was.
20      Q Okay. All right. What should it have said?               20      Q Nowhere in this e-mail do I see any reference
21      A That we have a profit sharing agreement.                 21   about the employment status of Mr. Staples?
22      Q Is that the 65-35?                                       22      A That was not contemplated.
23      A That is correct.                                         23      Q At that time?
24      Q All right. For 2018 and after, you -- I, you             24      A At that time it was my -- my belief is that we
25   say I, would like absolute clarity on the agreement of        25   would, because of the feedback I had gotten back from

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 1   John, that he and Herschel had cleared the air, I believe       1      A It is.
 2   was the term he had used, and they were getting back on         2      Q Do you know if that was true or not at the time
 3   track, that we were going to continue operating as we had       3   that statement was made?
 4   but resolving the conflict and the other issues that were       4      A I did not verify that.
 5   going on.                                                       5      Q It says, "The first couple of waffles produced
 6      Q Going on with this document, at the bottom it              6   went to restaurants in Alabama." Did I read that
 7   looks like you FYI Chip Miller?                                 7   correctly?
 8      A I did.                                                     8      A You did.
 9      Q Okay. What -- did you just forward your e-mail             9      Q And they were invoiced through Simmons?
10   to him or what was that that you did?                          10      A Yes.
11      A I forwarded my e-mail to Chip.                            11      Q In preparation for US Foods' entry, we created a
12      Q Okay. All right. Then is the next document                12   retail package film, display bins because things were
13   Mr. Herschel Walker's response?                                13   happening so fast and those are the invoices I was asking
14      A It is.                                                    14   to be paid." Did I read that correctly?
15      Q And he sends that at 9:59 a.m. on October 26th,           15      A You did.
16   the next day?                                                  16      Q Was that true?
17      A That is correct.                                          17      A I took it at face value.
18      Q Says he tried to call you a couple times to keep          18      Q Well, the invoices that Carol had submitted to
19   you informed of what had been going on, but you had not        19   Carmen dealt with waffles being sold retail through
20   called him back. Is that correct?                              20   convenience stores with Jett Foods, correct?
21      A I believe that is correct.                                21          MR. KING: Objection, assumes facts not in
22      Q Then he says he's taking a more active role to            22   evidence.
23   grow Renaissance Man. Is that what he says?                    23      A I do not have firsthand knowledge of what they
24      A It is.                                                    24   were for. I just know that I was told that they were not
25      Q Then he starts talking about H. Walker Foods is           25   for product sold by Renaissance Man Food Service.
                                                         Page 147                                                             Page 149
 1   a brand of Renaissance Man that Simmons invoices. Is that       1      Q (BY MR. SIMMS) Through its relationship with
 2   correct?                                                        2   poultry?
 3       A We have a branded product and I do believe it             3      A Renaissance Man -- any sales through Renaissance
 4   says H. Walker Foods on it that is represented by               4   Man Food Service which John was the general manager would
 5   Renaissance Man Food Service.                                   5   have been captured inside of that entity and it would have
 6       Q Then it says, "H. Walker Foods was created                6   had the administrative fee and the 65-35 split and the
 7   because of Marriott and US Foods as Sysco was tied in so        7   back office expense would have been borne by or provided
 8   tight with Renaissance Man through the CatMan." Do you          8   by Simmons. If there were sales that happened outside of
 9   know what he's talking about here?                              9   that entity and they were invoiced outside of that entity
10       A That, as with many customers, when you have a            10   and they were represented outside of that entity, I have
11   significant amount of product with a label on it, a brand      11   no knowledge of that. And that's what I -- what was
12   on it whether it's exclusive or not, sometimes they            12   presented to me was the invoice to be submitted and paid
13   believe that it's exclusive, so it's easier to create          13   by Renaissance Man Food Service was for activity outside
14   another label to sell to a competitor instead of that same     14   of Renaissance Man Food Service.
15   label going to a competitor.                                   15      Q After receiving this e-mail, did you inquire of
16       Q It says, "I've started trying to build a                 16   Carmen Seal for the backup that was supplied by Carol
17   stronger relationship with US Foods similar to the one he      17   Walker related to the request concerning the displays and
18   has with Sysco." Do you know if the relationship with US       18   other expenses concerning the sale of retail waffles?
19   Foods was being built through what entity?                     19      A I did not.
20       A It was my understanding it was through                   20      Q Do you know if you would have looked at that if
21   Renaissance Man Food Service.                                  21   you could have told who the entities were producing the
22       Q Not H. Walker Enterprises?                               22   film and producing the displays and what that entity may
23       A Not H. Walker Enterprises.                               23   be reflecting it related to?
24       Q It says, "Along with the chicken, we're now              24      A I do not. Again, it was $7,200.
25   selling waffles to US Foods." Is that what it says?            25      Q I understand.

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 1      A It was not a significant expense.                         1   because I don't know.
 2      Q My question to you and I'm trying to find out is          2       Q Did you call Mr. Walker and ask him specifically
 3   do you know if what is stated here to be true or not?          3   what he was referring to?
 4      A I took it at face value to be true.                       4       A I did not.
 5      Q And would it be true also that if these expenses          5       Q You can't rule out that he was referring to the
 6   were being processed outside the poultry and H.W.              6   behavior of Mr. Staples?
 7   Enterprises/Renaissance Man relationship, they would not       7       A I can't comment to --
 8   be reflected in the P&L?                                       8       Q Don't know one way or the other; is that fair?
 9      A If the sales did not pass through Renaissance             9       A That is fair.
10   Man, then they would not be reflected in the P&L.             10       Q Did you take this sentence to indicate that
11      Q And if a manager was looking at the P&L and saw          11   Mr. Walker was not happy with being told no?
12   an increase in expenses, they may question what those were    12       A I did take it that he was -- again, there was
13   related to and whether they were within the relationship      13   contention in the relationship and it added to the cadence
14   or not; is that fair?                                         14   of concern of things going on around Renaissance Man Food
15      A That is fair.                                            15   Service, the relationship between Simmons and Mr. Walker,
16      Q It says we finally got to the right people at US         16   the relationship between Mr. Staples and Mr. Walker's
17   Foods. Do you know if there had even been a meeting set       17   relationship between Mr. Staples and Simmons and all kinds
18   up with US Foods on October 26, 2017?                         18   of uncertainty that a face-to-face meeting needed to occur
19      A I took what he said to be at face value.                 19   to resolve.
20      Q All right. And have a very large meeting in              20       Q Then it looks like in this communication the
21   November to kick off the new relationship. Then he says       21   next thing you do is you forward Mr. Walker's e-mail
22   he would like -- he would love to go into 2018 with           22   response to Mr. Chip Miller?
23   Simmons feeling comfortable with what he's trying to do       23       A I did.
24   with Renaissance Man. Says I'm being told no on many          24       Q Why are you forwarding that to Mr. Miller?
25   things and gotten different answers and I thought I was       25       A Mr. Miller is my vice president -- senior vice
                                                        Page 151                                                          Page 153
 1   the CEO of Renaissance Man. Do you know what Mr. Walker        1   president of sales and Renaissance Man Food Service is a
 2   is referring to about being told no on many things or          2   customer of Simmons Prepared Foods so he would help from
 3   gotten different answers and he thought he was the CEO,        3   that perspective manage the relationship.
 4   what he's referring to specifically?                           4       Q You had also forwarded your e-mail to
 5       A I assumed it was on the issue with Matt and wing         5   Mr. Eisenman and to Andrew and to Mr. Walker and to
 6   pricing and on payment of the invoices for the $7,200          6   Mr. Miller, correct, and now you're forwarding to him the
 7   related to the waffles, that as CEO he would have said --      7   response you got to your e-mail?
 8   if he had said pay it, that it should have been paid.          8       A I forwarded to Mr. Miller the response to the
 9       Q Without being questioned?                                9   e-mail, yes.
10       A That's what I read into this. I did not have a          10       Q And Mr. Miller was Mr. Staples' supervisor with
11   specific conversation with Mr. Walker about that specific     11   poultry?
12   comment.                                                      12       A Mr. Miller was the -- is the senior VP of sales
13       Q Do you know if Mr. Walker is referring to               13   for Simmons.
14   Mr. Staples' policing with respect to the waffle invoice      14       Q And in the chain of command, Mr. Staples would
15   expense submission and telling Ms. Carmen Seal, no, don't     15   be reporting to him as his supervisor?
16   pay it?                                                       16       A In the organizational structure, yes. In
17       A I don't know that. I do know that had Mr.               17   reality, there was nothing about that organizational
18   Staples said pay it, Ms. Seal would have still brought it     18   structure that really mattered.
19   to Mr. Miller and myself saying I don't understand why I'm    19       Q Going on -- let me ask you this. We produced
20   being told to pay this because that is the -- that is her     20   documents today and don't the personnel records of poultry
21   job function, part of it, to make sure things tick and tie    21   indicate that Mr. Miller is Mr. Staples' supervisor?
22   out.                                                          22       A On paper, yes.
23       Q Certainly Mr. Staples saying no could be what           23       Q All right.
24   Mr. Walker is referring to, correct?                          24       A Just as Mr. Miller would have been Mr. Rogers',
25       A It could have been. I can't speculate, though,          25   Mike Rogers', supervisor in the previous arrangement.

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 1      Q It looks like on November the 1st you receive              1   would be consistent with my understanding.
 2   another e-mail from Mr. Walker, Mr. Eisenman is copied,         2       Q Do you know if those were for the waffles for
 3   Andrew is copied and now Julie Blanchard is copied at her       3   Jett Foods?
 4   address at H. Walker Enterprises. Do you see that?              4       A That is my understanding.
 5      A I do.                                                      5       Q And it goes on to say that Herschel has had
 6      Q Do you know why Julie Blanchard was being copied           6   correspondence with you explaining that H. Walker is a
 7   at H. Walker Enterprises and in what capacity was she           7   brand of Renaissance Man and not a new company?
 8   being copied in?                                                8       A Yes.
 9      A I do -- I do not.                                          9       Q Why would poultry need to be told that?
10      Q Are you aware or is poultry aware that                    10       A Only there was discussion about -- again, I've
11   Ms. Blanchard had penned an e-mail to Carol in Savannah        11   not seen this, but there was discussion around H. Walker
12   prior to November the 1st, 2017 related to the waffle          12   Enterprises selling product independent of Renaissance Man
13   incident?                                                      13   Food Service and I would presume it's to clarify or try to
14      A I am not.                                                 14   clear up some confusion of the H. Walker brand versus an
15      Q Well, let's look at them. Renaissance Man                 15   H. Walker Enterprise sale and whether the confusion of who
16   document 303. Are we on Exhibit 20?                            16   owns -- who owed what was based on that terminology
17          (WHEREUPON, Exhibit 20 was marked for                   17   because there was a lot of H. Walker things that go on in
18   identification.)                                               18   discussion.
19          MR. KING: We are.                                       19       Q And then Ms. Carol Walker asked to Ms. Carmen,
20      Q (BY MR. SIMMS) While we're looking for an extra           20   it was never -- it doesn't show it was sent or received by
21   copy, you can look at it. Have you ever seen that              21   poultry?
22   document before, Mr. Jackson?                                  22       A Right.
23      A I don't recall reading this specific e-mail. I            23       Q "Please let me know if this is what you are
24   do not recall reading this specific e-mail.                    24   wanting and if it doesn't show the forwarding." Do you
25      Q Would that copy of that e-mail have been in               25   know what that's talking about?
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 1   poultry's possession, because was that sent to Ms. Seal?        1      A I know Ms. Carmen Seal asked for backup
 2       A It is addressed to Ms. Seal. I do not see a               2   documentation for the sale if -- and what she needed was
 3   letter in the e-mail where it was ever sent to Ms. Seal.        3   invoiced product out of Renaissance Man Food Service for
 4       Q And it looks like the document indicates that on          4   that product, for those waffles, and if they were going to
 5   January the 3rd of this year, which today is the 14th,          5   those customers and those bins were used, then that was a
 6   Ms. Walker forwarded this e-mail to Mr. Herschel Walker         6   Renaissance Man expense and income or loss. It could have
 7   and to Ms. Julie Blanchard. Do you see that?                    7   been a loss.
 8       A I do.                                                     8      Q Have you seen Exhibit 21 which is Renaissance
 9       Q Do you -- and you don't know if -- I'm trying to          9   Man 304? Actually, to be fair, it says 312.
10   make sure I understand now whether the e-mail of               10          (WHEREUPON, Exhibit 21 was marked for
11   October 31, 2017 was ever sent to Ms. Carmen Seal at           11   identification.)
12   poultry?                                                       12          MR. SIMMS: Do you want to staple these
13           MR. PARKER: He already said he doesn't know            13   together? Actually, if you want to, you can take 20 and
14   that.                                                          14   staple all those to it and then share it with Mr. King so
15       A I've never seen this and I see nothing here to           15   he can look at it before I start asking questions. It
16   show that it was ever sent.                                    16   looks like this is all together.
17       Q (BY MR. SIMMS) I gotcha. Now, this e-mail is             17          MR. PARKER: I actually think it's a couple of
18   referring to display bins related to Peachtree Packaging.      18   different e-mail chains.
19   Do you see that?                                               19          MR. SIMMS: Are they?
20       A I do.                                                    20          MR. PARKER: Yeah, these first three pages you
21       Q Do you know if the backup that Ms. Carol Walker          21   can see it ends at the top there.
22   provided to Carmen Seal back in early October 2017             22          MR. SIMMS: Okay. Then --
23   included invoicing from Peachtree Packaging?                   23          MR. PARKER: Do you still want to mark it all
24       A My understanding that it was for display bins            24   together?
25   for the waffles. So I do not recall the vendor, but that       25          MR. SIMMS: No, you can separate it and then

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 1   we'll put the sticker on the next version. Did I pull one       1      A Yes.
 2   off in there. Did I put a sticker on that, 21?                  2      Q All right. So on November 27th, Carmen Seal,
 3          THE WITNESS: You did.                                    3   and she's referencing ACH. What does ATH stand for? Is
 4          MR. SIMMS: And then Exhibit 22 is going to be            4   that a clearing account?
 5   the next set.                                                   5      A Yes.
 6          (WHEREUPON, Exhibit 22 was marked for                    6      Q Does it deal with the poultry and H. Walker
 7   identification.)                                                7   Enterprises/Renaissance Man pursuant to rule -- I mean the
 8          MR. PARKER: Yeah, and that still doesn't get us          8   Exhibit Number 6?
 9   through the whole batch. We'll need another exhibit. Do         9      A That would be how she would send funds,
10   you want to mark that one and then I'll show it to Mr.         10   Renaissance Man funds to the Savannah office or to Carol.
11   King?                                                          11      Q All right. So Carmen is telling Ms. Carol that
12          MR. SIMMS: That's 22?                                   12   she sent her money on November the 8th for Peachtree
13          MR. PARKER: That will be 22.                            13   Packaging invoices as Herschel had said that he was going
14          MR. SIMMS: All right.                                   14   to pay us, being poultry, back for those; is that correct?
15          MR. PARKER: That will be Exhibit 23 and then            15      A That's incorrect.
16   this will be Exhibit 24.                                       16      Q Okay.
17          (WHEREUPON, Exhibit 23 was marked for                   17      A Herschel said he would pay Renaissance Man Food
18   identification.)                                               18   Service, not poultry.
19          MR. SIMMS: Thank you. All right.                        19      Q Okay. But is that what Ms. Carmen Seal is
20          MR. PARKER: Hold on. Hold on.                           20   saying?
21          MR. SIMMS: I'm sorry.                                   21      A She is saying that Herschel agreed to deduct the
22          MR. PARKER: You actually had some duplicates in         22   value of that invoice from his year end distribution so
23   there, so what we've done is we've got Exhibit 21 which is     23   that that invoice would go ahead and get paid.
24   RMFS304 through 306, Exhibit 22 is RMFS310 to 311 and          24      Q And then she says, "Did you just hold the money
25   Exhibit 23 is RMFS312.                                         25   and send Herschel's check to Peachtree? If that is the
                                                         Page 159                                                            Page 161
 1          MR. SIMMS: What happened to 307?                    1        case and you sent Herschel's check to Peachtree, I would
 2          MR. PARKER: I gave that back to you. That was       2        delete the money I show he owes Renaissance Man and will
 3   a duplicate of what is Exhibit 21.                         3        not need to send you an ACH yet until we use up the
 4          MR. SIMMS: Okay. All right. Okay.                   4        credit." Did I read that correctly?
 5          MR. KING: So we're up to Exhibit 23 at this         5            A That's correct.
 6   point, right?                                              6            Q And then it looks like Ms. Walker responds at
 7          MR. PARKER: We're through 23.                       7        1:26 and says she wasn't aware that Ms. Seal sent
 8          MR. SIMMS: What's the first one I showed you        8        anything, correct?
 9   that you have never seen before, what exhibit number was   9            A That's correct.
10   it?                                                       10            Q All right. And then about four minutes later,
11          MR. PARKER: That was Exhibit 20.                   11        Ms. Walker appears to e-mail herself and says, "Carmen,
12       Q (BY MR. SIMMS) And that's the document 303,         12        can you please tell me what extra money I have? I'm not
13   correct, Renaissance Man 303?                             13        aware of any extra. Everything I e-mail you was for the
14       A That's correct.                                     14        invoices, but I will check all checks and see what posted
15       Q All right. Document 304 through 3 what is           15        and see if I can see the deposit." Did I read that
16   Exhibit 20 --                                             16        correctly?
17       A 21 is 303 through 306 -- 304 through 306. 304,      17            A Yes.
18   5 and 6.                                                  18            Q But there's no indication that Ms. Carmen Seal
19       Q Has -- have you seen these documents before         19        received that, correct?
20   today?                                                    20            A I'm looking for a later response from Ms. Seal.
21       A I have not.                                         21        There's no indication on that in that chain.
22       Q Now, it appears that 304 contains a                 22            Q All right. Then going to page 305, that is a
23   communication from Ms. Carmen Seal to Ms. Carol Walker on 23        breakdown of Ms. Carol Walker's request to Ms. Carmen Seal
24   November 27th, 2017 and then you have Ms. Walker's        24        where she breaks down what the $12,138.76 request pertains
25   response to herself at the top. Do you see that?          25        to, correct?

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                                                         Page 162                                                           Page 164
 1      A Correct.                                                   1      A It is.
 2      Q And there's a reimbursement for Herschel for               2      Q Do you know if at the time this was penned on
 3   $7,095, and is that related or identified as paying             3   October 31, 2017 if H. Walker Enterprises or Renaissance
 4   Peachtree Packaging?                                            4   Man even had a meeting with US Foods to discuss the sale
 5      A That was the invoice for Peachtree, the invoice            5   of waffles?
 6   that was -- been in question.                                   6      A I have no idea.
 7      Q All right. Now, Ms. Walker indicates that she              7      Q And that these are being marketed under the H.
 8   works for Renaissance Man Food Services and H. Walker           8   Walker Foods brand, that's what Ms. Blanchard is telling
 9   Enterprises, LLC in the body of her e-mail, correct, or         9   Ms. Carol to tell to Ms. Carmen; is that correct?
10   her e-mail signature?                                          10      A That's correct.
11      A That is what her signature says.                          11      Q There is no mention in this communication that
12      Q All right. Let's go to 307.                               12   Ms. Carol Walker is to send to Ms. Carmen Seal about Jett
13         MR. PARKER: We don't have a 307 in front of us.          13   Foods, is there?
14      A So 307, 8 and 9 should be a repeat of --                  14      A I do not see anything from -- I do not see Jett
15      Q (BY MR. SIMMS) Yeah, that's what it is.                   15   Foods specifically mentioned.
16      A 304, 5 and 6.                                             16      Q Right. Do you know if Carol Walker sent this
17      Q Okay. Have you got 311?                                   17   communication to Carmen Seal?
18         MR. PARKER: No.                                          18      A I have never seen this and I've not had any
19      A I have a 310 and 11, yes.                                 19   communication with Carmen that it was sent to her.
20      Q (BY MR. SIMMS) You have 11?                               20      Q All right. Let me show you what is Renaissance
21      A I do.                                                     21   Man 25.
22      Q Is that -- is that an indication that it is by            22         THE COURT REPORTER: We skipped 24.
23   fax? It's kind of upside down numbers, but do you know         23         MR. KING: No, it's Ren Man 25 is Exhibit 24.
24   what that (912)961-0012, would that be --                      24         MR. SIMMS: It's what?
25      A I would say that is a fax of the check.                   25         MR. PARKER: No, no, we've skipped Exhibit 24.
                                                         Page 163                                                           Page 165
 1      Q Okay. Do you know if that check was ever                   1          MR. SIMMS: Okay. I'm sorry, I was thinking
 2   actually ever presented to Peachtree or not? It just            2   that was --
 3   shows the front of it, it doesn't show if it was processed      3          THE WITNESS: This is 23 here.
 4   or not.                                                         4          MR. SIMMS: This is 24?
 5      A I do not.                                                  5          MR. PARKER: No, it's 23.
 6      Q It references invoice numbers 11990-112343,                6          MR. SIMMS: Have we not gone over this? Oh, we
 7   correct?                                                        7   haven't gone over 24.
 8      A Correct.                                                   8          MR. PARKER: We're saying we need to mark this
 9      Q Do you have 312?                                           9   one in your hand Exhibit 24 rather than 25.
10      A I do.                                                     10      Q (BY MR. SIMMS) We changed it on the numbering.
11      Q All right. And 312 --                                     11   I gotcha. I appreciate that. Have you ever seen this
12          MR. PARKER: Which for the record is Exhibit 23.         12   before, Exhibit 24?
13      Q (BY MR. SIMMS) I'm sorry, 23. It appears to be            13          (WHEREUPON, Exhibit 24 was marked for
14   an e-mail that Ms. Blanchard prepares to Carol Walker on       14   identification.)
15   October 31, 2017 at 6:44 a.m. Do you see that?                 15      A I don't recall seeing it.
16      A I do.                                                     16      Q Down at the bottom it indicates to contact Julie
17      Q And she is providing details to Ms. Carol for             17   Blanchard and gives her e-mail address as an H. Walker
18   Ms. Carol to provide to Carmen to clarify confusion caused     18   Enterprise e-mail address, correct?
19   by the error made in the PO to Peachtree Packaging for the     19      A Correct.
20   Famous 34 waffle display bins; is that correct?                20      Q Did poultry buy the explanations provided by Ms.
21      A That's correct.                                           21   Blanchard or Mr. Herschel Walker or Ms. Carol Walker about
22      Q And then she says that RMFS has been selling              22   the sale of the waffles and the invoicing that was
23   Food Service waffles and in addition they've launched          23   associated with it?
24   Famous 34 retail waffle to be distributed through US           24          MR. PARKER: Object to the form of the question.
25   Foods. Is that what she says?                                  25   You can answer.

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                                                       Page 166                                                           Page 168
 1       A The only facts that mattered were, A, were there        1   to provide to Carmen seal?
 2   product codes in Renaissance Man Food Service for the         2          MR. PARKER: Object to the form of the question.
 3   waffles in question, did sales occur or attempts for sales    3   You can answer.
 4   occur for those waffles using those display bins, and if      4       A The dates are two days apart, yes.
 5   they did, that would have been a Renaissance Man Food         5       Q (BY MR. SIMMS) You keep trying to make light of
 6   Service business activity. If there was no invoicing or       6   the waffle expense, that it's only $7,200?
 7   activity around the sale through Renaissance Man, then it     7       A I'm not making light of it, it was not a
 8   would not be Renaissance Man expense.                         8   significant business issue.
 9       Q And it would be improper to submit that for             9       Q Why did Mr. Walker and Mrs. Blanchard go to the
10   payment?                                                     10   extremes to explain all this if it was not important?
11       A Or an error. It wouldn't have been a payment           11          MR. PARKER: Objection, calls for speculation.
12   that Renaissance Man Food Service should be paying if the    12   You can answer if you know.
13   -- if the revenue and the product aren't run through         13       A It was my perception that there were -- it was a
14   Renaissance Man.                                             14   lot of noise in the relationship between Mrs. Blanchard
15       Q I guess what I'm getting to is this -- did             15   and Mr. Staples, between Mr. Walker and Mr. Staples,
16   poultry investigate to determine if the explanations being   16   between Simmons and Mr. Walker, and Simmons and Mr.
17   offered by Ms. Blanchard or Mr. Walker or Ms. Carol Walker   17   Staples and issues that came up then, they felt an
18   were truthful?                                               18   obligation to explain and overexplain, but that, again,
19       A There was no investigation. It took -- again, I        19   was indicative of the relationship not being where it
20   took them both at their word. It was 72 -- $7,300, so it     20   needed to be to operate right as a business, which they
21   was a minor expense, a lot of activity, a lot of things      21   called for the board meeting and face-to-face discussion
22   going on at the time and to me it was more indicative of     22   to try to resolve those.
23   the nature of the relationship between Mr. Staples and       23       Q (BY MR. SIMMS) And one of the issues too was,
24   Mr. Walker and Mr. Staples and Mrs. Blanchard and the        24   and we already documented this, Mr. -- and you agreed with
25   status of how well they were or were not getting along       25   me that Mr. Walker does not like -- he doesn't like being
                                                       Page 167                                                           Page 169
 1   than it was the specifics about that product being sold or    1   told no?
 2   that $7,300 invoice.                                          2          MR. PARKER: Objection, that mischaracterizes
 3      Q All right. You would agree with me that these            3   his testimony. He didn't say that.
 4   communications and documents I just showed you occurred       4      A I did not say he did not like being told no. I
 5   prior to Mr. Walker's November 1, 2017 e-mail to you          5   acknowledged in his e-mail that he addressed that he
 6   that's in an exhibit? You'll have to find Simmons 159.        6   didn't -- he was concerned about being CEO and not having
 7           MR. PARKER: First of all, look at those.              7   things executed as he had instructed.
 8      A Okay. So what would you like to know?                    8      Q (BY MR. SIMMS) And on December 12, 2017, did
 9      Q (BY MR. SIMMS) The communications that I just            9   you and Mr. Walker discuss that Mr. Walker did not like
10   showed you or the documents from Renaissance Man predate     10   his expenses that he submitted to poultry being paid when
11   Mr. Walker's e-mail to you contained on page 159 of the      11   Mr. Staples was told not to pay them?
12   Simmons produced document that's an Exhibit.                 12      A When did you ask that would have --
13           And what exhibit number is that, Talley?             13      Q December the 12th meeting, the board meeting.
14           MR. PARKER: Exhibit 18.                              14   Did Mr. Walker indicate displeasure or that he was angry
15           MR. SIMMS: Okay.                                     15   with Mr. Staples because Mr. Staples was saying no to the
16           MR. PARKER: For the record, the e-mail you're        16   submission of expenses?
17   referring to is part of a larger e-mail thread that spans    17      A The waffle discussion in the board meeting did
18   Simmons 157 through Simmons 161.                             18   not occur until the very end of the board meeting and it
19      Q (BY MR. SIMMS) You need to go to 159.                   19   was in a conversation between myself and Ms. Blanchard,
20      A Okay.                                                   20   not with Mr. Walker.
21      Q Look at the top. This is Mr. Walker                     21      Q And the termination of Mr. Staples did not occur
22   communicating with you again on November the 1st, correct?   22   until the end of that meeting either, correct?
23      A Yes, 10:33 a.m.                                         23      A Mr. Walker led the board meeting with an opinion
24      Q And that's what, one or two days after Ms.              24   that Mr. Staples needed to be terminated.
25   Blanchard sends a full-blown explanation to Carol Walker     25      Q Okay. Have you read Mrs. Blanchard's notes from

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 1   that meeting?                                                  1       A He did not.
 2       A I have not.                                              2       Q And now he says he has closed a big deal with US
 3       Q Okay. All right. Let's get back to page 159              3   Foods. And, again, do you know if they'd even met with US
 4   here. Mr. Walker is giving dates to meet, correct?             4   Foods on November 1st, 2017?
 5       A Correct.                                                 5       A I took him at his word.
 6       Q And then it goes a step further and he says he           6       Q Okay. Then you reply; is that correct?
 7   wanted to see if you, David Jackson, could change the          7       A I did.
 8   RMFS/Simmons report that John, is he referring to Mr.          8       Q And do you include -- you begin including Julie,
 9   Staples?                                                       9   Ms. Blanchard, at H. Walker Enterprises and why did you
10       A He is.                                                  10   include her in your reply?
11       Q Has access. Then it says to view only the               11       A Because she was in the e-mail that was sent to
12   margins with pounds sold and not the actual P&L. That's       12   me.
13   what he asked of you in this e-mail; is that correct?         13       Q Okay.
14       A He did.                                                 14       A I replied to all.
15       Q Did you and Mr. Walker discuss why he did not           15       Q You tell Mr. Herschel Walker that your
16   want Mr. Staples to have access to the profit and loss        16   experience has shown that removing information from or
17   statements on this relationship anymore?                      17   isolating a leader instead of resolving the differences
18       A We did not.                                             18   will cause more damage to the organization. We can do as
19       Q Do you know if it was because Mr. Staples could         19   you wish, but I believe it will drive John to be less
20   act as policeman and question expenses being submitted to     20   productive for Renaissance Man Food Services. Are you
21   Simmons?                                                      21   referring to the request that Mr. Staples not be given
22          MR. PARKER: Objection, calls for speculation.          22   access to the profit and loss statements anymore?
23   He just said they didn't have this conversation.              23       A I am.
24       A I don't know what Mr. Walker, his motivation. I         24       Q And what -- can you expand on what you're trying
25   do know that it did not surprise me that there would be a     25   to indicate here?
                                                        Page 171                                                           Page 173
 1   request something of that nature because the relationship      1       A I sensed from the request that Mr. Walker was
 2   between Mr. Staples and Mr. Walker had severely                2   extremely frustrated with Mr. Staples and his approach to
 3   deteriorated.                                                  3   address that frustration was to remove information from
 4       Q (BY MR. SIMMS) And Mr. Walker is not wanting             4   Mr. Staples' purview and I was trying to communicate that
 5   Mr. Staples to have access to information, one of which        5   if there was a true performance issue that that needed to
 6   contains expenses, correct?                                    6   be addressed, it didn't need to be to isolate someone or
 7       A Margins would show what you made on an                   7   to take away their access to information and leave them
 8   individual product and the expense would be associated         8   working in the organization because they would serve to
 9   with that.                                                     9   poison the organization.
10       Q But the P&L would show the expenses?                    10       Q Well, what performance issue had Mr. Walker
11       A P&L would show line item expenses, yes.                 11   raised to you before November 1st, 2017 concerning John
12       Q Mr. Walker is saying it's okay for him to look          12   Staples?
13   at the margins on the pounds, but I don't want him seeing     13       A I don't know that Mr. Walker had conveyed a
14   the actual P&L; isn't that what he's saying?                  14   performance issue. I know that I had in my knowledge Mr.
15       A That is what he requested.                              15   Staples' description of events and interaction with
16       Q Then he goes on to start talking about hiring           16   Mr. Walker and Ms. Blanchard and I think I had that in my
17   people; is that right?                                        17   mind as I was responding to this and having that context
18       A It is.                                                  18   in my mind.
19       Q And that's one of the concerns you had raised           19       Q So it wasn't performance based, it was
20   before. Do you know if this concern pertained to the          20   disagreement over what's taking place or what activities
21   George -- to George and to the niece and to the               21   or how the business is being run?
22   telemarketers?                                                22       A If I am CEO and I strongly disagree with my
23       A He did not detail who those people were.                23   general manager and want to reduce access to the P&L, I
24       Q Did he indicate that Julie Blanchard was a              24   would lump that into performance. There is something
25   person hired in this e-mail?                                  25   about how he is performing or she is performing her job

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 1   that I no longer find acceptable and I need to take            1   on that exact issue, correct?
 2   action.                                                        2       A Yes.
 3       Q If that issue was tattle-taling or policing you          3       Q And do you know if Mr. Staples had been provided
 4   for doing something improper, that wouldn't have anything      4   a copy of Exhibit 6 so he would have clarity in his mind
 5   to do with performance, would it?                              5   on how to handle situations related to the submission of
 6          MR. PARKER: Objection, form.                            6   expenses by Renaissance Man and/or H. Walker Enterprises?
 7       A I don't know what that issue was. I just know            7       A I'm unaware if he had received a copy of that or
 8   that there were issues. As a general manager managing an       8   not.
 9   entity solely owned by an individual, your job is to           9       Q I mean, isn't the bottom line that Mr. Staples
10   manage that entity and make sure that you've got -- manage    10   was following the rule regarding the retail waffles with
11   the entity and make sure that the ownership is satisfied      11   Jett Foods and that angered Mr. Walker and he terminated
12   with how you're doing that, that is performance.              12   him?
13       Q And within days of this e-mail, you received one        13       A I do not believe that Mr. Staples was terminated
14   from Mr. Walker where he saw fit to put in writing that he    14   over a $7,300 invoice for display bins, I do not. In my
15   didn't like being told no?                                    15   mind, he was terminated over a failure to manage the
16       A Okay.                                                   16   relationship between Mr. Walker and Renaissance Man Food
17          MR. PARKER: Objection --                               17   Service because he -- as he told me, he tried to elbow out
18       Q (BY MR. SIMMS) Correct?                                 18   Mrs. Blanchard from being involved in Renaissance Man Food
19          MR. PARKER: Objection, mischaracterizes his            19   Service, didn't like her getting involved in selling
20   testimony.                                                    20   product and that he seemed to be more focused on revenue
21       A He did not --                                           21   that he was steering towards himself and his -- I didn't
22       Q (BY MR. SIMMS) I mean, it says what it says,            22   know himself, but his family through the brokerage firm
23   correct?                                                      23   with his wife and daughter than he was in trying to manage
24       A It says what it says, but again, I saw that as          24   the Renaissance Man Food Service enterprise which is what
25   just more -- I would call them red flags that the             25   he was hired to do.
                                                        Page 175                                                            Page 177
 1   relationship is sour and that it needed to be resolved.        1      Q Well, he was managing the enterprise because
 2       Q And the way it got resolved was Mr. Staples lost         2   Carmen Seal calls him, he takes her phone call, she asked
 3   his employment?                                                3   him and inquires of him about what the rules are about
 4       A Well, the intention was to -- my intention to go         4   these waffle invoice expenses, correct?
 5   to the board meeting and discuss what -- whatever the          5      A Correct.
 6   surface, whatever those issues were and try to figure out      6      Q And he responds to and he correctly follows the
 7   how we're going to resolve those, but all the while I had      7   rule and he tells her do not pay that?
 8   a growing concern of how the relationship was evolving,        8      A He did.
 9   John's interest and his concern over operating Renaissance     9      Q And poultry would agree that that's what the
10   Man Food Service versus the brokerage firm. There was all     10   rule was and that's what he should have done, correct?
11   kinds of noise going on about where John's interests lie      11      A I would agree from any business structure that
12   and what his motivation was.                                  12   you don't have expenses in one entity and revenue in the
13       Q And you had interest in having a written                13   other, that's not --
14   agreement with Renaissance Man and/or H. Walker               14      Q And that is explained and set forth in the rules
15   Enterprises that would clearly define how expenses were       15   in Exhibit C -- I mean, excuse me, Exhibit 6, correct?
16   being submitted to be paid for and processed by poultry,      16      A I don't know that I can find an exact paragraph,
17   correct?                                                      17   but I think that is the nature of the business and how we
18       A Not by poultry, what it's --                            18   have conducted it over the time of the partnership or the
19       Q On behalf of Renaissance Man?                           19   agreement.
20       A What expenses were legitimate for Renaissance           20      Q You did not agree with Mr. Walker that Mr.
21   Man Food Service. I am a strong believer in organization,     21   Staples should be denied access to the profit and loss
22   there should be rules and structure and we should follow      22   documents?
23   those and that creates clarity and then it keeps you from     23      A I did not.
24   getting in those issues.                                      24      Q And as of November the 1st, 2017, did you or
25       Q And in your mind, there was clarity in Exhibit 6        25   poultry know that Mr. Staples was being contemplated by

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 1   Mr. Walker or H. Walker Enterprises or Renaissance Man        1       Q Does this relate back to the waffle matter?
 2   that Mr. Staples will be terminated?                          2       A It did.
 3          MR. PARKER: Objection, assumes facts not in            3       Q Any other expenses besides the waffle matter?
 4   evidence. You can answer.                                     4       A It was an effort to put a structure in place so
 5       A I did not -- I was not aware of an intent to            5   any future expenses could be clearly defined.
 6   terminate until it was discussed in the board meeting.        6       Q You are wanting a signed agreement, correct?
 7       Q (BY MR. SIMMS) On this same document, 159, you          7       A I am. It really was in response to the
 8   get a response from Mr. Chip Miller to you. I didn't see      8   conversation that Matt had conveyed he had with Herschel
 9   him copied, but you get one and it's not until                9   around the -- saying that the agreement hadn't been signed
10   November the 15th; is that correct?                          10   so it wasn't in force.
11       A That's correct.                                        11       Q All right. You have a meeting with Mr. Staples
12       Q It says, "Matt Free mentioned you have an              12   on December the 11th; is that right?
13   upcoming meeting with Herschel and Mr. Miller wants to       13       A I did.
14   know do you need anything for the meeting?" Is that          14       Q Who all was present in that meeting?
15   correct?                                                     15       A I'll have to review that, the invitation.
16       A That's correct.                                        16       Q Was that an in-person meeting or was it a
17       Q What were you and Mr. Miller discussing that you       17   conference call?
18   would need?                                                  18       A I believe Mr. Staples came by my office.
19       A In prior and subsequent meetings, we -- I would        19       Q Do you recall who was present besides you or
20   bring to the board meeting sales data, profit and loss       20   him?
21   statements, balance sheets, other information that we        21       A I believe Mr. Miller and Mr. Rose.
22   would go over to discuss how the business is being           22       Q If it was an in-person meeting, is there
23   conducted and Mr. Miller would help put that information     23   documentation showing that the meeting was set up?
24   together.                                                    24       A There was an invite, if I recall correctly. I
25       Q It looks like on page 160, is that part of the         25   try to keep everything on my calendar.
                                                       Page 179                                                            Page 181
 1   exhibit?                                                      1      Q What was discussed during that meeting?
 2       A It is.                                                  2      A The waffle incident, again, was described in
 3       Q The date of November -- excuse me, December the         3   detail, the list of things I discussed with Mr. Staples,
 4   12th is not decided until the end of November and on          4   the list of things that I would try to resolve and bring
 5   November the 27th, 2017; is that correct?                     5   clarity to at the board meeting so that we would have --
 6       A That is correct.                                        6   we would have it in writing so that we could move forward
 7       Q Then you respond on page 161 with the topics you        7   without an opportunity for a misunderstanding.
 8   want to discuss at the board meeting on December the 12th,    8      Q Anything else?
 9   correct?                                                      9      A Nothing else that I can recall.
10       A That is correct.                                       10      Q During that meeting with Mr. Staples on
11       Q Do you list a category of the termination of Mr.       11   December 11th, did the Mr. Staples indicate that he needed
12   Staples?                                                     12   poultry to protect him with respect to Mr. Walker?
13       A I did not.                                             13      A It was my recollection that Mr. Staples conveyed
14       Q All right. Then you've got paragraph three, and        14   that if he thought Mr. Walker was doing something illegal
15   by the way, were you ranking these in importance or any      15   with the waffles or that he was trying to do something
16   rhyme or reason to how you ranked them?                      16   that was wrong that he wanted to know if -- where Simmons
17       A No. They were just issues that I would like to         17   would stand on that.
18   have discussed.                                              18      Q I'm sorry, say that again.
19       Q Number three is, "Segregation of business              19      A He wanted to know where Simmons would stand.
20   expenses of H. Walker Foods versus Renaissance Man." Did     20      Q And what was the response by Simmons?
21   I read that correctly?                                       21      A I'm trying to make sure I recall exactly what I
22       A That is correct.                                       22   would've said to him, that if we had done -- if he is
23       Q When you say H. Walker Foods, do you mean H.           23   acting in an ethical manner and is doing nothing wrong and
24   Walker Enterprises, LLC?                                     24   calling out or raising an issue that was unethical,
25       A I did.                                                 25   that -- I'm trying to recall exactly what I said,

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 1   something to the effect that we would treat him right.         1       A That is correct.
 2       Q Did you go review any policies or rules of               2       Q Is there anyone else in poultry that this
 3   Simmons in responding to Mr. Staples?                          3   document 107 and 108 was sent to at poultry besides you?
 4       A I did not.                                               4       A I do not believe so, no.
 5       Q Now, would it be poultry's position that if an           5       Q Did you forward it to anyone at poultry after
 6   employee sensed that something was taking place that was       6   you received it?
 7   unethical, to report it immediately and not wait for an        7       A I do not recall forwarding it to anybody.
 8   extended period of time before reporting it?                   8       Q Before you received it on whatever date that
 9       A It would be.                                             9   document shows you received it by e-mail, had you
10       Q And why would that be the rule?                         10   discussed with Mr. Chip Miller what was going to take
11       A So we could understand what was happening and           11   place as set out in this document?
12   address it immediately.                                       12       A I recall returning from the board meeting and
13       Q And did Mr. Staples report the situation                13   then having a discussion with Mr. Miller of what we would
14   revolving around the waffles and the submission of the        14   do.
15   expense around the time it happened?                          15       Q What did you tell him you would do? Was that in
16       A Ms. Seal reported it and then Mr. Staples               16   writing or was that oral?
17   followed up with what -- confirming and repeating what was    17       A That would be a verbal conversation.
18   already told to us by Ms. Seal.                               18       Q Okay. Tell me what you told Mr. Miller was
19       Q And I know that poultry may not have been privy         19   going to be done.
20   to it, but do you know if from maybe learning from Mr.        20       A That we were going to transition the leadership
21   Staples or Mr. Walker that Mr. Walker asked Mr. Staples       21   of Renaissance Man Food Service from Mr. Staples to
22   who was telling Simmons not to pay expenses and Mr.           22   Mr. Blaine Walker.
23   Staples informed Mr. Walker that it was him?                  23       Q Did you tell Mr. Miller that Ms. Kim Staples
24       A I don't recall exactly whether John had made            24   would no longer have any ownership interest in the food
25   that statement.                                               25   broker business and that her employment with the food
                                                        Page 183                                                            Page 185
 1       Q And does poultry know if that communication          1       broker business would be over with?
 2   between Mr. Walker and Mr. Staples occurred prior to the   2           A That was not an issue that would have been of
 3   date Mr. Walker put in his e-mail that he was CEO and the  3       concern to Chip and it was not discussed with Chip.
 4   reference about being told no?                             4           Q Same with respect to Blair Staples?
 5           MR. PARKER: I'm going to object because he just    5           A That is correct.
 6   said he doesn't know if the conversation occurred.         6           Q But ultimately, Mr. Miller is the one who
 7       A I can't answer that.                                 7       terminated Ms. Blair Staples, correct?
 8           MR. SIMMS: Okay. I'm going to take a quick         8           A He did.
 9   break. I may be getting close to being finished.           9           Q But you didn't discuss it with him until the day
10           (Short break from 3:39 p.m. to 3:49 p.m.)         10       he terminated her?
11           MR. SIMMS: We are on Exhibit 25; is that          11           A After -- at some point I did discuss it, but I
12   correct?                                                  12       don't recall doing that immediately after the board
13           MR. PARKER: The next exhibit would be             13       meeting. I think it was after this document came out,
14   Exhibit 25.                                               14       sometime between here and year end.
15       Q (BY MR. SIMMS) Let me show you Exhibit 25.          15           Q What did Mr. Miller say?
16           (WHEREUPON, Exhibit 25 was marked for             16           A Okay.
17   identification.)                                          17           Q All right. He didn't question or think it was
18       A Okay.                                               18       fair or anything like that?
19       Q All right. So you received this particular          19           A He thought it was fair and time to make the
20   document by e-mail from Mr. Walker on December 21, 2017 or20       transition.
21   when?                                                     21           Q All right. Now, let's get back to this
22           MR. PARKER: There should be an e-mail showing     22       document. Did you respond in any way to what is set out
23   this is an attachment.                                    23       on pages 107 and 108 in any way in writing to Mr. Walker
24       Q (BY MR. SIMMS) So whatever that e-mail shows is 24           or to Mr. Eisenman and clarify anything, correct anything?
25   when you received it; is that correct?                    25           A I don't recall whether I sent an acknowledgment

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 1   or not, but I don't -- I do not recall any correction or      1   Did I read that correctly?
 2   change.                                                       2      A That is what it says.
 3      Q All right. Do you agree that the proposals that          3      Q All right. Then under that regarding consulting
 4   were discussed on December the 12th not only concerned        4   pay, and this consulting pay relates to this new
 5   termination of John Staples as general manager of             5   consulting agreement with RMFS; is that your
 6   Renaissance Man, but also what to do with Kim Staples and     6   understanding?
 7   Blair Staples and the food broker DSM Sales & Marketing?      7      A This was the method that we would pay -- that we
 8      A It does discuss -- it does contemplate those             8   contemplated paying John severance.
 9   which are all the loose ends that needed to be tied up.       9      Q All right. Why did you include the we, was that
10      Q And ends that needed to be dealt with so there          10   money to fund that severance or that consulting agreement
11   would be no legal liability with respect to claims by Kim    11   coming from --
12   Staples or Blair Staples or DSM Sales & Marketing,           12      A We as the board of Renaissance Man Food Service.
13   correct?                                                     13      Q Okay. Now, it says that if John does not
14      A I don't agree with that statement because I             14   violate the consulting agreement. Do you know what would
15   don't know of any legal liability that was -- that did or    15   happen if John violated the consulting agreement?
16   does exist.                                                  16      A I would -- I presumed it would be like any other
17      Q All right. Proposal A, specifically under the           17   agreement that we would have put in -- Simmons would put
18   Proposal A there's a proposal dealing with John Staples,     18   in place with a separation, violation of the agreement
19   there's a proposal dealing with Kim Staples and there's a    19   would end the payments.
20   proposal dealing with Blair Staples, correct?                20      Q Terminate the agreement?
21      A That is correct.                                        21      A It would terminate the agreement.
22      Q So John -- under Proposal A, John was to                22      Q And one basis for terminating the agreement
23   terminate his employment as general manager of Renaissance   23   would be if Mr. Staples said anything negative or deemed
24   Man Food Services (Simmons is John's official employer) in   24   negative by Renaissance Man or Simmons? Disparagement,
25   his role as a paid consultant to DSM, correct?               25   did I read that correctly?
                                                       Page 187                                                           Page 189
 1       A That is correct.                                        1      A That is -- that was the request.
 2       Q So at least on December 21, 2017 or whenever you        2      Q So if Mr. Staples signed this consulting
 3   received this proposal, if you had not already discussed      3   agreement on January the 1st, 2018 and on January the 2nd,
 4   this on December the 12th, 2017, you knew and poultry knew    4   2018 Renaissance Man said that he made a disparaging
 5   through you Mr. Staples had a consultant relationship with    5   remark, they could terminate the agreement?
 6   DSM Sales & Marketing?                                        6      A A non-disparagement clause is a fairly typical
 7       A That is correct.                                        7   clause in a severance agreement. Non-disparagement,
 8       Q All right. Now, under Proposal A, was John              8   nonsolicitation, those are pretty typical.
 9   going to resign instead of being terminated by Simmons?       9      Q He could not say anything negative about RMFS or
10       A That is a matter of semantics. His employment          10   Simmons for two years; is that correct?
11   would end.                                                   11      A That's correct.
12       Q Was it -- go ahead.                                    12      Q So he worked for a year, but then he's
13       A And he would receive a severance for that -- for       13   prohibited from saying anything negative about Renaissance
14   that end of employment.                                      14   Man Food Services or Simmons for another year afterwards;
15       Q All right. So under John, under provision --           15   am I reading that correct?
16   and it doesn't have a number, but it's the first little      16      A That was the ask.
17   dot there, two things were going to happen, John was to      17      Q And a nonsolicitation provision so that John
18   terminate his employment as general manager of RMFS and      18   would not recruit employees from Renaissance Man Food
19   his role with respect to DSM as a paid consultant, two       19   Services or Simmons for two years, the consulting year
20   things, correct?                                             20   plus one more. If Mr. Staples is consulting for
21       A That's correct.                                        21   Renaissance Man, why would he be soliciting or recruiting
22       Q Okay. Then under that, "John was to sign a one         22   employees from Renaissance Man or Simmons?
23   year consulting agreement with RMFS to provide consulting    23      A Because Herschel had discussed at the board
24   services as requested by Mr. Walker, Mr. Walker to closely   24   meeting John -- that John had expressed a desire to form
25   supervise. John will perform no further work with DSM."      25   his own brokerage company and wanted to go into business

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 1   for himself with other partners that ultimately would be      1   general manager of Renaissance Man to say is this legal
 2   competing with what we were doing.                            2   bill applicable to Renaissance Man activity.
 3       Q That's what Mr. Walker said?                            3       Q (BY MR. SIMMS) The third item under the
 4       A That's what Mr. Walker had shared at the board          4   Proposal A concerning John Staples was that he would
 5   meeting after we were discussing the arrangements of the      5   provide a release of any liability. Did I read that
 6   termination.                                                  6   correctly?
 7       Q And poultry did not know what directions or             7       A That's correct.
 8   pressure was being placed on Mr. Staples by Mr. Eisenman      8       Q Was there a discussion during the December 12th
 9   or Mr. Walker to generate different revenues for H. Walker    9   meeting that his release that he would give would be to
10   Enterprises or Renaissance Man or what the brokerage would   10   the favor of poultry, Renaissance Man, and H. Walker
11   look like with shared services or with other entities?       11   Enterprises and concern and relate to his employment as
12           MR. PARKER: Objection --                             12   general manager of Renaissance Man and his relationship
13           MR. KING: Objection to the form of the               13   with DSM as a paid consultant?
14   question.                                                    14       A The release of liability would be a standard
15           MR. PARKER: -- it assumes facts not in               15   request as part of a standard severance agreement, that
16   evidence.                                                    16   would be the reason for giving a severance would be to
17           MR. SIMMS: Well, they're in evidence, they're        17   avoid having to take the organization through a procedure
18   all in the records of --                                     18   such as this. The non-disparagement and nonsolicitation
19           MR. PARKER: I'm not going to argue with you.         19   are standard as well for someone in the position that John
20   He can answer the question.                                  20   was in.
21       Q (BY MR. SIMMS) -- the lawyers that represented         21       Q Would you agree with me that with respect to
22   Ms. Staples at the meeting.                                  22   John the Proposal A wanted to deal with his status as an
23           MR. KING: That's a really compound question.         23   employee of Simmons and his status as a paid consultant
24       A Can you break that into smaller pieces? I'm            24   with respect to DSM, both of those statuses?
25   having a hard time following.                                25       A He would continue to -- well, he would be a paid
                                                       Page 191                                                             Page 193
 1      Q (BY MR. SIMMS) Well, let me -- let me back up.           1   consultant of Renaissance Man Food Service, yes. I agree
 2   The legal bills for Mr. Walker's attorney, Mr. Eisenman,      2   that it did end his employment at Simmons and whatever he
 3   were submitted to Simmons for the year 2017 and were paid     3   was being paid from DSM.
 4   and processed by Simmons as part of expenses of               4       Q So any rights he had as an employee of Simmons
 5   Renaissance Man, correct?                                     5   or rights he had as a paid consultant to DSM3 would be
 6          MR. PARKER: Objection, assumes facts not in            6   extinguished if he accepted Proposal A?
 7   evidence.                                                     7       A That would be what he would give up for the
 8      A There were invoices submitted to Renaissance Man         8   payment that was offered.
 9   to be paid by Renaissance Man that was work on behalf of      9       Q For one year that might start and then be ended
10   Renaissance Man from Mr. Eisenman. I do not know if that     10   the next day if he made some kind of alleged negative
11   was his entire billing or not.                               11   statement about RMFS or Simmons?
12      Q And certainly within the purview or the access          12           MR. PARKER: Objection, that's not what the
13   of poultry would be copies of those legal bills and          13   document says. That's not what the agreement that was
14   poultry could read the descriptions to see what              14   ultimately presented to Mr. Staples says. You're
15   Mr. Eisenman was billing for, correct?                       15   mischaracterizing both documents.
16      A That is correct.                                        16       A It is my belief there is a standard of
17      Q And so that knowledge could be imputed to               17   disparagement that would be considered common that would
18   poultry by having possession of those legal bills, do you    18   cover that.
19   agree?                                                       19       Q (BY MR. SIMMS) Let's go to Ms. Staples now. It
20          MR. PARKER: Objection, calls for a legal              20   says she's going to resign from DSM and sign over all of
21   conclusion.                                                  21   her 50 percent ownership interest in DSM to Julie. Did I
22      A I don't know that poultry could ascertain if            22   read that correctly?
23   that was his entire scope of work or not. All we could do    23       A That's what it says.
24   would be review those and say whether they were around Ren   24       Q All right. And Ms. Blanchard was a participant
25   Man, but, again, that would also be the purview of the       25   in the December 12th meeting, correct?

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 1       A That is correct.                                         1   2017, do you agree?
 2       Q So under Proposal A, it looks like Mrs. Staples          2          MR. PARKER: Object to the side bar.
 3   is going to do something voluntarily and that means resign     3      A I don't -- I disagree.
 4   and Mr. John Staples is going to do something voluntarily      4      Q (BY MR. SIMMS) Was there collaboration going on
 5   and he's going to resign as general manager of RMFS and        5   between you on behalf of poultry and Herschel Walker in
 6   with respect to his status as a paid consultant to DSM.        6   whatever capacity he was acting in and Julie Blanchard in
 7   Did I read that correctly?                                     7   whatever capacity she was attending the meeting in?
 8       A That is correct.                                         8      A I -- again, I'm not a lawyer, so I don't know
 9       Q And under Proposal A, Mrs. Staples in giving up          9   what --
10   her ownership interest in DSM is going to execute a           10      Q I'm not asking for a legal opinion.
11   release of all other liability, right?                        11      A -- collaboration --
12       A That is what it says.                                   12      Q I'm asking for whatever you call it,
13       Q And she's also going to forfeit or give up her          13   collaboration, discussions amongst each other, making
14   employment status because it says after she distributes       14   decisions, coming up with these plans.
15   any profits under the operating agreement for that entity     15      A There were decisions that were made. First --
16   she will not be paid anything else; is that correct?          16   the first decision was Proposal B. Herschel opened the
17       A That's correct.                                         17   meeting fully stating that he wanted to terminate the
18       Q And then Blair Staples is referenced next under         18   agreement with John Staples, an acknowledgment that John
19   Proposal A, correct?                                          19   was employed at will and that we could make that
20       A That is correct.                                        20   termination, acknowledging that RMFS had a 30 day notice
21       Q And that her employment by DSM through Simmons          21   clause with their broker of record, DSM, and that they had
22   would be terminated. Did I read that correctly?               22   every right to terminate that agreement with 30 days
23       A That's correct.                                         23   notice and that they had the right to do that, Renaissance
24       Q And then it's got in parentheses,                       24   Man had the right to take that action and that was what
25   "Herschel/Julie, you may want to give Blair two months        25   Herschel was advocating that we do.
                                                        Page 195                                                           Page 197
 1   severance to give John extra incentive to cooperate in         1           As a manager for the organization from Simmons
 2   which event Blair will agree to a non-disparagement            2   and looking at the situation and John's personality, it is
 3   provision, a nonsolicitation provision and a release of        3   -- it was my belief that John would be contentious over
 4   other liability." Did I read that correctly?                   4   this and he tends to be a bully in how he deals with
 5      A You did.                                                  5   issues. It was my belief that we would be best served to
 6      Q And how was Herschel Walker going to give Blair           6   invest some funds, make this issue resolved and take it
 7   Staples anything if she was employed as an employee of DSM     7   through what we ended up taking it through because it
 8   in which he had no ownership interest or through her           8   would be worse for all parties involved and so I advocated
 9   employment with Simmons where he had no -- he was not          9   hard that we develop proposal -- a proposal that we could
10   employing her in any capacity?                                10   settle this with so that all parties could move on with
11      A I believe it says Herschel/Julie.                        11   their lives and restart with new leadership and John would
12      Q To the knowledge of poultry, did either Herschel         12   have funds to restart a career. So that's why we had
13   or Julie offer any type of severance concerning Blair         13   Proposal A and Proposal B, and Proposal A was the -- what
14   Staples?                                                      14   we finally agreed to was the preferred way that we end the
15      A I seem to recall something in the transcript of          15   relationship.
16   the phone conversation between -- or the conversation         16       Q Under Proposal B, it says, "If John refuses to
17   between Herschel and John Staples about the termination       17   cooperate." So the difference between B and A hinged or
18   agreement. It was that Julie -- or Blair's employment was     18   was contingent on Mr. Staples' cooperation?
19   -- was discussed.                                             19       A Cooperation, agreement, whatever word you
20      Q And then the proposal here goes on to have a             20   choose.
21   Plan B or Proposal B, correct?                                21       Q So under Proposal B with respect to John
22      A That's correct.                                          22   Staples, "Mr. Staples is not going to voluntarily resign,
23      Q All right. So we've got an A and we've got a B?          23   he's going to be terminated by Simmons in his employment
24      A That's correct.                                          24   as general manager of Renaissance Man Food Services.
25      Q A lot of planning going on on December the 12th,         25   (Simmons is John's official employer.)" Did I read that

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 1   correctly?                                                      1   has with all its workers as well.
 2      A That is correct.                                           2       Q (BY MR. SIMMS) You did know and poultry did
 3      Q And no severance except as Simmons normally                3   know, at least on December 21, 2017 or whenever you
 4   provides. Did poultry or Simmons agree that there would         4   received this proposal, that there was an operating
 5   be a severance provided under its rules with its                5   agreement concerning Kim Staples because in page 107 it
 6   employees?                                                      6   says -- well, excuse me, page 108 under Kim it says that
 7      A We don't have a rule for severance for                     7   any profit after expenses will be split per the current
 8   termination.                                                    8   agreement.
 9      Q Then why was this even mentioned under Proposal            9          MR. PARKER: Objection, form.
10   B?                                                             10       Q (BY MR. SIMMS) And what I want to know from you
11      A That was -- you'll have to ask Mr. Eisenman.              11   is on December the 12th, 2017, was the operating agreement
12      Q Was it discussed in the December 12th meeting             12   where Mrs. Blanchard and Mrs. Staples were owners of DSM3
13   that you attended based on your recollection?                  13   discussed and consulted as the coming up of these
14      A I do not recall -- no, I did not offer any                14   proposals and these plans?
15   severance for Mr. Staples.                                     15          MR. KING: Objection to the form of the question
16      Q Did you say that Mr. Staples was an at will               16   and asked and answered.
17   employee at Simmons?                                           17       A I have no knowledge of any operating agreement
18      A Yes.                                                      18   or how it was structured, nor did I as a Simmons Foods
19      Q Did you discuss that the contract of employment           19   representative have any real interest in that operating
20   with Mr. Staples had been modified after he went to work       20   agreement. That was separate and aside from any
21   for Simmons?                                                   21   activities Simmons Foods had.
22         MR. PARKER: Objection to the form the question.          22       Q (BY MR. SIMMS) But you knew on December the
23      Q (BY MR. SIMMS) Had it been expressly modified             23   12th that these proposals were tying all of these claims
24   since March the 6th, 2009?                                     24   together as it related to the termination of Mr. Staples,
25         MR. PARKER: Objection again to the form of the           25   correct?
                                                         Page 199                                                          Page 201
 1   question referring to the offer letter as an employment         1          MR. KING: Objection, misstates his testimony.
 2   contract. You can answer.                                       2          MR. PARKER: You can answer.
 3      A From my perspective, all employees at Simmons              3       A I did know that there were multiple issues
 4   are at will.                                                    4   because of the interweaving of the relationships that were
 5      Q (BY MR. SIMMS) Are you at will?                            5   -- that had been created over time by Mr. Staples and that
 6      A I am. There are only two people in the                     6   his termination had to unwind all those complicated
 7   organization that aren't and they both own it.                  7   relationships that he'd built into Renaissance Man, DSM,
 8      Q If Mr. Staples was an at will employee, why is             8   employment of his spouse, employment of his daughter.
 9   his cooperation needed?                                         9       Q (BY MR. SIMMS) And with respect to the entity
10      A To agree for the liability release, the                   10   DSM, my question to you is knowing that that would have to
11   non-disparagement, the nonsolicitation so that, again, we      11   be unwound, did the topic come up during the December 12th
12   would spend funds that -- it is a business judgment of how     12   meeting to refer to the operating agreement with respect
13   much are you going to spend trying to fight an issue           13   to what to do with the ownership interest of Mrs. Staples?
14   versus what can you offer to avoid the whole other legal       14       A I do not recall the operating agreement being
15   expenses that we could see how this would end up and it        15   referred to in the discussion.
16   did.                                                           16       Q Were you aware and did it come up on
17      Q Would you agree with me that Mrs. Kim Staples'            17   December 12, 2017 that the intentions of Ms. Blanchard
18   ownership interest in DSM is not at will?                      18   and/or Mr. Walker were to suspend the broker agreement
19          MR. PARKER: Objection, calls for a legal                19   with DSM in exchange for Mrs. Staples giving up her
20   conclusion.                                                    20   ownership interest for the sum of $10? Was that
21      A I have no -- I have no idea on how Mrs. Staples'          21   discussed?
22   ownership structure is. What I do know is that                 22       A I don't recall the dollar amount that would be
23   Renaissance Man Food Service has a 30 day notice clause        23   offered for the DSM entity. Again, I have no knowledge of
24   for all brokers and executed that 30 day notice to end the     24   the revenues and expenses of DSM, the magnitude of
25   brokerage relationship and that is similar to what Simmons     25   business they might or might not have.

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 1       Q Was it discussed on December 12, 2017 that if            1      A When I received what?
 2   the operating agreement for DSM was followed that              2      Q This proposal sometime on or after December 21,
 3   Mrs. Staples' ownership interest was in excess of $10?         3   2017?
 4       A The operating agreement, I don't have any                4      A What was I aware of?
 5   recollection of the operating agreement being discussed,       5      Q Under Kim Staples, under Proposal B, it says any
 6   so, no, it was not.                                            6   profit after expenses will be split per the current
 7       Q And if Mrs. Staples' ownership interest was to           7   agreement. You were aware that that was being talked
 8   be determined by an operating agreement that she had paid      8   about, a current agreement?
 9   legal expenses to the law firm that prepared this              9      A I presumed that they had some agreement of how
10   document, prepared, had to be determined by that              10   they split funds out of -- or disbursed out of DSM.
11   agreement, is that the reason that John Staples'              11      Q If the discussion about what that agreement was
12   cooperation was needed?                                       12   did not come up on December the 12th, after receiving this
13          MR. KING: Objection to the form of the question        13   document on or about December 21, 2017, did you call
14   and the fact that you just made a total misrepresentation.    14   Mr. Eisenman or Mr. Walker or Ms. Blanchard or consult
15       A Again, I have never seen that operating                 15   anybody in poultry including your internal lawyers about
16   agreement, I have no knowledge of the operating agreement.    16   what that meant and the outcome of that operating
17   I do know that the cooperation that was asked of John was     17   agreement or current agreement?
18   to avoid -- to make a payment above and beyond what was       18      A I did not because it was not of concern to me
19   necessary, but it was a business judgment to avoid the        19   from poultry.
20   expense of litigation which we could foresee coming from      20      Q But -- go ahead.
21   John. Regardless of the facts, just his demeanor and          21      A The action we were taking was trying to wind
22   behavior, you could easily predict that we would end up       22   that up or to give a 30 day notice and the activity
23   here were it not for an amicable separation.                  23   relating to Renaissance Man Food Service ended, so the
24       Q (BY MR. SIMMS) Well, was it discussed that we           24   revenue and the activity, the expenses they were incurring
25   could end up here because Mrs. Staples had an ownership       25   was coming to an end one way or the other in 30 days.
                                                        Page 203                                                            Page 205
 1   interest in an entity whose purpose from day one was to go     1       Q Have you seen the communication from
 2   beyond its relationship with Renaissance Man and grow and      2   Mr. Eisenman at the time he formed DSM3 related to the
 3   expand and that her expectations as an owner was greater       3   business expectations to go beyond the relationship that
 4   than Renaissance Man and to avoid having to deal with her      4   entity was having with Renaissance Man?
 5   and resolve her ownership interest in that entity under an     5       A I have seen no -- no, I have not.
 6   operating agreement, it was crafted that that could be         6       Q All right. Was it discussed during the
 7   avoided by seeking Mr. Staples' cooperation?                   7   December 12, 2017 meeting that the expectations of DSM3 or
 8          MR. PARKER: Objection, form. I don't know if            8   DSM Sales & Marketing from day one was to be beyond the
 9   that's a speech or a question. He said there is no             9   relationship with Renaissance Man Food Services?
10   knowledge of an operating agreement, he's got none. Stop      10       A I do not recall that being part of that board
11   asking questions about it.                                    11   meeting discussion.
12          MR. SIMMS: I'm asking if it came up during the         12       Q Do you know if Mr. Eisenman billed for preparing
13   meeting.                                                      13   a long form operating agreement and submitted that legal
14      A I do not recall that --                                  14   bill to DSM3, 50 percent of which was paid by Mrs.
15          MR. PARKER: He said he didn't. He's mentioned          15   Staples?
16   --                                                            16           MR. KING: Objection to the form of that
17      A -- coming up --                                          17   question --
18          MR. SIMMS: You're not testifying now, are you?         18       Q (BY MR. SIMMS) Do you know?
19          MR. PARKER: I'll tell -- fine. Don't answer            19       A No.
20   any more questions about an operating agreement. I'll         20           MR. KING: -- and the representation which is
21   short circuit it.                                             21   wrong.
22      A Okay.                                                    22           MR. SIMMS: It's correct, absolutely correct.
23      Q (BY MR. SIMMS) When you received this, you were          23   You know it. You know it.
24   aware that there was reference to a current agreement         24           MR. PARKER: He said no.
25   concerning DSM, correct?                                      25       Q (BY MR. SIMMS) Poultry was not aware of that?

                                                                                                          52 (Pages 202 - 205)
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                                                         Page 206                                                           Page 208
 1       A Poultry had nothing to do with DSM.                  1        meeting and you received this document here on or around
 2       Q And it was not discussed on December the 12th,       2        December 21, 2017, did you inquire of Mr. Walker or
 3   2017?                                                      3        Mr. Eisenman as to when what was set out in this document
 4       A It was not.                                          4        would be put to Mr. Staples?
 5       Q And then with respect to Blair Staples under         5           A The understanding that it would be before the
 6   Proposal B, her employment by DSM through Simmons would 6           31st.
 7   terminate, and then it says in parentheses, "Simmons will  7           Q Of December 2017?
 8   terminate her employment." Did I read that correctly?      8           A So that we would have -- we would have this
 9       A That is correct.                                     9        resolved by year end.
10       Q And that she would get a severance, if any, that    10           Q And do you know anything about what was
11   Simmons provided. And is your answer going to be the      11        communicated to Mr. Staples to get him to Atlanta on
12   same, that Simmons did not provide a severance in such a  12        December the 27th, 2017?
13   situation?                                                13           A I do not.
14       A That is correct.                                    14           Q You know that was two days after Christmas? The
15       Q With respect to Blair Staples, who terminated       15        25th is Christmas, the 27th is two days later, right?
16   her?                                                      16           A Okay.
17       A Chip Miller.                                        17           Q You agree with me?
18       Q At your direction?                                  18           A I agree that the 27th is two days after the
19       A Yes.                                                19        25th.
20       Q Do you know when that took place?                   20           Q And do you know when Mr. Walker said he was
21       A I will have to look at the date. I'm sure           21        withdrawing the Proposal A from Mr. Staples, what day it
22   there's paperwork on it. I don't recall the exact date.   22        would be withdrawn if not accepted by the close of
23   But again, we were terminating her being paid through     23        business?
24   Simmons and being reimbursed from DSM so I have no        24           A I do not recall. It was sometime early January
25   knowledge of her continuing employment under DSM, however25         or mid January.
                                                         Page 207                                                           Page 209
 1   it continued to exist, but Simmons would no longer be the       1       Q Did poultry send a letter of termination to Mr.
 2   channel to employ Ms. Blair Staples.                            2   Staples?
 3       Q And I think I may have asked you this earlier             3       A I'm not certain. I know Mr. Miller communicated
 4   today, but I want to be sure because I traveled a long          4   with Mr. Staples. I'm not certain how that was done.
 5   distance and I slept in a hard bed. When did you learn          5       Q Do you know when Mr. Staples' access to the
 6   that Proposal A and Proposal B had not been accepted by         6   Simmons e-mail system was shut down, prevented, cut off?
 7   Mr. Staples?                                                    7           MR. PARKER: Objection, asked and answered.
 8       A I received an e-mail or text, something from              8       Q (BY MR. SIMMS) Do you know what day that was?
 9   Mr. Walker after the phone call he had had with Mr.             9       A It was the date of termination and his e-mails
10   Staples saying that they had come to an agreement, that it     10   were made available to me from there forward.
11   was more than what we had originally contemplated, but it      11       Q And at some point did all of Mr. Staples'
12   was acceptable to both sides and then I received two, I        12   e-mails be made available to Mrs. Blanchard or Mr. Walker?
13   believe, subsequent communications that, one, Mr. Staples      13       A As part of the due diligence in defending the
14   had gone quiet and then, two, that Mr. Walker was getting      14   litigation, yes, they were made available.
15   frustrated that Mr. Staples would not respond to him and       15       Q Has the same been provided to Mr. Staples and
16   he was going to put a date that he would withdraw that         16   his counsel so they could access the e-mails?
17   offer and I agreed that that should happen and a final one     17       A I'm not aware -- I don't know.
18   saying he had withdrawn the offer.                             18       Q You don't know?
19       Q Did you also learn that Mr. Walker and/or                19       A I don't know.
20   Mr. Eisenman had instructed Mr. Staples to appear in the       20       Q When Mr. Staples was cut off with regard to his
21   lawyer's office in Atlanta on December the 27th?               21   e-mail, what was his basis of earnings, was it salary,
22       A I don't know where the discussion occurred               22   bonus, what?
23   around Mr. Staples' termination. I don't know if that was      23       A I don't know the full extent of Mr. Staples'
24   in person or by phone or where it was.                         24   earnings. I know what he was paid through Simmons, but I
25       Q All right. When you left the December 12th               25   don't know -- I wasn't privy to the rest of his

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 1   compensation or other earnings and where they came from.       1      Q Do you know what year that book came out?
 2      Q I'm just talking about what poultry knows.                2      A I do not recall.
 3   Would it be in the W-2 document that we have, would that       3      Q Do you know that -- do you know who Kristin
 4   be his salary, his earnings?                                   4   Kathy is?
 5      A That would be his earnings.                               5      A Kristin Kathy, yes.
 6      Q What other benefits did he have?                          6      Q She worked at Sysco at some point in time,
 7      A Any of the benefits that we offer, 401(k),                7   correct?
 8   healthcare, supplemental life if he chose, eye care,           8      A She did.
 9   dental care. We have a cafeteria plan that whatever Mr.        9      Q Have you investigated a conversation she had
10   Staples chose to subscribe to.                                10   with Mr. Chip Miller that she was concerned about the
11          MR. KING: Let the record reflect that during           11   contents of the book that Mr. Walker had penned?
12   the course of the last answer, Mr. Staples has left.          12      A I know that after the book came out there were a
13      Q (BY MR. SIMMS) Mr. Staples had to leave to try           13   few people that expressed concern, as you would probably
14   to go make a living, so he had to leave, which I told him     14   expect when someone said they had multiple personalities.
15   he could do.                                                  15      Q Did Mr. Staples express concerns to anyone at
16          Was Mr. Staples' level of employment with              16   poultry regarding how he was being treated concerning
17   poultry in a level that entitled him to certain benefits      17   Mr. Walker at any time after March 6, 2009?
18   that other employees who may not be in that level could       18      A He did not.
19   not enjoy or participate in?                                  19      Q But he was certain that he was not going to be
20      A I do not believe so.                                     20   employed by Renaissance Man or H. Walker Enterprises,
21      Q I saw in the early documents concerning Mr.              21   correct?
22   Staples' hiring in something called a 360. Do you know        22      A Mr. Staples came to us as a -- as an advocate
23   what I'm talking about?                                       23   and a trusted associate of Mr. Walker. He was put in that
24      A Yes. That is a -- that was a tool that we use            24   position because they had a prior relationship where they
25   occasionally to ask peers, subordinates and superiors to      25   had developed that trust and mutual admiration, shared a
                                                        Page 211                                                           Page 213
 1   provide feedback to the employee about their behaviors and  1      football background and Mr. Staples always presented
 2   how they go about conducting their business.                2      himself to me as a confidante of Mr. Walker and that he
 3       Q Didn't have anything to do with a particular          3      had his trust and that he had firsthand knowledge and the
 4   level that you were employed at and what you could receive  4      confidence of Mr. Walker to act on his behalf.
 5   benefit-wise?                                               5         Q When did poultry decide to terminate Mike
 6       A It was a tool to manage performance.                  6      Rogers?
 7       Q Have you read Mr. Staples' deposition?                7         A I made that decision with Mr. Walker in -- I
 8       A I have not.                                           8      will have to look. It was in -- it was prior to this
 9       Q So if I ask you questions about incidences that       9      agreement. It was in 2009.
10   occurred after March 6, 2009 where Mr. Staples says that   10         Q And prior to that, poultry had approached Mr.
11   representatives and agents of poultry indicated to him     11      Staples in July of 2008 and offered him employment,
12   that he would be protected and his job was secure and he   12      correct?
13   could only be terminated for cause, you have not           13         A Correct.
14   investigated that to see if those incidences took place or 14         Q He didn't accept it and then there was another
15   not; is that correct?                                      15      offer made to him in February of 2009, correct?
16       A I have been made aware of his assertions and I       16         A Correct.
17   have asked those that were -- those current and former     17         Q And the offer was sweetened between July of 2008
18   employees or agents of Simmons have asked former employees 18      and February 2009, correct?
19   of those alleged conversations.                            19         A Correct.
20       Q And what has been the response?                      20         Q And then another offer was made to him on March
21       A Unequivocably, that they are fabrication from        21      the 6th, 2009 and it had been sweetened, correct?
22   Mr. Staples, they did not occur.                           22         A Yes, it had been.
23       Q Are you aware that Mr. Walker penned a book          23         Q And, in fact, it included a provision that Mr.
24   called Breaking Free?                                      24      Staples would be paid a bonus of five percent of the net
25       A I am.                                                25      income when he was moved to Walker Foods up to 50 percent

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 1   of his salary, correct?                                        1      A I know there -- I have seen some documentation
 2      A That's correct.                                           2   that was between Mr. Walker, Mr. Staples and Mr. Eisenman.
 3      Q That never occurred, did it?                              3   I do not know of any firsthand discussions, nor did I ever
 4      A I don't know what was paid to Mr. Staples out of          4   have Mr. Staples bring up the question to me, and I
 5   Renaissance Man expense, if there were things -- if there      5   verified it with Mr. Miller, any question or any issue
 6   were expenses paid directly to him, no.                        6   over that entire tenure over a bonus payment.
 7      Q Are you telling me that the application of that           7      Q The documents you say you've seen with respect
 8   paragraph three, I believe it is, of the March 6, 2009         8   communications with Mr. Walker, Mr. Eisenman and Mr.
 9   employment offer was to be administered by Mr. Walker?         9   Staples regarding Mr. Staples' bonus, have those been
10      A I am telling you that 100 percent of Mr.                 10   produced in the case?
11   Staples' expenses were passed through to Renaissance Man      11          MR. PARKER: You produced them.
12   and that if there were any additional compensation paid,      12      Q (BY MR. SIMMS) I produced them. Okay.
13   that would have been a Renaissance Man expense.               13          If Mr. Staples spoke with Mr. Miller about his
14      Q And are you aware that Mr. Walker says he had no         14   bonus and participation in bonus, if he was told that he
15   involvement whatsoever in preparing paragraph three of the    15   did not qualify to participate in the poultry profit
16   March 6, 2009 offer letter?                                   16   sharing, that would be true, correct?
17      A Okay.                                                    17      A That is. He did not qualify.
18      Q So my question to you is how is poultry making           18      Q And, in fact, that's not what was agreed to on
19   promises to Mr. Staples as part of his employment for         19   March the 6th, 2009, correct?
20   something that Mr. Walker would have to fulfill the           20      A That is -- that did change after that offer was
21   promise and Mr. Walker was not even involved at any time      21   extended.
22   prior to the promise being made?                              22      Q And in the first offer in July of '08 and the
23      A At the time this was done there were two classes         23   second offer in February of 2009, Mr. Staples was being
24   of shares of Walker Foods and Simmons Foods had an            24   told that he could participate in the poultry profit
25   ownership of the class B shares of Walker Foods and this      25   sharing plan, correct?
                                                        Page 215                                                           Page 217
 1   would have been a sharing of the distribution from those       1      A They were because that was a standard offer that
 2   shares somehow. This was not a -- this was not a well          2   would have been for the position that we had plugged Mr.
 3   thought out offer on the bonus. It was more of a how do        3   Staples into within poultry to employ him through poultry.
 4   we align John's interest with his performance and his          4      Q And I may have asked, but I want to be sure, why
 5   compensation with his performance.                             5   was that eliminated from the March 6th offer, the poultry
 6       Q Was Mr. Staples told at the time paragraph three         6   plan versus participating in the net income of Walker
 7   was communicated to him that him moving to Walker Foods        7   Foods when he moves over to Walker Foods?
 8   may not occur in any particular way?                           8      A Because Mr. Staples' job was to manage Walker
 9       A There was no -- at that time, we did not                 9   Foods and then ultimately Renaissance Man Food Service.
10   contemplate ending Walker Foods, but I believe it was Mr.     10   He negotiated on behalf of Renaissance Man Food Service
11   Staples' recommendation that we consolidate everything.       11   with Simmons Foods over the price of product paid by
12   We had Renaissance Man Food Service with the minority         12   Renaissance Man to Simmons Foods and his interest, his
13   business enterprise certification. Walker Foods was not a     13   sole interest was on creating margin within Renaissance
14   minority business enterprise certified entity and the         14   Man Food Service and he did not need a conflict of being
15   recommendation by Mr. Staples was to consolidate all that     15   bonused by Simmons Prepared Foods, his supplier.
16   within Renaissance Man Food Service and end the use of        16      Q Are you telling me that with respect to the
17   Walker Foods, so that would have changed the whole scope      17   bonus that's in paragraph three I need to talk to or I
18   of the bonus compensation.                                    18   need to consult documents or communications between Mr.
19       Q And is that why in the resolution that was done         19   Staples and Mr. Walker or Mr. Eisenman?
20   after March 6, 2009 further discussions regarding             20      A I have no knowledge of a bonus that eventually
21   compensation was referenced?                                  21   was or was not agreed to with Mr. Staples.
22       A Yes.                                                    22      Q If this was a provision in an offer made to Mr.
23       Q What further discussions were had with Mr.              23   Staples, what did poultry do to make sure that the promise
24   Staples after the Walker Foods, LLC resolution took place     24   that was set out in there was complied with or carried
25   concerning his bonus?                                         25   out?

                                                                                                         55 (Pages 214 - 217)
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                                                       Page 218                                                          Page 220
 1       A Other than being available and having multiple        1            (Short break from 4:49 p.m. to 4:54 p.m.)
 2   conversations with Mr. Staples over the entire duration of  2         Q (BY MR. SIMMS) I think I'm about finished. Mr.
 3   his employment and never having it come up, I don't -- I    3     Jackson, what is Consolidated Broker Management, LLC?
 4   don't know of any interaction.                              4         A I am not familiar with Consolidated Broker
 5       Q That's certainly a provision of the content of        5     Management, LLC.
 6   the March 6th, '09 letter that was changed and never        6         Q I think in some discovery responses it was
 7   carried out or put into place, correct?                     7     indicated, and I would have to look, that that is the
 8       A It was a provision that altered when the              8     current broker for the ongoing poultry and HWE/Renaissance
 9   decision was made to end Walker Foods.                      9     Man relationship?
10       Q Mr. Staples didn't participate in that because       10            MR. PARKER: Just answer if you know.
11   he didn't represent either entity, did he?                 11         A Poultry doesn't have a brokerage agreement, that
12       A He did. He was part of the entity when we            12     agreement is between Renaissance Man Food Service and
13   began. When he -- when we transitioned -- we terminated    13     their customer, Sysco.
14   Mr. Rogers for starting a brokerage company and having a   14         Q (BY MR. SIMMS) All right, let me back up. Has
15   conflict of interest and trying to operate a brokerage     15     there been a new agreement executed between the parties?
16   company and manage Walker Foods. We clearly described to 16           A I have been made aware by Mr. Walker that there
17   John that was a conflict of interest. It was unacceptable  17     is a new brokerage arrangement representing Renaissance
18   for Mr. Rogers to be out trying to solicit business        18     Man Food Service with Sysco.
19   outside of his responsibilities for Walker Foods, so we    19         Q Okay. I guess what I was getting to is there a
20   terminated him, brought John in, said there's an entity    20     new written agreement between poultry and H. Walker
21   here that needs to be managed, we've got lots of things    21     Enterprises and/or Renaissance Man Food Services that
22   going on, how do you recommend cleaning that up and making 22     replaces Exhibit 6?
23   it function as a business and his recommendation, to my    23         A There has not been.
24   recollection, was to clean up the entities, not have all   24         Q Okay. And so if you go back to Exhibit 6, is it
25   these multiple brands and focus on Renaissance Man Food    25     poultry's position that that agreement is continuing to
                                                       Page 219                                                          Page 221
 1   Service and subsequently the Sysco Classic business.          1   govern the continued relationship between the parties?
 2      Q The materials that you reviewed where Mr.                2   And when I say the parties, I'm not talking about a broker
 3   Staples discussed bonus with Mr. Walker or Mr. Eisenman,      3   right now.
 4   do they indicate that Mr. Staples was asking about that       4       A Between Simmons and Renaissance Man Food
 5   from those gentlemen?                                         5   Service, that is the context that we're operating under.
 6      A I would have to review those again, what that            6       Q All right. And you recall in there that poultry
 7   said.                                                         7   had agreed to administer the brokerage aspect if there was
 8      Q And that's based on documents we produced,               8   one involved, correct?
 9   correct?                                                      9       A That is correct.
10      A That's correct.                                         10       Q And I think that it has been the policy of
11      Q All right. Let me ask this question. When Mr.           11   poultry to request whatever broker agreement exists
12   Staples approached Mr. Miller about his bonus, what would    12   between Renaissance Man and whatever broker, food broker,
13   Mr. Miller tell him as instructed by poultry?                13   its using at the time to facilitate the processing of
14         MR. PARKER: Objection, calls for speculation.          14   commissions and things of that nature and carry out that
15         MR. KING: Now?                                         15   function that's addressed in Exhibit 6?
16      Q (BY MR. SIMMS) At any time after March 6, 2009.         16       A The percentage brokerage payment or the means in
17      A I have questioned Mr. Miller if there were any          17   which the brokerage payment was calculated was disclosed
18   conversations about bonus from Mr. Staples to Mr. Miller     18   through Simmons.
19   and there were none.                                         19       Q And that's the reason I ask the question about
20      Q None?                                                   20   this Consolidated Management. I would have thought that
21      A None.                                                   21   if there was a broker agreement with Renaissance Man, that
22         MR. SIMMS: All right. Let me consult with              22   would have been provided to poultry. You just -- you just
23   Mrs. Staples and I may be about finished subject to you      23   don't know the content of what that entity is or anything?
24   being asked any questions by the other lawyers and I may     24       A I don't know the content of it.
25   have some follow-up.                                         25          MR. PARKER: And I'll represent that we have

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                                                       Page 222                                                                      Page 224
 1   searched for such an agreement and Simmons does not           1                   JURAT
 2   possess one.                                                  2       STAPLES VS. H. WALKER ENTERPRISES, LLC, et al.
 3          MR. SIMMS: The broker agreement with this new          3          I, DAVID JACKSON, do hereby state under oath
 4   entity?                                                       4   that I have read the above and foregoing deposition in its
 5          MR. PARKER: Correct.                                   5   entirety and that the same is a full, true and correct
 6       Q (BY MR. SIMMS) To your knowledge, does that             6   transcription of my testimony so given at said time and
 7   entity, that broker entity have ownership interest from       7   place.
 8   Mr. Walker or Mrs. Blanchard?                                 8
 9       A I do not have knowledge of the ownership of that        9
10   entity.                                                      10         _________________________________
11       Q All right. I think I'm about done. With                11         Signature of Witness
12   respect to the Walker Foods, LLC, was there ownership        12
13   interest in that entity by Renaissance Man Food Services     13
14   or H. Walker Enterprises, LLC to the knowledge of poultry?   14         Subscribed and sworn to before me, the
15       A There were class A shares that were owned by an        15   undersigned Notary Public in and for the State of Arkansas
16   entity and I do not recall which Herschel Walker entity      16   by said witness, DAVID JACKSON, on this ________day
17   owned those shares.                                          17   of__________________, 2019.
18          MR. SIMMS: I don't have any further questions         18
19   unless somebody has some that I need to ask some about.      19
20          MR. KING: No questions.                               20
21          MR. PARKER: Simmons Prepared Foods will reserve       21         _________________________________
22   its questions.                                               22         NOTARY PUBLIC
23           (DEPOSITION CONCLUDED AT 4:59 P.M.)                  23         MY COMMISSION EXPIRES:___________
24                                                                24         JOB NO. 135900
25                                                                25
                                                       Page 223                                                                      Page 225
 1              ERRATA SHEET                                       1            CERTIFICATE
 2     STAPLES VS. H. WALKER ENTERPRISES, LLC, et al.              2
 3          DEPOSITION OF DAVID JACKSON                            3        I, Kerri Pianalto, Certified Court Reporter,
 4         REPORTED BY: KERRI PIANALTO, CCR                            do hereby certify that the above-named DAVID JACKSON was
 5       DATE DEPOSITION TAKEN: JANUARY 14, 2019                   4 by me first duly sworn to testify the truth, the whole truth,
 6              JOB NO. 135900                                     5 and nothing but the truth, in the case aforesaid; that the
 7 PAGE LINE IS             SHOULD BE                              6 above and foregoing deposition was by me taken and transcribed

 8 ___________________________________________________             7 pursuant to agreement, and under the stipulations
                                                                   8 hereinbefore set out; and that I am not an attorney for
 9 ___________________________________________________
                                                                   9 nor relative of any of said parties or otherwise
10 ___________________________________________________
                                                                  10 interested in the event of said action.
11 ___________________________________________________
                                                                  11        IN WITNESS WHEREOF, I have hereunto set my hand
12 ___________________________________________________
                                                                  12 and official seal this 21st day of January, 2019.
13 ___________________________________________________
                                                                  13
14 ___________________________________________________
                                                                  14
15 ___________________________________________________
                                                                  15
16 ___________________________________________________
                                                                  16
17 ___________________________________________________            17
18 ___________________________________________________            18
19 ___________________________________________________            19              <%824,Signature%>
20 ___________________________________________________            20              KERRI PIANALTO, CCR
21 ___________________________________________________            21              State of Arkansas, No. 651
22 ___________________________________________________            22
23 ___________________________________________________            23
24 ___________________________________________________            24
25 ___________________________________________________            25

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 1   1    To: David Jackson                                                       1 5 _______________________________________________________
 2   2    Re: Signature of Deponent David Jackson
 3   3    Date Errata due back at our offices: 02/21/2019                         2 6 Reason for change _____________________________________
 4   4                                                                            3 7 Page _____ Line ______ Change _________________________
 5   5 Greetings:                                                                 4 8 _______________________________________________________
 6   6 This deposition has been requested for read and sign by
                                                                                  5 9 Reason for change _____________________________________
      the deponent. It is the deponent's responsibility to
 7 7 review the transcript, noting any changes or corrections                     6 10 Page _____ Line ______ Change _________________________
      on the attached PDF Errata. The deponent may fill                           7 11 _______________________________________________________
 8 8 out the Errata electronically or print and fill out
                                                                                  8 12 Reason for change _____________________________________
      manually.
 9 9                                                                              9 13 Page _____ Line ______ Change _________________________
10 10 Once the Errata is signed by the deponent and notarized,                   10 14 _______________________________________________________
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                                                                                 11 15 Reason for change _____________________________________
11 11
12 12 When the signed Errata is returned to us, we will seal                     12 16
      and forward to the taking attorney to file with the                        13 17
13 13 original transcript. We will also send copies of the
                                                                                 14
      Errata to all ordering parties.
14 14                                                                            15 18             _____________________________________
15 15 If the signed Errata is not returned within the time                       16                   DEPONENT'S SIGNATURE
      above, the original transcript may be filed with the
                                                                                 17 19
16 16 court without the signature of the deponent.
17 17                                                                            18      Sworn to and subscribed before me this ___ day of
18 18 Please Email the completed errata/witness cert page                        19 20
      to readandsign@veritext.com                                                20       _________________, _______.
19 19 or mail to
20 20 Veritext Production Facility                                               21 21
21 21 2031 Shady Crest Drive                                                     22
22 22 Hoover, AL 35216                                                           23 22 __________________________________
23 23 205-397-2397
24                                                                               24
25 1 ERRATA for ASSIGNMENT #3186238                                              25 23     NOTARY PUBLIC / My Commission Expires:_____________

                                                                      Page 227
 1 2 I, the undersigned, do hereby certify that I have read the
     transcript of my testimony, and that
 2   3
 3   4 ___ There are no changes noted.
 4   5 ___ The following changes are noted:
 5   6
       Pursuant to Rule 30(7)(e) of the Federal Rules of Civil
 6 7 Procedure and/or OCGA 9-11-30(e), any changes in form or
     substance which you desire to make to your testimony shall
 7 8 be entered upon the deposition with a statement of the
     reasons given for making them. To assist you in making any
 8 9 such corrections, please use the form below. If additional
      pages are necessary, please furnish same and attach.
 9 10
10 11 Page _____ Line ______ Change _________________________
11 12 _______________________________________________________
12   13   Reason for change _____________________________________
13   14   Page _____ Line ______ Change _________________________
14   15   _______________________________________________________
15   16   Reason for change _____________________________________
16   17   Page _____ Line ______ Change _________________________
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18   19   Reason for change _____________________________________
19   20   Page _____ Line ______ Change _________________________
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21   22   Reason for change _____________________________________
22   23   Page _____ Line ______ Change _________________________
23 1 Page _____ Line ______ Change _________________________
24 2 _______________________________________________________
25 3 Reason for change _____________________________________
   4 Page _____ Line ______ Change _________________________

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              A2=6?2B?!724.7!>;7@?6;9>!
    0;8<.9C!02=?6360.?2!.91!16>07;>@=2!>?.?2829?!
                          !
AHSLUHYU!7HJDM!>PMVULPOT!SHQSHTHOUT!UKDU!UKH!
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USDOTFSLQU!PI!UKH!FPMMPRVLHT'!RVHTULPOT!DOG!DOTXHST!
DT!TVENLUUHG!EZ!UKH!FPVSU!SHQPSUHS)!AHSLUHYU!7HJDM!
>PMVULPOT!IVSUKHS!SHQSHTHOUT!UKDU!UKH!DUUDFKHG!
HYKLELUT'!LI!DOZ'!DSH!USVH'!FPSSHFU!DOG!FPNQMHUH!
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DUUPSOHZT!LO!SHMDULPO!UP!UKLT!GHQPTLULPO!DOG!UKDU!
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PVS!MLULJDULPO!TVQQPSU!DOG!QSPGVFULPO!TUDOGDSGT)!
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AHSLUHYU!7HJDM!>PMVULPOT!LT!FPNNLUUHG!UP!NDLOUDLOLOJ!
UKH!FPOILGHOULDMLUZ!PI!FMLHOU!DOG!XLUOHTT!LOIPSNDULPO'!
LO!DFFPSGDOFH!XLUK!UKH!SHJVMDULPOT!QSPNVMJDUHG!VOGHS!
UKH!5HDMUK!6OTVSDOFH!<PSUDELMLUZ!DOG!.FFPVOUDELMLUZ!
.FU!%56<..&'!DT!DNHOGHG!XLUK!SHTQHFU!UP!QSPUHFUHG!
KHDMUK!LOIPSNDULPO!DOG!UKH!4SDNN(7HDFK(/MLMHZ!.FU'!DT!
DNHOGHG'!XLUK!SHTQHFU!UP!<HSTPODMMZ!6GHOULILDEMH!
6OIPSNDULPO!%<66&)!<KZTLFDM!USDOTFSLQUT!DOG!HYKLELUT!
DSH!NDODJHG!VOGHS!TUSLFU!IDFLMLUZ!DOG!QHSTPOOHM!DFFHTT!
FPOUSPMT)!2MHFUSPOLF!ILMHT!PI!GPFVNHOUT!DSH!TUPSHG!
LO!HOFSZQUHG!IPSN!DOG!DSH!USDOTNLUUHG!LO!DO!HOFSZQUHG!
IDTKLPO!UP!DVUKHOULFDUHG!QDSULHT!XKP!DSH!QHSNLUUHG!UP!
DFFHTT!UKH!NDUHSLDM)!;VS!GDUD!LT!KPTUHG!LO!D!?LHS!,!
>>.2!+-!FHSULILHG!IDFLMLUZ)!
!
AHSLUHYU!7HJDM!>PMVULPOT!FPNQMLHT!XLUK!DMM!IHGHSDM!DOG!!
>UDUH!SHJVMDULPOT!XLUK!SHTQHFU!UP!UKH!QSPWLTLPO!PI!
FPVSU!SHQPSULOJ!THSWLFHT'!DOG!NDLOUDLOT!LUT!OHVUSDMLUZ!
DOG!LOGHQHOGHOFH!SHJDSGMHTT!PI!SHMDULPOTKLQ!PS!UKH!
ILODOFLDM!PVUFPNH!PI!DOZ!MLULJDULPO)!AHSLUHYU!SHRVLSHT!
DGKHSHOFH!UP!UKH!IPSHJPLOJ!QSPIHTTLPODM!DOG!HUKLFDM!
TUDOGDSGT!ISPN!DMM!PI!LUT!TVEFPOUSDFUPST!LO!UKHLS!
LOGHQHOGHOU!FPOUSDFUPS!DJSHHNHOUT)!
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6ORVLSLHT!DEPVU!AHSLUHYU!7HJDM!>PMVULPOT$!
FPOILGHOULDMLUZ!DOG!THFVSLUZ!QPMLFLHT!DOG!QSDFULFHT!
TKPVMG!EH!GLSHFUHG!UP!AHSLUHYU$T!0MLHOU!>HSWLFHT!!
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